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               FIFRA Scientific Advisory Panel
               Meeting Minutes and Final Report
                         No. 2017-01


      A Set of Scientific Issues Being Considered by the
       Environmental Protection Agency Regarding:


EPA's Evaluation of the Carcinogenic Potential of Glyphosate


                   December 13-16, 2016
          FIFRA Scientific Advisory Panel Meeting
            Held at the EPA Conference Center,
                     One Potomac Yard
                     Arlington, Virginia




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NOTICE

      The Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA), Scientific Advisory
Panel (SAP) is a Federal advisory committee operating in accordance with the Federal Advisory
Committee Act and established under the provisions of FIFRA as amended by the Food Quality
Protection Act (FQPA) of 1996. The FIFRA SAP provides advice, information, and
recommendations to the Agency Administrator on pesticides and pesticide-related issues
regarding the impact of regulatory actions on health and the environment. The Panel serves as
the primary scientific peer review mechanism of the Environmental Protection Agency (EPA),
Office of Pesticide Programs (OPP) and is structured to provide balanced expert assessment of
pesticide and pesticide-related matters facing the Agency. Food Quality Protection Act (FQPA)
Science Review Board members serve the FIFRA SAP on an ad hoc basis to assist in reviews
conducted by the Panel. These meeting minutes and final report have been written as part of the
activities of the FIFRA SAP and represent the views and recommendations of the FIFRA SAP
and do not necessarily represent the views and policies of the EPA, or of other agencies in the
Executive Branch of the Federal government. Mention of trade names or commercial products
does not constitute an endorsement or recommendation for use. The meeting minutes and final
report do not create or confer legal rights or impose any legally binding requirements on the EPA
or any party. In preparing the meeting minutes and final report, the FIFRA SAP carefully
considered all information provided and presented by the EPA, as well as information presented
in public comments.

      These meeting minutes and final report of the December 13-16, 2016 FIFRA SAP meeting
held to consider and review scientific issues associated with EPA's evaluation of the
carcinogenic potential of glyphosate were certified by James McManaman, Ph.D., FIFRA SAP
Chair and Steven Knott, M.S., Designated Federal Official. The minutes and final report are
publicly available on the SAP website (https://www.epa.gov/sap) under the heading of
“Scientific Advisory Panel Meetings” and in the public e-docket, Docket Identification Number:
EPA-HQ-OPP-2016-0385, accessible through the docket portal: https://www.regulations.gov.
Further information about FIFRA SAP reports and activities can be obtained from its website at
https://www.epa.gov/sap. Interested persons are invited to contact Steven Knott, Designated
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TABLE OF ACRONYMS

           ACRONYMS                                    DESCRIPTION
               AAF                      2-Acetylaminoflourene
               AHS                      Agricultural Health Study
               AIDS                     Acquired Immunodeficiency Syndrome
               AOP                      Adverse Outcome Pathway
               ATS                      Academy of Toxicological Sciences
               BW                       Body Weight
              CASAC                     Clean Air Science Advisory Committee
               CDK                      Cyclin-dependent kinase
                CI                      Confidence Interval
               CNV                      Gene Copy Number Variation
                                        Diplomate of the American Board of
               DABT
                                        Toxicology
               DNA                      Deoxyribonucleic Acid
               EFSA                     European Food Safety Authority
                                        Fellow of the American College of
               FACE
                                        Epidemiology
               FAO                      Food and Agriculture Organization
               FDA                      Food and Drug Administration
                                        Federal Insecticide, Fungicide, and
               FIFRA
                                        Rodenticide Act
               FQPA                     Food Quality Protection Act of 1996
               FRSC                     Fellow of the Royal Society of Chemistry
                GM                      Genetically Modified
                HIV                     Human Immunodeficiency Virus
                HL                      Hodgkin's Lymphoma
               IARC                     International Agency for Research on Cancer
                 IP                     Intraperitoneal
                                        Joint FAO/WHO Meeting on Pesticide
               JMPR
                                        Residues
               MM                       Multiple Myeloma
               MOA                      Mode of Action
                                        EPA OPP Master Record Identification
               MRID
                                        Number
               MTD                      Maximum Tolerated Dose
               NHL                      Non-Hodgkin’s lymphoma
                                        National Institute for Occupational Safety and
              NIOSH
                                        Health
               NRC                      National Research Council
               NTP                      National Toxicology Program
                                        EPA Office of Chemical Safety and Pollution
              OCSPP
                                        Prevention


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        ACRONYMS                                    DESCRIPTION
                                     Organization for Economic Cooperation and
            OECD
                                     Development
            OPP                      Office of Pesticide Programs
            OR                       Odds Ratio
                                     Occupational Safety and Health
            OSHA
                                     Administration
             RR                      Relative Risk
             SAP                     FIFRA Scientific Advisory Panel
             SAS                     Statistical Analysis System
             SCE                     Sister Chromatid Exchanges
            USDA                     United States Department of Agriculture
                                     United States Environmental Protection
        US EPA or EPA
                                     Agency
             WHO                     World Health Organization
           8-OH-dG                   8-hydroxy-2' -deoxyguanosine




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INTRODUCTION

      The Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA) Scientific Advisory
Panel (SAP) has completed the meeting minutes and final report of the SAP meeting regarding
scientific issues associated with EPA's evaluation of the carcinogenic potential of glyphosate.
Advance notice of the SAP meeting was published in the Federal Register on July 26, 2016 (81
FR 48794).

       Glyphosate is a non-selective, phosphonomethyl amino acid herbicide registered to control
weeds in various agricultural and non-agricultural settings. Labeled uses of glyphosate include
over 100 terrestrial food crops as well as other non-agricultural sites, such as greenhouses,
aquatic areas, and residential areas. Use of glyphosate in the United States and globally has
increased over time, particularly with the introduction of glyphosate-resistant crops; however,
usage has stabilized in recent years due to the increased number of weed species becoming
resistant to glyphosate. Glyphosate is currently undergoing Registration Review, which is a
program where all registered pesticides are reviewed at least every 15 years as mandated by the
Federal Insecticide, Fungicide, and Rodenticide Act.

      Recently, several international agencies have evaluated the carcinogenic potential of
glyphosate. In March 2015, the International Agency for Research on Cancer (IARC), a
subdivision of the World Health Organization (WHO), concluded that glyphosate was “probably
carcinogenic to humans” (Group 2A). Later, in November 2015, the European Food Safety
Authority (EFSA) concluded that glyphosate was unlikely to pose a carcinogenic hazard to
humans. In May 2016, the Joint Food and Agriculture Organization (FAO) / WHO Meeting on
Pesticide Residues (JMPR), another subdivision of the WHO, concluded that glyphosate was
unlikely to pose a carcinogenic risk to humans from exposure through the diet.

      Recently, EPA collected and analyzed a substantial amount of data informing the
carcinogenic potential of glyphosate and utilized its draft ‘‘Framework for Incorporating Human
Epidemiological & Incident Data in Health Risk Assessment’’ (EPA, 2010) to assess its potential
carcinogenic hazard. The draft framework provides the foundation for evaluating multiple lines
of scientific evidence and includes two key components: (i) Problem formulation and (ii) Use of
the mode of action/adverse outcome pathway (MOA/AOP) frameworks. A comprehensive
analysis of data on glyphosate from submitted guideline studies and the open literature was
performed. This included epidemiological, animal carcinogenicity, genotoxicity, metabolism, and
mechanistic studies. Guideline studies were collected for consideration from the toxicological
databases for glyphosate and glyphosate salts. A fit-for-purpose systematic review was conducted
to obtain relevant and appropriate open literature studies with the potential to inform the human
carcinogenic potential of glyphosate. Furthermore, the list of studies obtained from the
toxicological databases and systematic review was cross-referenced with recent internal reviews,
review articles from the open literature, and international agency evaluations (i.e., IARC, EFSA,
and JMPR).

      Available data from epidemiological, laboratory animal carcinogenicity, and genotoxicity
studies were reviewed and evaluated for study quality and results to inform the human
carcinogenic potential of glyphosate. Additionally, as described in the draft ‘‘Framework for
Incorporating Human Epidemiological & Incident Data in Health Risk Assessment,’’ the

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multiple lines of evidence were integrated in a weight-of-evidence analysis using the modified
Bradford Hill Criteria considering concepts such as strength of association, consistency of
observations, dose response, temporal concordance, and biological plausibility.

      The focus of this SAP meeting was on soliciting advice from the Panel on the evaluation
and interpretation of the available data for each line of evidence and the weight-of-evidence
analysis, as well as how the available data inform cancer classification descriptors per the
Agency’s 2005 Guidelines for Carcinogen Risk Assessment. The Agency’s evaluation is
summarized in an Issue Paper entitled: Glyphosate Issue Paper: Evaluation of Carcinogenic
Potential, EPA’s Office of Pesticide Programs, September 12, 2016 (EPA, 2016a).

       During the FIFRA SAP meeting, US EPA personnel provided the following presentations
(listed in order of presentation):

Welcome and Opening Remarks – Jack Housenger, Director, Office of Pesticide Programs

Introduction – Dana Vogel, Director, Health Effects Division, Office of Pesticide Programs

Overview of Glyphosate Registration and Carcinogenic Potential Evaluation – Monique
Perron, ScD, Health Effects Division, Office of Pesticide Programs

Systematic Review and Data Collection Methods – Gregory Akerman, PhD, Health Effects
Division, Office of Pesticide Programs

Data Evaluation of Epidemiology Studies – Monique Perron, ScD, Health Effects Division,
Office of Pesticide Programs

Data Evaluation of Animal Carcinogenicity Studies – Anwar Dunbar, PhD, Health Effects
Division, Office of Pesticide Programs

Data Evaluation of Genetic Toxicity – Gregory Akerman, PhD, Health Effects Division, Office
of Pesticide Programs

Data Integration and Weight-of-evidence Analysis Across Multiple Lines of Evidence –
Monique Perron, ScD, Health Effects Division, Office of Pesticide Programs




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PUBLIC COMMENTS

Oral statements:

      During the December 13-16, 2016 FIFRA SAP meeting, oral statements were provided by
the following individuals and groups.

1) Daniele Court-Marques, MSPS, on behalf of the European Food Safety Authority (EFSA)

2) Lars Niemann, DVM, on behalf of the German Federal Institute for Risk Assessment (BfR)

3) Donna Farmer, PhD, Caroline Harris, PhD, John Acquavella, PhD, James Bus, PhD, Joe Haseman,
PhD., David Kirkland, PhD, and Rick Reiss, PhD, on behalf of Monsanto Company

4) James S. Bus PhD, DABT, Fellow ATS, on behalf of Nufarm Americas Inc.

5) Amechi Chukwudebe, PhD, on behalf of BASF Corporation

6) James S. Bus PhD, DABT, Fellow ATS, and Steven Levine, PhD, on behalf of CropLife America

7) Deborah Hommer, on behalf of Virginians for Medical Freedom

8) Scott Slaughter, on behalf of the Center for Regulatory Effectiveness

9) Sabitha Papineni, PhD, on behalf of Dow AgroSciences

10) Jacob Vukich, PhD, on behalf of DuPont Crop Protection

11) Kevin Hoyer, on behalf of the American Soybean Association

12) Andy Hedgecock, on behalf of FMC Corporation

13) Martin Barbre, on behalf of the National Corn Growers Association

14) Amanda Starbuck, on behalf of Food and Water Watch

15) Bill Freese, on behalf of the Center for Food Safety

16) Robert Hamilton, PhD, on behalf of Sumitomo Chemical

17) Montague Dixon, on behalf of Syngenta Crop Protection

18) Michael Hansen, PhD, on behalf of Consumers Union

19) Sheryl H. Kunickis, PhD, on behalf of the US Department of Agriculture

20) Laura E. Mayer, Marghi Barnes, and Kathy Blum, on behalf of Moms Across America


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21) Reverend Billy Talen and Ms. Robin Laverne Wilson, on behalf of The Immediate Life Church

22) Nichelle Harriott, PhD, on behalf of Beyond Pesticides

23) Dalia Hashad, PhD, on behalf of Avaaz

24) Peter Infante, DDS, DrPH, FACE, on behalf of himself

25) David Spak, on behalf of Bayer Crop Science

26) Alexis Baden-Mayer, Esq., on behalf of the Organic Consumers Association

27) Luther Markwart, on behalf of the American Sugarbeet Growers Association

28) James Barile, on behalf of the Natural Resources Defense Council

Handouts provided by oral presenters are available in the public docket at
https://www.regulations.gov, docket number EPA-HQ-OPP-2016-0385.

Written statements:

      Numerous written public comments were submitted to the FIFRA SAP for the December
13-16, 2016 meeting on EPA’s evaluation of the carcinogenic potential of glyphosate. These
documents are contained in over 350 docket entries and represent the comments of over 260,000
individuals. These comments are available in the public docket at https://www.regulations.gov,
docket number EPA-HQ-OPP-2016-0385. Appendix 1 contains a summary list of these docket
entries.




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EXECUTIVE SUMMARY

      US EPA presented a set of charge questions to the FIFRA SAP covering five broad aspects
of the Agency’s evaluation of the carcinogenic potential of glyphosate. The questions centered
on:

     1) the completeness, transparency, and appropriateness of the Agency’s methods to collect
        references for the evaluation;

     2) the epidemiological studies investigating the potential for associations between
        glyphosate exposure and cancer outcomes;

     3) the laboratory rodent carcinogenicity studies for glyphosate;

     4) assays investigating the genotoxic potential of glyphosate; and

     5) the completeness, transparency, and scientific quality of the Agency’s characterization
        of the carcinogenic potential of glyphosate for humans.

The completeness, transparency, and appropriateness of the Agency’s methods to collect
references for the evaluation

      The Panel found that EPA’s literature review methods were in general transparent and
appropriate. However, the Panel provided several recommendations for updated searches that
would be more inclusive and capture more recent, relevant publications. In addition, the Panel
recommended that the Issue Paper identify and discuss any rodent cancer bioassays of
glyphosate-based formulations. Some members of the Panel proposed that searches of
“glyphosate and immunotoxicity” and “non-Hodgkin’s lymphoma (NHL) and farming” might be
informative. Further, some members of the Panel noted that, since most of the glyphosate in
commerce in the U.S. is supplied as the isopropylamine salt, it would be of interest to review
whether isopropylamine per se or the glyphosate isoproylamine combination has been tested for
carcinogenicity, mutagenicity, and immunotoxicity.

      Given the importance of epidemiologic data generated by the Agricultural Health Study
(AHS), the Panel recommended that EPA contact the AHS investigators to determine whether
updated data on incidence of non-Hodgkin’s lymphoma (NHL) and other cancers are available.
As was discussed at length during the Panel’s deliberations, the relevant AHS publication (De
Roos et al., 2005) has a limited follow-up period, and so is less informative than it might be were
additional and more recent data from this important study-cohort available.

      One Panel member was concerned with regard to the sensitivity of the review process. The
unusually low number of epidemiological studies identified through searches of PubMed.gov,
Science Direct®, and Web of Science™ may indicate that EPA needs to utilize more
comprehensive and sensitive techniques in conducting searches of the databases than has been
employed to date. It is nonetheless likely that the Agency did identify all of the relevant papers
by the combined methods of computerized searching and other means (such as from the
reference lists of other relevant papers and reviews).


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      Some Panel members noted that it is important for the study selection process to involve
multiple people independently selecting studies, scoring studies, and then to have a process to
reach consensus regarding the selected studies. It was noted that this aspect of the process was
not clearly described in the Issue Paper.

      Several Panel members noted that it would have been helpful if the Issue Paper had been
easier to review. For EPA’s Clean Air Science Advisory Committee (CASAC), the Agency
produces technical documents for review with references linked using HERONET, a database
which provides access to full scientific articles. A Panel member suggested that the Agency do
the same for FIFRA-related Issue Papers.

The epidemiological studies investigating the potential for an association between
glyphosate exposure and cancer outcomes

      The Panel concluded that, overall, the Agency’s review and evaluation chose relevant
epidemiology studies that inform the assessment of the human carcinogenic potential of
glyphosate. The Panel noted that EPA’s continuing effort to incorporate human data into risk
assessment is commendable. The Panel also found that EPA’s evaluation of the epidemiologic
studies used a sound, appropriate and acceptable approach, although how the individual study
rankings were judged and ultimately how the final rankings incorporating subgroup rankings
were determined were not always evident to the Panel without the Agency’s explanation. In
addition, some Panel members were concerned that important issues that affect the quality
ranking of the Agricultural Health Study were not considered. The Panel observed that the
agency correctly addressed the issue of both case-control and cohort studies having adequate
latency periods as a validity criterion, and pointed out the difficulty of addressing this issue in
the absence of reliable data on latency periods for the cancers of interest. However, Panelists had
different opinions about the importance of considerations of latency in interpreting epidemiology
results.

      The Panel recommended that the concept of realized study design should be incorporated
into the evaluation of study design. In addition, some Panel members suggested that it may be
useful to adopt a classification criterion that separates studies by their 1) design, 2)
implementation (which includes consideration of issues such as attempts at full enrollment,
completeness of questionnaire design, and completeness of collection of other data) and 3) data
analyses characteristics.

       Panel members agreed that based on the evidence presented in the Issue Paper (EPA,
2016a), Tables 3.3 and 3.4, there is no reliable evidence of an association between glyphosate
exposure and any solid tumor, or between glyphosate exposure and leukemia or Hodgkin’s
lymphoma, even if the possibility that some of the studies reviewed were subject to potential
biases is ignored (such as recall or measurement error bias). However, some Panel members also
noted that the epidemiologic data are still limited, and that none of the studies is of glyphosate
manufacturing workers or others who may be relatively highly exposed. This was felt to be a
critical data-gap.

     The Panel also agreed with EPA that available studies do not link glyphosate exposure to
multiple myeloma (MM). However, one Panel member noted that a recently published meta-

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analysis (Chang and Delzell, 2016) reported a meta-estimate of the relative risk for the
association between MM and glyphosate of 1.4 (with 95% CI of 1.0-1.9). Another panel
member, however, noted that to the extent that the primary study results may be biased high, the
meta-statistic will be similarly biased high.

      Some Panel members supported the Agency conclusion that “the association between
glyphosate exposure and risk of NHL cannot be determined based on the available data,”
although for somewhat different reasons than provided by EPA. These Panelists believe that all
the significant findings from three of five case-control studies and three meta-analyses were most
likely a result of recall and other potential biases. Furthermore, the only study not subject to
recall bias, the prospective cohort study (De Roos et al. 2005), did not show statistical evidence
of a positive association.

       Some Panel members emphasized that, as EPA itself has estimated, all available
epidemiologic studies of glyphosate-users are not really studies of glyphosate over-exposed
workers. These Panel members believe this is a crucial point, and one more reason to doubt that
the weakly positive NHL case-control study results are indicative of any genuine biological
response due to glyphosate -- as opposed to countless other chemical, biological,
microbiological, and antigenic factors associated with living or working on a farm. These Panel
members noted that many epidemiological studies have reported farmers to be at increased risk
of lymphoma (and sometimes leukemia), including decades before glyphosate was used. One
Panel member expanded on this noting that while the Agency correctly considered whether
studies had adjusted for exposure to other individual pesticides as one of the important criteria
for quality assessment, it has not considered the equally important exposure to farm animals
(cattle, pigs, sheep, poultry, etc.) that also needs to be adjusted for in determining the quality of
epidemiological studies. These animal exposures involve exposure to oncogenic viruses present
in the animals, and also to immune system stimulant endotoxins that are particularly of relevance
for tumors of the hematopoietic and lymphatic systems, especially as their occurrences predate
the introduction of glyphosate and some of the studies reviewed did show them as important risk
factors.

      Other Panel members disagreed with the Agency’s conclusion, emphasizing the value and
importance of the findings reported from several dose-response analyses and meta-analyses.
These Panelists noted several considerations including that while the majority of the individual
studies are not statistically significant, combining the results using meta-analysis shows a
scientifically important and statistically significant elevated NHL risk that is relevant for
understanding carcinogenic potential. It appeared to some Panel members that the Agency did
not fully consider that the data could be suggestive of a lymphomagenic effect of glyphosate. In
particular, some Panel members felt that EPA’s discussion of the epidemiological evidence
appeared to discount statistical findings and overemphasize non-statistical criteria. Thus, some
Panel members believed that there is limited but suggestive evidence of a positive association
between glyphosate exposure and risk of NHL. These panelists recommended that the Agency
revise their conclusion to something along the lines of the following:

    “Based on the weight-of-evidence from epidemiological studies and meta-analyses, the
Agency cannot exclude the possibility that observed positive associations between glyphosate


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exposure and risk of NHL suggest human carcinogenic potential of glyphosate, even though
study limitations and concerns about potential biases remain.”

       Other Panel members, however, strongly disagreed with such a statement; they instead
agreed with EPA that the positive associations with glyphosate reported in some retrospective
case-control studies of NHL are (i) too weak and (ii) too likely to be confounded by other aspects
of living or working on a farm to be properly considered even as suggestive – especially given
the null results in the only available prospective cohort study of pesticide applicators. These
panelists noted that if the reported odds-ratios and/or relative risks were instead (i) larger and
more precise, and (ii) for some solid tumor-type not otherwise known to appear in excess in
farmers, then they would be more persuaded that glyphosate possibly posed a cancer-risk. They
also noted that if glyphosate, at the very small exposure levels actually received by farmers, were
a bona fide human carcinogen, then the toxic potency of glyphosate in humans would have to be
on the order of 100,000 times larger than it has proven to be in numerous studies using
laboratory rodents. These panelists knew of no precedent for such a discrepancy – especially for
a compound, such as glyphosate, that is (i) poorly absorbed, (ii) non-reactive per se, and (iii) not
converted in vivo to reactive metabolites.

       Panel members noted that workers in companies that manufacture, formulate, or handle and
sell glyphosate on a wholesale basis comprise a promising resource for epidemiologic study that
should be investigated. One panel member noted that there are at least 15 companies that have
registered glyphosate products with EPA and suggested that it is likely that large numbers of
exposed workers (perhaps many more than those directly involved in manufacturing glyphosate)
could be identified for cohort studies in companies involved in the formulation or wholesale
handling and sale of glyphosate.

      The Panel also provided comments and recommendations regarding the specific criteria
including study design, study power, statistical analysis, confounding, statistical bias, recall and
selection bias. The Panel discussed at length the possibility that recall bias in retrospective case-
control studies can result in over-estimation of the risk of NHL associated with pesticide
exposure. Some Panel members felt that key studies show evidence of recall bias, exacerbated in
some cases by selection bias, and therefore these studies are not reliable for evaluating the
carcinogenicity of glyphosate. Other panel members felt that the necessary data to appropriately
evaluate whether recall bias is present or not in the reviewed studies are not available and, in any
case, the potential for important impacts of recall bias on the findings could not be reliably
separated from those of other potential biases. Another Panel member noted, however, that use
of proxy respondents (as necessitated in all retrospective case-control studies when cases are
deceased) has been shown to bias cancer risk-estimates above the null (sometimes substantially
so), both for pesticides in general and for glyphosate in particular.

The laboratory animal carcinogenicity studies for glyphosate

      EPA reviewed and analyzed the results of 15 rodent bioassays and concluded that the
results as a whole do not indicate carcinogenicity of glyphosate. Some Panel members agreed
with this conclusion, noting that the Issue Paper correctly finds the tumor-response data to be too
inconsistent to be considered compound-related. Other Panel members interpreted the totality of
the tumor data as supporting the hypothesis that glyphosate may cause the promotion or

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progression of common spontaneous lesions. These Panel members argued that there is sufficient
evidence to conclude that glyphosate is a weak rodent carcinogen and/or tumor promoter. The
Panel noted that holistically interpreting results from 15 rodent cancer bioassays posed a unique
challenge.

      Overall, the Panel was divided with regard to its interpretation of apparently conflicting
evidence from the rodent bioassays of glyphosate. Some Panel members pointed out that true
carcinogenic responses should be reproducible, and that the estimated positive results in some of
the rodent bioassays of glyphosate were likely to be false positives. These Panelists focused on
the lack of consistency among the responses across the entire, unusually large glyphosate
database, and the fact that the number of significantly positive results in this large database was
no greater than would be expected from random assignment of animals to dose groups. These
Panelists also noted EPA’s weight-of-evidence ignored the serious multiple comparison problem
caused by focusing attention on the most extreme tumor responses without also explicitly noting
the many negative dose-response relationships and other null results.

      Some Panel members felt that the Agency’s weight-of-evidence evaluation gave excessive
weight to several factors, including lack of monotonic dose response relationships, historical
tumor rates, lack of statistical significance in pair-wise comparisons when there is a significant
positive trend, and discounting results at exposures greater than the “limit dose” of 1,000
mg/kg/day. Panelists who disagreed with the Agency’s conclusions noted there was considerable
heterogeneity between studies that needed to be taken into account. They recommended pooled
analyses of multiple studies, within endpoint, gender, and species, as a valid approach to distill
the evidence from multiple studies. In support of their conclusion they cited an example,
provided in the public comments, of pooled analyses of several endpoints for most of the mouse
studies.

     Some Panel members felt that the Agency’s discounting of statistically-significant trends
based on the idea that they were not monotonically increasing was flawed. The Panel noted that a
monotonic dose response relationship is not a criterion for a positive rodent response in the
Agency’s 2005 Guidelines for Carcinogen Risk Assessment.

       Overall, the Panel concluded that the EPA evaluation does not appear to follow the EPA
(2005) Cancer Guidelines in several ways, notably for use of historical control data and
statistical testing requirements. Regarding historical controls, the Panel noted that the default
position should be to not rely on historical control data except when concurrent controls yield
clearly unreliable results. The Panel recommended that EPA articulate why historical control
data were incorporated into some of its analyses and not in others. Regarding statistical testing
requirements, the Panel noted that requiring a significant pairwise comparison corrected for the
number of pair-wise tests in addition to a significant trend is neither consistent with the 2005
Guidelines for Carcinogen Risk Assessment nor a conservative approach for public health
protection.

     In the view of some Panel members, there are sufficient data to conclude glyphosate is a
rodent carcinogen using the approaches recommended to interpret the biological significance of
tumor responses in EPA’s 2005 Guidelines for Carcinogen Risk Assessment. However, other
Panel members strongly disagreed with this conclusion finding no reliable and consistent

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evidence that glyphosate induces or promotes tumors in laboratory rodents. Some Panel
members also did not agree that applying a “conservative test” is necessarily an appropriate
scientific goal when evaluating the potential carcinogenicity of glyphosate. Instead these Panel
members recommended the standard scientific approach be followed whenever feasible (e.g.,
apply a decision rule that has a false positive rate equal to the standard rate of 5%).

       The Panel concluded that the EPA needs to clarify its position on results from exposures
that exceed 1,000 mg/kg/day (the limit dose). Panel members differed regarding the relevance
and use of results above the “limit dose” for determining the carcinogenic potential of glyphosate
for humans. Some Panel members felt that at high doses homeostatic mechanisms could be
overwhelmed, so that results might not be relevant for the much lower levels of exposure
experienced by people. Other Panelists noted that since glyphosate is so non-toxic, results at
dose-rates that are several-fold larger than the limit dose of 1,000 mg/kg/day could indeed be
relevant -- since such doses were still smaller than the maximally tolerated dose. Based on EPA
(2005) Cancer Guidelines, some members of the Panel concluded it is questionable whether
results from exposures greater than 1,000 mg/kg/day, but less than doses corresponding to 5% in
diet, should be given less weight. Many members of the Panel concluded not considering or
discounting tumor responses at doses that exceed 1,000/mg/kg/day is not consistent with either
EPA (2005) Cancer Guidelines or standard ways in which bioassay results are typically
interpreted. They noted that the limit dose is included in the guidelines as a design criterion and
it is not advisable to exclude observed data post hoc from the analysis and interpretation of
experimental results.

      Some Panel members agreed that it is important to control for multiple comparisons as
described in the EPA Guidelines for Carcinogen Risk Assessment (a point noted in public
comments as well), but felt that the Agency’s specific technique for making this adjustment was
flawed. These panelists made specific recommendations for improvements in the analysis.

      Other Panelists felt that a multiple comparisons adjustment was not appropriate for
addressing the question of whether glyphosate has carcinogenic potential, asserting instead that
compelling evidence of carcinogenicity for any tumor-type, regardless of replicability, suffices.
These panelists felt that the appropriate method for combining evidence from multiple studies is
to use pooled analysis or meta-analytical tools.

     Some Panel members believed that differences in study designs could explain some of the
tumor response discrepancies, and that, overall, the rodent bioassay data were consistent with
glyphosate acting as a weak tumor promoter. There has been no direct test of this hypothesis
(such as in a standard initiation-promotion bioassay), and therefore other Panel members felt that
such a conclusion was speculative and ignored the lack of reproducibility.

Assays investigating the genotoxic potential of glyphosate

      Panel members found that the Agency’s overall weight-of-evidence and conclusion that
there is no convincing evidence that glyphosate induces mutations in vivo via the oral route are
sound. Areas of remaining uncertainty are related to the potential for glyphosate-induced
inflammation and genotoxic effects secondary to toxicity caused by high dose exposures (i.e.,
glyphosate-induced inflammation, oxidative stress, 8-OH-dG, and sister chromatid exchanges or

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SCE) and whether the glyphosate-containing formulations have genotoxic potential. In addition,
one Panel member noted that none of the assays employed provides an unbiased (global)
measure of small insertions, deletions and rearrangements, which can result in gene copy number
variation (CNV) and recommended that this section of the Issue Paper be expanded to address
this point.

      Panel members agreed that the review and evaluation process of genotoxicity studies is
sufficient given the limits of the available assays, which are described in the report (first
paragraph of section 5.1) as being sufficient to detect: “1) changes in single base pairs, partial,
single or multiple genes, or chromosomes, 2) breaks in chromosomes that result in transmissible
deletion, duplication or rearrangement of chromosome segments, and 3) mitotic recombination.”

     Panel members also agreed that, in the determination of whether glyphosate is likely to be
genotoxic in humans, the EPA document focuses appropriately on studies conducted in cultured
mammalian cells and laboratory animal models.

      One Panel member encouraged the agency to consider two key human biomonitoring
studies in their evaluation of genotoxicity, specifically studies by Bolognesi et al. (2009) and
Koureas et al. (2014).

      A few Panel members commented that if glyphosate causes progression of spontaneously
arising lesions (in cells carrying cancer driver mutations or other types of DNA damage), then
humans may be at risk of glyphosate-induced carcinogenicity, and the longer human lifespan (as
compared to rodents) is expected to contribute to the risk. Other members felt that such concerns
were speculative.

The completeness, transparency, and scientific quality of the Agency’s characterization of
the carcinogenic potential of glyphosate

      The Panel was asked to comment on the completeness, transparency, and scientific quality
of the Agency’s characterization of the carcinogenic potential of glyphosate as presented in the
Issue Paper, paying attention to how the Agency uses the modified Bradford Hill criteria of
strength of association, consistency, dose response, temporal concordance, and biological
plausibility in its assessment.

     The Panel noted that the conclusion on glyphosate carcinogenicity offered in the Issue
Paper has two parts. The first part is a hazard statement while the second part is a risk
characterization statement. Since the Issue Paper is not a full risk assessment of technical
glyphosate as outlined in the 2005 Guidelines for Carcinogen Risk Assessment, the Issue Paper
conclusion was assessed by the Panel as a hazard statement.

      Completeness: The Panel concluded that the Issue Paper represents a comprehensive
review of the available epidemiologic data, laboratory animal bioassay data, and genotoxicity
data, but also noted some limitations.

     First, the epidemiologic data reviewed in the Issue Paper are limited to users of glyphosate-
based herbicides (such as farmers and other herbicide-applicators), but, as EPA estimates,
exposures are fairly low – 0.03-7 mg/kg/day for the most highly exposed workers. Published

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studies of potentially more highly exposed workers, such as those who manufacture, formulate or
are involved in the wholesale handling or selling of glyphosate, are apparently not available.

       Second, because the central epidemiologic question with regard to glyphosate is whether its
use is associated with risk of developing non-Hodgkin’s lymphoma (NHL), some Panel members
felt that the Issue Paper would benefit from a broader review of NHL risk-factors that have long
been associated with farming.

      Third, the Issue Paper does not present potentially relevant data on isopropylamine, despite
the fact that most glyphosate in use is as the isopropylamine salt.

      Transparency: The Panel found the Issue Paper to be reasonably transparent, although
concern was expressed that some of the documents and data used by EPA in this assessment
require special procedures for access and a few studies were not available to the Panel or the
public. The Agency explained that FIFRA regulations are responsible for some of these
limitations. Regardless, the Panel questioned whether the public could fully review and
reproduce the conclusions reached by EPA.

      Scientific quality: The Panel felt that the scientific quality of the Issue Paper could be
improved. Some Panel members pointed to insufficient study design details, incomplete
discussions of data limitations, and use of assessment criteria that do not follow EPA (2005)
Cancer Guidelines. Panel members noted that the health-effects database on glyphosate (from
both toxicological and epidemiological studies) poses a somewhat unique challenge, but that the
Agency could nonetheless improve upon the scientific quality of its weight-of-evidence
approach. For example, several Panel members, and several public commenters, presented
methods for formally and holistically assessing the results from the 15 or so laboratory rodent
bioassays of glyphosate acid or glyphosate salts that could improve the Agency’s approach.

      Dose-response and temporal concordance (Bradford Hill Criteria): A number of Panel
members did not agree with how the Issue Paper weighed the epidemiological study findings,
particularly for NHL, and were skeptical of the report’s arguments leading to its conclusion of
“no observed association.” Not all Panel members agreed with the Issue Paper’s conclusion that
findings in rodent bioassays are not treatment-related. There was disagreement among the Panel
members regarding which analyses/results constituted a significant finding and which instead
were false positives. Some panelists disagreed with EPA’s assertion that monotonically
increasing dose-response relationships were required in order for responses to be considered to
be compound-related, and felt that the Agency could better explain its reliance on tumor
responses in historical, as opposed to concurrent, control groups. The Panel’s consensus was that
the Issue Paper needs to refine and strengthen its arguments regarding the weight assigned to
“limit dose” responses in the bioassays. The Panel agreed with the Issue Paper’s conclusions
regarding the lack of genotoxicity effects of glyphosate.

      Strength, consistency, and specificity (Bradford Hill Criteria): With regard to the
epidemiologic findings, the Panel concurred with the Issue Paper’s conclusions regarding solid
tumors, leukemia, multiple myeloma and Hodgkin’s lymphoma, but differed in their agreement
with the Issue Paper’s conclusions of no reliable relationship between glyphosate exposure and
NHL. The roles and impacts of recall bias, selection bias, residual confounding by other farm

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exposures, and reliability of the meta-analyses were all points of disagreement. Several Panel
members noted that the epidemiologic database is unusually uninformative, in that (i) glyphosate
based herbicide-users are not exposed to doses much larger than those ingested by many
consumers via their diets, and (ii) the cancer-type that is weakly associated with glyphosate –
NHL – has also been linked with farming for many decades, including before use of this
herbicide.

      The Panel discussed at length the consistency, or lack thereof, of the laboratory rodent
bioassay results. Some Panel members suggest that in evaluating the data from the rodent
bioassays, dose-response modeling in a pooled analysis would provide a better basis for
assessing the consistency and implications of the bioassay results. The current draft instead
focuses on each bioassay individually, which obscures readers’ abilities to judge whether results
are consistent and likely to be compound-related.

       Biological plausibility and coherence (Bradford Hill Criteria): Some Panel members
felt that the Issue Paper would benefit from a discussion of the hypothesis that glyphosate may
be a weak cancer promoter and to explore the immunotoxicity of glyphosate; though not all
Panel members felt that having a biologically plausible MOA is a necessary condition to
classifying a substance as a carcinogen, as implied in the Issue Paper. The discussion should
consider observations of glyphosate treatment-related increases in frequently occurring
spontaneous tumors noted in primary study documents (Knezevich and Hogan 1983, Wood
2009b), observations of treatment-related decreases in pre-neoplastic lesions concurrent with
increases in tumor frequency in the same organ (Lankas 1981, Knezevich and Hogan, 1983), and
significant increases in malignant tumors of treated male rats relative to controls across tumor
sites (Atkinson 1993a), which suggest glyphosate may cause promotion or progression of
spontaneous pre-neoplastic lesions (also see response to Charge Question 3d).

      Uncertainty (Bradford Hill Criterion): The Panel concluded that uncertainties in
epidemiological and animal study evidence are well discussed in appropriate sections of the
Issue Paper. Uncertainties identified in earlier sections of the Issue Paper, such as excluding
formulations with glyphosate and the limitations regarding available pharmacokinetics data,
should be expanded upon. Some Panel members noted that in the discussion of the epidemiology
findings, the Issue Paper does not adequately assess the likely impacts of potential biases (such
as recall and selection) and residual confounding on the odds ratio estimates or the problems that
could bias the estimates obtained from the currently available results of the Agricultural Health
Study.

      Evaluation and Proposed Conclusion: Using a weight-of-evidence approach, the Issue
Paper concludes that glyphosate is “not likely to be carcinogenic to humans,” especially at
reasonably foreseeable dose-rates. Some Panel members agreed with this characterization, while
other Panel members felt that the better descriptor for glyphosate is “suggestive evidence of
carcinogenic potential.” Many Panelists noted that crucial data were equivocal, and that
additional data on cancer morbidity and/or mortality from studies of glyphosate-exposed workers
would be desirable.




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DETAILED PANEL DELIBERATIONS AND RESPONSE TO CHARGE

      To seek advice from the SAP regarding EPA’s evaluation of the carcinogenic potential of
glyphosate, the Agency presented a set of five charge questions to the Panel focused on the
evaluation and interpretation of the available data for each line of evidence, the weight-of-
evidence analysis, as well as how the available data inform cancer classification descriptors
according to the agency’s 2005 Guidelines for Carcinogen Risk Assessment. Although there are
studies available on glyphosate-based pesticide formulations, the agency solicited advice from
the SAP on the evaluation of human carcinogenic potential for the active ingredient glyphosate
only at this time.

Charge Question 1

The agency has collected a multitude of studies that may inform the human carcinogenic
potential of glyphosate through a systematic review of the open literature and toxicological
databases for glyphosate and glyphosate salts as described in Section 2.0. Please comment
on the agency’s methods to collect references for this evaluation, including the
completeness, transparency, and appropriateness of these methods. Please also comment on
whether there are additional relevant studies that could inform the human carcinogenic
potential of glyphosate that were not included in the current evaluation.

Panel Response

     The Panel found that EPA’s literature review methods were in general transparent and
appropriate. The Panel had the following, additional comments.

     First, the Panel questioned whether EPA’s search strategy was a bit too narrow. For
example, EPA’s method of searching excluded papers that contained the term “water” which
would have omitted papers reporting on studies of the mutagenic or carcinogenic potential of
glyphosate in drinking water. The Panel assumed that this was not EPA’s intention, and
suggested that updated searches be performed without “water” as an exclusion term.

      More generally, the Panel recommended that EPA re-run its literature search to capture
recent, potentially relevant papers. Several relevant papers have been published since the Issue
Paper was released, and these should be reviewed for the final version of the Issue Paper. These
manuscripts include reviews by Acquavella et al., 2016, Williams et al., 2016, and several others
that will be readily identified by US EPA when it updates its literature search.

      The Panel noted at least one paper that would not be picked up by EPA’s current search
strategy because glyphosate is not mentioned anywhere in the title and the title does not have any
of the other search terms that the Panel believes EPA used. The publication is Zhang et al., 2016,
“Health effect[s] of agricultural pesticide use in China: implications for the development of GM
crops.” Published online in Nature, Scientific Reports (October 10, 2016), the study evaluates
what the authors consider to be 35 health indicators in Chinese farmers, and differentiates
between users of glyphosate-based formulations and users of non-glyphosate based formulations.



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      Some Panel members noted that it is important for the study selection process to involve
more than one person independently selecting studies for review, more than one person
independently scoring the studies, and then to come to some consensus regarding the selected
studies. One member thought the Agency said that only one person selected the studies. The
selection process is usually done by more than one person and then there is a process to come to
some consensus regarding the studies that were selected. Another panelist noted that it's very
important that there are at least two people selecting and two people scoring the quality,
independently. This member noted that the Issue Paper is not clear regarding this important
process.

      Given the importance of epidemiologic data generated by the Agricultural Health Study
(AHS), the Panel recommended that EPA contact the AHS investigators to determine whether
updated data on incidence of NHL and other cancers are available. As was discussed at length
during the Panel’s deliberations, the relevant AHS publication (De Roos et al., 2005) has a
limited follow-up period, and would be more informative if additional and more recent data from
this important study-cohort are available.

      The EPA’s Issue Paper states that it is concerned only with glyphosate per se, and not with
glyphosate-based formulations. But this is not really the case, since relevant epidemiologic
studies would be of people who make or use glyphosate-based formulations.

       If there are rodent cancer bioassays of glyphosate-based formulations, the Panel
recommended that the Issue Paper identify and discuss these. A Panel member noted that, there
is at least one such study, which is the republished bioassay of Roundup® by Seralini’s group
(Seralini et al., 2014). Some Panelists believed that the EPA should have included and discussed
this paper, pointing out its strengths and weaknesses and determining what probative value its
reported bioassays provide.

      There are other studies that may or may not provide relevant and reliable information, and
some members of the Panel wanted to make certain that EPA has evaluated these. Some of these,
such as Benedetti and colleagues, 2013, were determined by EPA to be “of low quality ranking
and not evaluated in detail,” but some members of the Panel suggested that EPA might provide
some additional detail as to why they were deemed to be uninformative. Other papers from
Seralini’s group, such as Mesnage et al (2014) and Cox & Surgan (2006), might also be reviewed
to determine if they provide relevant and reliable information. At least one Panel member’s
review, however, indicated that these papers provide no relevant evidence with regard to the
Issue Paper.

      Some members of the Panel noted that one of the public comments posted at
https://www.regulations.gov (document ID number EPA-HQ-OPP-2016-0385-0235, Attachment
6) makes reference to “Epidemiologic studies from the areas in Latin America where glyphosate
is sprayed heavily.…” This comment may refer to work performed by Dr. Fernando Manas at the
National University of Rio Cuarto in Argentina who has studied pesticide sprayers in the soy
industry. The comment also refers to researchers from the Pontifical Catholic University, Quito,
Ecuador who apparently examined individuals exposed when fields were aerially sprayed to
eliminate illicit crops. Some members of the Panel suggested that EPA follow up on these
potential data sources.

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     One Panel member noted that there were 18 studies reviewed for which EPA did not have
access to the primary reports, and suggested that these be sequestered and considered separately.
Another Panel member did not believe that such sequestration would be required.

      Several Panel members noted that it would have been helpful if the Issue Paper had been
easier to review. For EPA’s Clean Air Science Advisory Committee (CASAC), the Agency
produces technical documents for review with references linked using HERONET, a database
that provides access to full scientific articles. A Panel member suggested that the Agency do the
same for FIFRA-related Issue Papers.

      Some members of the Panel suggested that additional literature searches might be useful.
The central question that arises from the results of epidemiologic studies is whether glyphosate
could be a risk factor for the development of NHL. Many types of lymphomas develop at
substantially increased rates in patients with compromised immune systems, such as those with
HIV-AIDS, and one working hypothesis is that chemicals that are potent immunotoxicants might
also predispose to lymphomagenesis. Some members of the Panel proposed that a search of
“glyphosate and immunotoxicity” might be informative, as would a separate section in the Issue
Paper discussing glyphosate and immunotoxicity test results.

      Some members of the Panel also recommended that EPA run a search using the terms
“NHL and farming.” Studies dating back many decades have often, though not always, reported
that farmers develop NHL at excess rates. One working hypothesis for this is that the antigenic
stimuli on farms are very different and more diverse than such stimuli in typical non-farm
environments. For cancers of lymphocytes – most of which are plasma cell or B-cell neoplasms –
immune-system responses are expected to be central to the process of lymphomagenesis.

      Finally, some members of the Panel noted that, since most of the glyphosate in commerce
in the U.S. is supplied as the isopropylamine salt, it would be of interest to review whether
isopropylamine per se or glyphosate isopropylamine salt has been tested for carcinogenicity,
mutagenicity, and immunotoxicity.

Charge Question 2

As part of its analysis, the agency has considered 58 individual epidemiological studies
investigating the potential for an association between glyphosate exposure and numerous
cancer outcomes. Detailed study evaluations were performed to determine overall quality
rankings for relevant studies. These evaluations took into consideration study
characteristics, including study design, exposure assessment, outcome assessment, control
for confounders, statistical analyses, and risk of bias. Twenty-three studies were considered
informative with regard to the carcinogenic potential of glyphosate.

a. Please comment on the agency’s review and evaluation process of relevant epidemiology
studies to inform the human carcinogenic potential of glyphosate.




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Panel Response

The EPA’s Office of Chemical Safety and Pollution Prevention (OCSPP), guided by the NRC
recommendation, conducted a systematic review of the epidemiologic data. The Panel found that
the review incorporated a transparent and “fit for purpose” approach in identifying high quality
studies for selection that was successfully followed in various stages of the review and
evaluation process. The Panel noted that EPA’s continuing effort to incorporate human data into
risk assessment is commendable.

Review Process

     EPA initially identified studies for the review from open literature searches of standard
databases (PubMed.gov, Science Direct® and Web of Science™). These searches were
supplemented with those from other sources such as registrant generated studies submitted to the
agency as required under FIFRA, internal reviews and databases, OPP routine evaluations of the
epidemiologic literature, evaluations by OPP and other organizations, other governments, and
academia. Although on face value it appears a very comprehensive review had been conducted,
some members of the Panel found that there is room for concern over the completeness of the
review process for the following reasons:

1) The Panel noted that only 9 of the 58 epidemiologic studies selected for review were
identified through searches of PubMed.gov, Science Direct® and Web of Science™. Some panel
members suggested that this low yield from these sources is quite unusual, and probably
indicates a need for the EPA to utilize much more comprehensive, reliable, sensitive, and
effective techniques in conducting searches of these databases than has been employed by the
agency for this review. One Panel member noted that many of the key papers do not contain
glyphosate in their titles or search terms, and so could not have been picked up by computerized
searching, hence the need for more innovative methods to capture the relevant studies in these
databases. It is possible nonetheless that the Agency did identify all of the relevant papers by the
combined methods of computerized searching and other means (such as from the reference lists
of other relevant papers).

2) When asked at the meeting, scientists from the Agency revealed that they did not search for
nor did they find studies of workers involved in the manufacture of glyphosate for the review.
The Panel noted that, historically, for other chemical and physical agents, it has been studies of
manufacturing workers that have contributed predominantly in scientific evaluations of the
potential carcinogenicity of chemicals and physical agents that pose threats to the general
environment and general population (e.g., benzene, aniline dyes, asbestos). Some of the
advantages of this group of workers that have been leveraged before in risk assessment include
a) they have considerably much higher exposure levels and wider exposure gradients that permit
easier detection of effects if any, than users such as applicators and the general population; b)
they comprise a well-defined study group that is easily followed up; c) exposures are usually
better documented in company/union work histories than in the self-reports associated with
population-based or hospital-based case-control studies that are more prone to misclassification
of exposure; d) they can be studied in high quality cohort and nested case-control studies that are
in principle much better designs than the usual population or hospital-based case-control studies,


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especially for issues such as controlling or eliminating selection bias and other confounding
factors; and e) occupational exposures may be relatively free of other confounding exposures.

Panel members noted that workers in companies that manufacture, formulate, or handle and sell
glyphosate on a wholesale basis comprise a promising resource that should be investigated. One
Panel member noted that there are at least 15 such companies that have registered with EPA and
suggested that it is very likely that large numbers of exposed workers (perhaps many more than
those directly involved in manufacturing glyphosate) could be identified for cohort studies in
companies involved in the formulation or wholesale handling and sale of glyphosate. Exposures
among such workers would be expected to be much higher than those experienced by
applicators. Some Panel members found it is surprising that for this review, the Agency had not
requested registrants to provide data on cohort studies they have conducted, as evidence was
presented that at least one manufacturing company had conducted such a study. Some Panel
members viewed the inclusion of workers involved in manufacturing, formulation or wholesale
handling and selling of chemicals such as glyphosate in studies evaluating the carcinogenicity of
these chemicals as vital to the review process. This was suggested to be particularly important,
since the Agency’s entire review process relied on the assumption that applicators have
significantly higher exposures than subjects in the general population. Glyphosate exposure of
applicators is estimated by EPA to range from 0.02-0.03 mg/kg/day, whereas the EPA’s high-end
exposure-estimate for children age 1-2 years (assuming that all relevant foods contained
glyphosate-residues at their maximum allowable limits) is 0.47 mg/kg/day (i.e., much higher
than that for applicators). Even the estimated highest exposures experienced by glyphosate
mixers and loaders of 0.03-7 mg/kg/day overlap with those potentially experienced by children.
Thus applicators’ occupational exposures may not distinguish them from the general population
with regard to absorbed doses of glyphosate, and it is not clear then that epidemiologic studies of
such users are of much probative value. Members of the Panel urged EPA, OSHA, NIOSH, and
industry to collaborate to identify and study workers with distinctly high levels of glyphosate
exposure. Because of its importance, the Agency should consider obtaining data on a cohort
study of such workers for revision of the Agency’s evaluation.

3) Several Panel members noticed that among 58 individual epidemiological studies reviewed,
the agency selected a total of 24 human studies to evaluate the human carcinogenic potential of
glyphosate (3 rated as high quality and 21 as moderate) not 23, as stated in the Issue Paper.

4) Some Panel members also suggested that the agency should add a cut-off date (e.g. 12-31-
2016) to have a newly published and/or accepted paper considered to be included in the EPA
2016 review.

5) For this review, the Scientific Advisory Panel was charged specifically with evaluating the
active ingredient, glyphosate acid. However, all the epidemiological studies collected and
considered in the review concerned subjects that were exposed to glyphosate formulations, and
there are no studies that reflect exposure to glyphosate acid only. This could affect alignment of
the epidemiological with the toxicological findings.




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Evaluation Process

      In the evaluation of epidemiologic studies, EPA tailored study quality considerations
specifically to studies investigating the association between glyphosate exposure and cancer
endpoints, with primary literature and associated meta-analyses evaluating the association
between glyphosate exposure and a cancer endpoint being the focus of the analysis. The EPA
judged each study to be of high, moderate, or low quality in each of six domains: study design,
exposure assessment, outcome assessment, confounder control, statistical analysis, and
susceptibility to bias. The Panel found that this is a sound, appropriate and acceptable approach,
although how the individual rankings were judged and ultimately how the final ranking
incorporating these subgroup rankings were derived, were not always evident to the Panel
without the Agency’s explanation. While the classification of studies in the low quality group
appeared to be generally appropriate (see the discussion of Cocco et al. in response to charge
question 2d), it was not clear how the separation of the three studies in the high quality group
differed from others in the moderate group. Several panelists recommended classifying the
studies into only two groups because they did not find it clear that studies in the current high
quality group could be meaningfully separated from those in the moderate group. These panelists
suggested that the “high” and “moderate” quality groups should be combined into a single group,
thus reflecting the opinion by some Panel members that the rating should be merely to provide
reasonable qualities of the papers included in the evaluation process.

      The Panel observed that the agency correctly addressed the issue of both case-control and
cohort studies having adequate latency periods as a validity criterion, and pointed out the
difficulty of addressing this issue in the absence of reliable data on latency periods for the
cancers of interest in the literature. The Panel noted that choice of the “unexposed” group in
case-control studies could be a source of differences in findings among them. For example, using
non-farmers as the unexposed group could introduce inherent farmer/non-farmer differences
unrelated to pesticide exposure that could be confounding, and suggests that the choice of
comparison or reference groups may be another quality criterion.

Regarding the Specific Criteria

Study design

      The Panel observed that study design is not as clear cut as the document presents. The
single cohort of the AHS by De Roos et al. (2005), is given a higher weight than case-control
studies, without regard to other extremely relevant aspects of the realized study designs. The
Panel recommended that the concept of realized study design should be incorporated into the
evaluation of study design. For instance, for multiple reasons, including the young ages of
participants, low cancer incidence rate to date, and selection issues, there are important concerns
about the AHS, particularly with the published report (De Roos, et al., 2005), that should be
taken into account. The usual higher ranking of cohort studies vis-à-vis case-control studies is
not applicable in this particular review. Two of the three studies in the high-quality group are
from the same AHS cohort, and as mentioned above, this cohort has certain limitations that do
not justify its separation into a higher quality ranking over the studies classified as having
“moderate quality.” Panel members agreed that a follow-up analysis updating results from this
cohort could be quite informative.

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      Some Panel members suggested that it may be useful to adopt a classification criterion that
separates studies by their 1) design, 2) implementation (that includes the consideration of issues
such as attempts to get full enrollment, completeness of questionnaire design, and completeness
of collection of other data), and 3) data analysis characteristics.

Study Power

      Members of the Panel observed that study power could have been given too much weight
by the Agency. Once a study has been completed, there is no need for further consideration of
power. All the evidence is contained in the effect estimate and its confidence interval (CI). The
only time Panel members recommend using this criterion is to omit, a priori, those studies that
have too few cases to estimate adequately the outcome of interest, with the minimum number of
cases defined in advance. A member of the Panel suggested that the issue of sample size/power
be separated from the statistical analysis assessment in Table 3.2 and moved to study design.

Statistical Analysis

       The Panel suggested that the statistical analysis assessment specifically include handling of
missing data, adequacy of the analysis models employed, adjustments for confounding, and other
characteristics of good, modern data analysis. In addition, the choice of reference group, as
justified in the study design and utilized in the data analysis, has important implications for the
interpretation of the results, and should be considered in the ranking process.

Confounding

      In the report, the Agency stated that the direction of confounding is to inflate any true
effect of glyphosate in the absence of statistical adjustment. The Panel noted that this is not
always true, and that numerous studies have shown that the effect of confounding can be in
either direction (see for example, De Roos et al., 2005; Hoar et al., 1986 and Zahm et al., 1990).
The Panel recommended that the discussion not assume the direction of confounding, but
consider utilizing bounds on the role of confounders on the effect estimates. This is particularly
important for pesticide co-exposures. The Panel recommended that EPA’s consideration of the
potential carcinogenic effect of other pesticides be addressed in greater detail.

        In the report, the Agency correctly notes and uses in its quality assessment whether a
study adjusted for exposure to other individual pesticides. It does not consider when assessing
the quality of an epidemiological study whether the analysis adjusts for the equally important
factor of exposure to farm animals (cattle, pigs, sheep, poultry, etc.). Animal exposures correlate
to potential exposures to oncogenic viruses that may be present in the animals, and to immune
system stimulant endotoxins that are particularly of relevance for tumors of the hematopoietic
and lymphatic systems. The Panel noted that it is well documented that farmers are at increased
risk of leukemia and lymphoma, and this risk existed before the introduction of glyphosate.
Moreover, some of the studies reviewed by the Agency clearly show statistically significantly
elevated risk of NHL in applicators who also reported exposure to certain farm animals. Thus the
Panel concluded that exposure to farm animals is equally important as exposures to other
pesticides as potential confounders, and that this exposure needs to be accounted for when
assessing risk due to glyphosate.

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Statistical Bias

      Members of the Panel suggested that EPA (2016a) did not consider in its assessment the
potential for statistical bias that is likely to occur when fitting models with too many parameters
(see a discussion of this in EPA, 2010). As an example, in De Roos et al. (2005), the pesticide-
adjusted estimate for the multiple myeloma outcome is based on an analysis model that uses 23
parameters, 15 of these parameters are to account for exposures to other pesticides. This is an
excessive number of parameters for a data set with only 32 cases.

Recall and Selection Biases

      The Panel discussed these topics at length because some Panel members were concerned
that some of the case-control studies may be biased towards showing an effect of exposure to
glyphosate due to recall bias and/or selection bias. Selection bias can occur when the controls in
a case-control study are not from the same population as the cases. Recall bias can occur if cases
tend to consider more carefully than do controls the questions they are asked regarding their
exposures or because the cases have been considering what might have caused their cancer
(Breslow and Day 1980, Grimes and Schulz 2002). Recall bias is not a problem in cohort studies
or in case-control studies nested in cohort studies insofar as these studies ascertain exposure
information before cases became diseased (e.g., tumors are diagnosed). However, in all other
case-control studies of glyphosate, information on exposure is based on the memories of cases
and controls, or their surrogates.

       To investigate the potential for recall bias in epidemiological studies of glyphosate, a Panel
member constructed a table that tabulates the number of odds ratios (ORs) or relative risks (RRs)
greater or less than 1.0 in each of the 18 glyphosate studies EPA considered to be of moderate or
high quality. Most of these ORs and RRs are not for glyphosate, as each of these studies
evaluated a large number of pesticides. If recall bias were present it would tend to inflate the
ORs of all of these pesticides, not just those for glyphosate. This table shows that, overall, there
is a large excess of ORs>1 in those 12 studies potentially subject to recall bias. There is a much
smaller excess of ORs>1 in the six cohort and nested case-control studies not subject to recall
bias, although all of these studies were based on the Agricultural Health Study (AHS) cohort and
hence all used the same questionnaire. Nevertheless, this pattern of ORs is exactly what would
be expected if recall bias was a significant problem in these studies.

      Moreover, this same Panelist noted that the analyses in the case-control studies of NHL by
McDuffie et al. (2001), Hardell et al. (2002) and Erickson et al. (2008) eliminated both cases and
controls who had been exposed to certain classes of pesticides from their glyphosate-unexposed
groups. This analytical choice could cause selection bias, which will tend to exacerbate the effect
of any recall bias present. (It would result in unexposed cases being preferentially removed over
unexposed controls.). This Panel member conducted a simulation that demonstrated this effect,
which also suggested that in certain cases the effect on elevating ORs could be considerable.
This convinced some Panel members that the case-control studies of McDuffie et al. (2001),
Hardell et al. (2002) and Erickson et al. (2008) likely suffered from selection bias in addition to
recall bias, and therefore these studies, in particular, should not be relied upon for evaluating the
carcinogenicity of glyphosate.


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      There are appropriate statistical methods for adjusting for exposure to other pesticides
which were used in many of the other case-control studies of glyphosate. These Panel members
recommend that before relying on these three studies, EPA attempt to get the data from these
studies reanalyzed using an appropriate method.

      This analysis does not imply that these or all case-control studies in general suffer from
recall bias. In response to the Panelist’s analysis described above, other Panelists noted there are
many other reasons why this pattern of results might have been found, including an actual effect
of pesticides that was not detectable in the AHS due to its design, follow-up, and analysis. (See
the following discussion of the AHS for concerns about that study). Some Panelists thought that
reliance on memory of remote exposures to pesticides by NHL cases and controls (especially
famers) is particularly prone to recall bias while others did not. These other Panelists pointed to
the findings discussed in Blair & Zahm (1993) that argue that recall bias by farmers regarding
pesticide use could be less likely than for other exposures. One Panelist, in response, presented
additional analyses of the data presented by Blair & Zahm showing that the proportion of
controls who succeeded in recalling using any pesticides in response to being probed by an
interviewer was identical to the proportion of cases with this recall. This identical pattern of
recollection suggests no recall bias for pesticide use. Furthermore, in epidemiological studies,
recall bias is but one of multiple potential biases that could affect the findings, and the overall
impact of these biases on under- or over-estimation of risk (odds ratios) is hard to predict. Some
Panel members felt that the necessary data to appropriately evaluate whether recall bias is
present or not in reviewed studies is not available, and in any case, the potential for important
impacts of recall bias from pesticide exposures on the findings could not be reliably separated
from those of other potential biases, especially interviewer bias. Thus the difficulty in adequately
quantifying the presence or absence of these biases, their extent, and impact on risk estimates
makes it difficult to address adequately their combined impact on study quality.

       Another Panel member noted, however, that several of the case-control studies relied on
proxy respondents for information regarding use of glyphosate and other pesticides, and that
such reliance (although necessary when cases are deceased) has been shown to lead to very
substantial overestimation of odds ratios. For example, in a case-control study of brain cancer in
Nebraska, Lee et al. (2005) found that the next-of-kin of brain cancer-decedents were much more
likely to report that their loved ones had used glyphosate (and other herbicides and pesticides)
than did the live cases themselves. In particular, when the analysis was restricted to responses
from live cases, the odds ratio for brain cancer and use of any of the class of herbicides that
include glyphosate use was 0.7 (95% CI = 0.2-1.8); but when the analysis relied on next-of-kin
as proxies, the odds ratio was 3.4 (95% CI = 1.6-7.3). Lee et al. (2005) thus concluded that they
had “found significant associations between some specific agricultural pesticide exposures and
the risk of glioma among male farmers but not among female farmers in Nebraska; however,
most of the positive associations were limited to proxy respondents. These findings warrant
further evaluation in prospective cohort studies where issues of recall bias are not a concern."

The Agricultural Health Study (AHS)

      The Panel observed that Koutros et al. (2013) is a cohort study and not a case-control study
as stated in the Agency’s Issue Paper. The AHS design utilizes recruitment of participants from
licensed pesticide applicators. Thus the AHS has the advantage of studying a well-defined

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population with presumably higher use of pesticides than any other users. However, the Panel
was concerned that important issues that impact the quality ranking of this study were not
considered.

       The AHS utilizes a “prevalent” cohort, in which subjects are not followed from the time of
first exposure. Applicators exposed prior to 1993-1997 who did not make it into the study (for
various reasons) may have quite different characteristics, including exposure profiles, than those
who are included in the prevalent cohort. This is an important point that was not addressed in
EPA’s evaluation. It has implications for both the exposure-response and the outcome analyses.

      The exposure data collected were for the period prior to 1993-1997 when exposures to
glyphosate are assumed to have been low. The exposures measured do not adequately capture
possibly much higher exposures cohort members likely experienced after the introduction of
transgenic crops in 1995. Failure to update exposure data in follow-up implies that the exposure
estimates used in the analysis may be, and are most likely significantly underestimated and there
would have been misclassification of exposure. Adding to this effect is the fact that the study
design precluded the selection of workers with a short latency.

      The Panel had other concerns with the AHS. The cohort is relatively young and the follow-
up period is brief, both factors limit the time for sufficient events to occur. There is also the issue
of statistical bias mentioned above. See additional discussion of the AHS in response to Charge
Question 2d.

Summary

      Bearing in mind the concerns expressed above, the Panel concludes that, overall, the
Agency’s review and evaluation chose relevant epidemiology studies that inform the assessment
of the human carcinogenic potential of glyphosate.

b. Please comment on the strengths and limitations of the available studies to inform the
association between glyphosate and solid tumors, leukemia, and Hodgkin’s lymphoma and
the agency’s conclusion regarding these cancer types described in Section 3.6.

Panel Response

      Panel members agreed that based on the evidence presented in the Issue Paper (EPA,
2016a), Tables 3.3 and 3.4, there is essentially no statistical evidence of an association between
glyphosate exposure and any solid tumor, or between glyphosate exposure and leukemia or
Hodgkin’s lymphoma, even if the possibility that some of the studies reviewed were subject to
potential biases is ignored (such as recall or measurement error bias). However, some Panel
members commented that there were a limited number of available studies to be evaluated in this
section and, for some cancer types (e.g., lung, colorectal, breast cancers, etc.), there was only one
study available. Therefore, the availability of epidemiologic data is still extremely limited and
prevents more in depth discussion of those associations. Additionally, the Panel noted that at the
beginning of Section 3.6 (page 63), the Agency mentions one of the 24 epidemiological studies
included in the evaluation is uninformative. The Panel requested that the Agency list which study
was excluded from the final discussion and conclusion.

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      Importantly, some Panel members suggested the following points for consideration
generally in the reviews of epidemiologic studies: 1) the summaries of all listed relevant studies
(Table 3.3) should be expanded to consider topics such as timing of cases and exposure
assessment with respect to the registration of glyphosate as well as more details on the exposure
assessment; 2) the dose-response summaries should call out comparisons where the referent
group was exposed (i.e., the referents were the lowest dose subgroup in the exposed group) or
whether there were any exposure lags considered in the analysis; 3) reporting should note the
range of risk estimates, as quantified by the range of the CI, and for null effects, including both
protective effects and elevated risks, in order to indicate the range of effects consistent with the
data; and 4) the discussion should address the conclusions that can be drawn from negative
studies. Regarding the last point, Breslow and Day (1987) includes an extensive discussion of the
conclusions that can be drawn from negative results in cohort studies. They mention computing
confidence limits on estimated excess risk, comparison of the dose levels observed in the study
vs. other population exposures, the ability for the risk to have been fully expressed with regard to
the time elapsed, the overall risk of the current cohort, and the consistency with other studies.

      In summary, the Panel agrees with the Agency’s conclusion that there is no evidence of an
association between glyphosate exposure and solid tumors, and, there is no evidence of
associations between glyphosate exposure and leukemia or Hodgkin’s lymphoma. However, the
data upon which this evidence is based are very sparse.

c. Please comment on the strengths and limitations of the available studies to inform the
association between glyphosate and multiple myeloma. Please comment on the agency’s
conclusion as described in Section 3.6

Panel Response

      The Panel believes there are 4, not 5, studies on multiple myeloma (MM), since Pahwa
(2012) and Kachuri (2013) are a re-analysis of the same data set; three case-control and 1 cohort,
with a total of 67 exposed cases.

      None of the case-control studies report a significant association between MM and
glyphosate exposure. None of the case-control studies on MM adjusts for exposure to other
pesticides, nor to other aspects of farming that may contribute to risk of developing MM. In
addition, Brown et al. (1993) excludes farming cases and controls from the “unexposed”
category, which may have introduced selection bias.

      De Roos et al. (2005) reports a non-significant suggestion of an exposure-response
relationship with regard to glyphosate and MM (P-value = 0.17 for trend with cumulative
exposure, based on 19 cases of MM). The Panel agreed with EPA that the imprecision of the risk
estimates based on such small numbers of MM cases precludes definitive interpretation. The
Panel noted that an updated follow up of this cohort of pesticide-applicators is needed, and is
hopefully forthcoming. A Panelist also notes that a reanalysis of the MM data from this study
was published subsequent to the EPA document which found that an analysis of the full data set
that adjusts for lifestyle factors and exposure to other pesticides produces a reduced OR (1.24,
95% CI: 0.52 to 2.94) over the similar analysis in De Roos et al. based on a reduced data set (OR


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= 2.6, 95% CI 0.7 to 9.4), and that removal of adjustment for other pesticides has little effect
(Sorahan, 2015).

     The Panel agrees with EPA that available studies do not link glyphosate exposure to MM.
The Panel notes that a meta-analysis (Chang and Delzell 2016) was published subsequently to
the EPA document, and the meta-estimate of the relative risk for the association between MM
and glyphosate was 1.4 (with 95% CI of 1.0-1.9).

d. Please comment on the strengths and limitations of the available studies to inform the
association between glyphosate and non-Hodgkin’s lymphoma (NHL). Please comment on
the agency’s conclusion as described in Section 3.6.

Panel Response

     In the Issue Paper (EPA 2016a; Section 3.6, page 68), EPA states:

      “Based on the weight-of-evidence, the agency cannot exclude chance and/or bias as an
explanation for observed associations in the database. Due to study limitations and contradictory
results across studies of at least equal quality, a conclusion regarding the association between
glyphosate exposure and risk of NHL cannot be determined based on the available data. The
agency will continue to monitor the literature for studies and any updates to the AHS will be
considered when available.”

      Based on the six primary studies and three meta-analyses reviewed by the Agency (EPA
2016a), Panel members discussed the strengths and limitations of the available epidemiological
data. Some panelists noted that the data were limited by the very low exposures received by
study subjects.

      The Panel could not reach consensus regarding the Agency’s conclusion: some of the
Panelists agreed with the Agency and others did not. The disagreement among the Panel
members is largely due to their different opinions regarding the relative importance they ascribed
to potential biases and other challenges with epidemiological studies that could have affected the
reported results, as discussed below. Some stressed that NHL in farmers is uniquely difficult to
study epidemiologically, given its long-recognized excess apparently due to factors unrelated to
glyphosate. This is why the absence of epidemiologic data on glyphosate manufacturers or others
who are, (i) not farmers and (ii) likely to be more highly exposed to glyphosate, would be highly
desirable, but is apparently absent.

      The Panel’s detailed response to this question is organized into three sections: Are all
original studies selected and rated acceptably? Are the findings from the epidemiological studies
described accurately? and Comments on the Agency’s Conclusion.

     Are all original studies selected and rated acceptably?

     The EPA (2016a) identified six epidemiological studies reporting an association between
glyphosate exposure and NHL: five retrospective case-control studies and one prospective cohort
study. The EPA applied several criteria (Table 3.1) to rate those studies and assigned two of


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them (De Roos et al, 2005 and Eriksson et al, 2008) high quality ratings and the remaining four,
moderate quality ratings.

     Prospective Cohort Study

      De Roos et al. 2005 (reporting on results of the Agricultural Health Study, AHS) is the only
prospective cohort study, and it received a high rating from the Agency. This study reports on 92
cases of NHL. The relative risk (RR) reported for ever-never exposure adjusted for age,
demographic and lifestyle factors, and other pesticides is 1.1 (0.7–1.9). Thus, while there is no
evidence of an association in the results from this study, the results are consistent with both a
protective effect and an increased risk. There are several challenges with the use of and
interpretation of the AHS findings. These include the role of bias, the cohort selection process,
the impact of missing data on the results, and the exposure assessment. Even though this cohort
was of pesticide applicators, their likely doses of glyphosate were very small, leading to reduced
confidence that the results are reflective of glyphosate per se, as opposed to myriad other farm-
related factors, several of which are known or suspected to be risk factors for NHL.

     Impact of Statistical Bias and Missing Data on the Results

      DeRoos et al. (2005) used 8 degrees of freedom to adjust for demographic and lifestyle
factors for all outcomes. Because the authors did not find evidence of confounding by other
pesticides, they did not have an additional 15 degrees of freedom to adjust for other pesticides in
their NHL analyses as in their reported MM results. As noted above, there are 92 NHL cases
reported in this study prior to exclusions in the adjusted analysis. Thus the risk of statistical bias
due to a small number of responses and a large number of parameters in the analysis model is not
as strong for NHL as discussed elsewhere for MM. This consideration is based on the
Framework for Incorporating Human Epidemiologic & Incident Data in Health Risk Assessment
(US EPA 2010) that describes statistical bias as going in either direction from models with a
large number of parameters and a small sample size (i.e. number of events). Furthermore, it is
not known how findings are affected by dropping some cohort members because of missing
observations in the adjusted analyses that includes NHL cases in the ever-exposed group.
Combining information from Tables 2 and 3 in De Roos, (2005), the Panel noted that it appears
10 exposed cases were dropped from the adjusted analysis (from 71 ever-exposed NHL cases in
Table 2 to 61 in Table 3). Some Panel members suggested that a reanalysis be conducted of the
full NHL data (i.e. that does not drop cohort members) from De Roos et al. 2005, similar to that
conducted by Sorahan 2015 of the MM data from De Roos et al. (2005).

     Cohort Selection, Composition, and Follow-Up

      The Panel also discussed a concern that the “cross-sectional” enrollment of workers in the
AHS could be problematic because it could introduce a survival bias that could bias risk
estimates toward the null. This is because pesticide applicators were recruited after their
exposure had started and those already diagnosed with cancer were excluded in this prospective
study. Another concern is that farmers are known to be at increased baseline risk for NHL. These
individuals could be in the reference group in the De Roos et al. (2005) analysis and also
exposed to other pesticides, another factor that could increase their baseline risk. The pesticide
applicators in the reference group for the glyphosate cohort were most likely exposed to other

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pesticides and factors associated with NHL. Thus, even though they addressed adjustment for
other pesticides with 15 parameters in their modeling approach, some Panelists thought De Roos
et al, (2005) could have underestimated the NHL risk in the ever/never analysis. Some Panel
members were concerned that this cohort was followed for an insufficient period of time, and all
noted that an updated analysis with additional years of follow up would be informative.

     Exposure Assessment

      Exposure assessment in the AHS analysis is based on lifetime self-reported pesticide use at
baseline, although under- or over-reporting of past exposure is still possible. Using self-
administered questionnaires, investigators collected comprehensive use on 22 pesticides and
ever/never information on 28 more (De Roos et al., 2005). While the accuracy of self-
administered questionnaires relies on individual recall and thorough reporting by respondents,
questionnaires are the only feasible tool for exposure assessment in a large cohort such as the
AHS. All analyses used one of three exposure metrics: ever/never use, cumulative lifetime use,
and intensity-weighted cumulative exposure measured at the time the participant was enrolled in
the study. No additional pesticide use is measured after baseline or at any other time during the
median of 6.7 years the AHS cohort is followed after enrollment. This poses a challenge to
interpretation of the AHS results, if pesticide use varied over time for individual study subjects.
The bias introduced by omitting recent exposures is likely to be particularly problematic for the
analyses based on cumulative exposure. This omitted exposure bias was only in the direction of
under-reporting exposure in the analysis. In other words, many individuals would have been
classified in a lower exposure group (including the unexposed group) than was appropriate.
These uncertainties can have an important impact on all the dose-response analyses results. Since
an exposure lag is typically thought to be appropriate to account for the latency in cancer risk,
some Panelists were less concerned about this omission. When exposure lag is taken into
account, any exposures within a certain number of years (the lag) before cancer is documented
are assumed not to affect cancer risk, where this lag is fixed (and not variable by participant as in
the case for the omitted exposure after baseline in the AHS). Although the latency for NHL is
unknown, typical exposure lags to account for latency in cancer studies are approximately five
years or longer. (See further discussion in the next subsection.)

       Furthermore, the Panel noted that the reference group for the dose-response analyses
reported in the tables is the lowest tertile of the exposed subgroup, not the more traditional
reference being the never-exposed group. De Roos et al (2005) chose to use the lowest exposed
tertile in the dose-response analyses in an effort to reduce the potential for residual confounding
due to the lack of comparability observed between the never exposed and higher exposed groups.
De Roos et al. also conducted analyses using the unexposed group as the reference, and stated
that “available data provided evidence of no association between glyphosate exposure and NHL
incidence. This conclusion was consistent across analyses using the different exposure metrics
and in analyses using either never exposed or low exposed as the referent.”

     Latency

     In cancer studies, concern about latency (or more accurately, empirical induction as defined
by Rothman, 1981) is the time between exposure (or the causal action) and the time of disease
diagnosis. Panelists had different opinions about the importance of considerations of latency in

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interpreting epidemiology results. For instance, Portier et al. (2016) stated that the follow-up
period in De Roos et al. (2005; median = 6.7 years) is not long enough to account for cancer
latency and this concern was affirmed by some Panelists who indicated that the median
observation period of 6.7 years is too short for a sufficient number of cancer events to develop.
(Note that the analysis included only incident cases.) One Panel member pointed out that the
exposures in this cohort study reflect the entire exposure of the participants throughout their lives
up to the time of their enrollment, and consequently these exposures reflect their total lifetime
exposure to glyphosate, except for the additional exposure which occurred between enrollment
and the follow-up time used in the analysis. Thus, the time between first exposure and the
occurrence of NHL is longer than the follow-up period of 6.7 years for most participants. The
Issue Paper (EPA 2016a, Section 3.6, page 67) cited the mean and median exposure durations of
7.5 and 8 years at the time of enrollment, respectively, with a standard deviation of 5.3 years.
This inference suggests an exposure duration range of 0-18 years at the time of enrollment, with
a higher density of exposures being relatively short (because the mean is smaller than the
median). Similarly, counting from the 1974 introduction of glyphosate, the potential latency up
to enrollment is 20 years. One Panelist noted that another AHS study (Koutros et al, 2013)
indicated that the information on both the amount of exposure per year and the years of exposure
was collected by AHS so it would be possible to estimate the time of the initial exposure for all
participants. Panelists also noted the evidence presented by Weisenburger (1992) who stated that
while median latency for NHL is 5-6 years for high exposures to chemotherapy or radiation, it is
expected to be much longer for lower exposures. That paper goes on to state that a median range
of 15-20 year latency is plausible for lower chronic exposures. Thus, while some AHS
participants would have had exposure durations sufficiently long for a NHL diagnosis to
manifest, many were much shorter than the median of 15-20 years.

      Additionally, one study by Eriksson et al, 2008 that evaluated the latency effect indicated
an increase in NHL risk is related to a longer latency period. This study reports that for latency
periods less than 10 years, the NHL odds ratio (OR) = 1.11 (95% CI: 0.24-5.08); and, for latency
periods more than 10 years, the OR is increased to 2.26 (95% CI: 1.16-4.40). Hardell et al.
(2002) reported an increased risk of NHL for a 10-20 year latency period (called induction
period in their paper) of 2.32 (95% CI: 1.04-5.16). Longer induction periods also show evidence
of increased risk and are relatively stable over time (OR 1.63, 95% CI: 0.87-2.98 for >20-30
year; 1.70, 95% CI: 1.12-2.58 for >30 year).

      Despite the limitations of the De Roos et al. (2005) study discussed by the Panel and
agreed upon by most, some Panel members consider this study to be the best of the available
epidemiology studies. Panelists who considered the other studies weaker did so based mainly on
their opinion that retrospective case-control studies are subject to recall bias. Some Panel
members suggested this study should be downgraded from a high to a moderate quality rating or
that all the studies should receive the same acceptable quality rating. All Panel members agreed
that an update from this cohort study would be most welcomed, now that considerably more
person-years have accumulated.

     Case-Control Studies

     The remaining five studies are all retrospective case-control studies (De Roos et al. 2003,
Eriksson et al. 2008, Hardell et al. 2002, McDuffie et al. 2001 and Orsi et al. 2009). Most of the

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case-control studies (4 out of 5) are rated moderate quality, with the exception of Eriksson, et al.
(2008) that is assigned a high quality rating. Some Panelists argued for a single acceptable rating
for all studies. One Panel member questioned whether the Eriksson et al. (2008) study should be
given the high rating based on the lack of adjustment for demographic characteristics other than
gender and age, and the likelihood of a recall or selection bias. The Panel discussed the Cocco et
al. (2013) report on a European multi-center case-control study, to which the EPA assigned a low
quality rating and as a result excluded it from consideration in its final evaluation. This study
examines associations with the major NHL cellular subtype (B-cell), using confirmation of
diagnosis by pathologists. Some Panel members suggested that this study should be included in
the NHL evaluation in Table 3.4 (page 61) and its rating be upgraded to moderate (if not high) or
“acceptable” quality.

      Some Panelists, in view of the evidence cited earlier in response to charge question 2a,
considered that each of these case-control studies likely suffered from recall bias, which would
tend to bias the ORs in the direction of falsely indicating an effect. This is particularly true of
McDuffie et al. 2001, Hardell et al. 2002 and Eriksson et al. 2008, which eliminated subjects
exposed to certain classes of pesticides from their unexposed groups, a procedure that will, as
explained earlier, exacerbate the effect of any recall bias that may be present.

       Based on the same study population as McDuffie et al. (2001), Hohenadel et al. (2011)
updated the previous study, corrected four misclassified NHL cases, and reported associations
with use of glyphosate with or without malathion. The Panel noted that EPA (2016a) did not
include or rate the Hohenadel et al. (2011) study, stating that “This study was not included in the
study quality ranking because a more complete analysis was conducted by McDuffie et al.
(2001)” in Table 3.2 (page 38). The Panel suggests that EPA should discuss the more complete
analysis done in the earlier study and describe in detail how the Agency prioritized the McDuffie
et al. (2001) study over the Hohenadel et al. (2011) study. However, a recently conducted meta-
analysis by Chang and Delzell (2016) reported that meta-RRs of NHL, regardless of whether
they were calculated by including McDuffie et al. (2001) or Hohenadel et al. (2011), were
essentially the same with a statistically significantly positive association with glyphosate
exposure (meta-RRs=1.3 or 1.4, 95% CI: 1.00-1.6 or 1.00-1.8 from Models 2 or 4).

     Additional considerations of case-control studies that apply to this topic, particularly
concerns about recall and selection biases, are discussed in response to Charge Question 2a
above.

     Are the findings from the epidemiological studies described accurately?

      EPA (2016a) summarized adjusted effect estimates (RR or OR and 95% CI) obtained from
six selected epidemiological studies for NHL in Table 3.4 (pages 61-62). Most of the Panel
members agreed that the summary data in this table are informative and were presented
reasonably accurately and that the data from the ever/never exposure category were repeated in
Figure 3.2 (page 64). However, some important findings are missing in the EPA Report. For
example, De Roos et al. (2003) reported an overall effect estimate (OR=2.1, 95% CI=1.1-4.0) for
the association between glyphosate exposure and NHL in the standard logistic regression
analysis, but the Table 3.4 and Figure 3.2 only showed the results (OR=1.6, 95% CI: 0.90-2.8)
from an alternative hierarchical regression analysis. Both these analyses were adjusted for co-

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exposure to other pesticides but the hierarchical analysis introduced a prior distribution so the
analysis shrunk the estimates towards the overall mean of all other estimates. Several Panel
members believed that EPA should not use the hierarchical model estimate in Figure 3.2 (and
Table 3.4) for De Roos et al. 2003 but, rather, the standard logistic regression estimate because
the standard logistic model estimate is more comparable to the estimates reported by all the other
studies.

       Some Panelists commented on several incorrect or misleading statements in the discussion
of NHL studies in section 3.5.2 (pages 55-58). For example, the EPA states for the De Roos et al.
2005 study (page 56): “study participants provided exposure information prior to enrollment and
this information was incorporated into the cumulative lifetime and intensity-weighted cumulative
exposure metrics. As a result, the amount of time exposed was longer than just the follow-up
time since enrollment.” As noted previously, this methodology for reconstructing past exposure
is non-optimal for this specific study design, which involved subjects who registered as pesticide
users. The procedure of recruiting the cohort from current pesticide applicators and then
reconstructing their past exposure introduces “survival bias,” since only those who were alive
and free of NHL at the time of enrollment had a chance to enter the prospective study. If
glyphosate exposure causes NHL, this approach to enrollment would have selectively excluded
NHL cases. For Hardell et al. (2002; page 57), EPA states: “The wide range of the CI suggests
that the analysis is underpowered.” The study is statistically significant, and once a study is
complete, all the information about power is contained in the effect estimate confidence interval.
Some Panelists suggest EPA instead note that the number of exposed cases was small. For
McDuffie et al. 2001, at the end of page 57, EPA states: “It would be expected that effect
estimates would attenuate if control for co-exposure to other pesticides had been performed.”
Several Panelists did not agree with this statement; one cannot say what would happen by
adjusting for other pesticides since we do not know if their combined effects are additive,
multiplicative, or antagonistic, whether the agent is a promoter, and through what mechanisms
these compounds act. Regarding the discussion of Orsi (2009; page 58), EPA concludes: “there
is potential for selection bias given the study utilized hospital-based controls”. Some Panelists
questioned why this indicates selection bias. Panelists also requested that, in general, EPA use
the term “adjust” instead of “control.”

      Several Panelists believed that the discussion about changes in risk over time with
increasing use of glyphosate (pages 66-67) is also imprecise and potentially misleading.
Similarly, the Issue Paper makes claims about magnitudes of risk estimates for studies in
countries with higher use that imply a level of understanding about the information used in the
various studies, and the basis for the risk estimates, that is not supported by the information in
the document or the original papers. Usage estimates only account for trends in sales, and not
trends in the more relevant metric of pounds per worker per year, a quantity that is not known. In
terms of incidence, there is only one study from which incidence could be determined, and it is
De Roos et al. 2005. Therefore, the comparison of temporal trends in glyphosate usage (sales)
with estimated effect estimates is potentially misleading and is not informative for judging the
adequacy of the reported NHL results.

      Thus, some Panel members recommended: 1) adding the missing positive data in the Table
3.4; 2) correcting the imprecise or misleading statements indicated above; and, 3) providing a


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more balanced discussion of the NHL findings in EPA’s Section 3.6 (pages 63-69) as discussed
below.

      Exposure-Response Relationship

       The data from the forest plot of effect estimates shown in Figure 3.2 (page 64) indicated
that the estimates of NHL risks from ever/never exposure to glyphosate in all epidemiological
studies, except Orsi et al. 2009 (OR=1.0, 95% CI=0.5–2.2), were above one (RRs or ORs =
1.10–1.85), though none of the estimates that were included were statistically significant (all
95% CI lower bounds were less than 1.00; see the note above about using the standard logistic
regression estimate from De Roos et al. (2003) in place of the hierarchical one included). The
Panelists had different perspectives on the interpretation of this observation:

         1) Since most of these studies (5 out of 6) were case-control studies, residual bias,
            including recall bias and other possible biases (such as selection bias, measurement
            error bias, information bias, and any other uncontrolled/unknown confounders, etc.)
            could each or in combination be operative in some of them. The EPA (2016a) has
            detailed the “Risk of Bias” (in 3.2.6, page 29-30) and provided a list of possible
            biases in the study design summary table (Table 3.2, page 34-43). Based on a
            weight-of-evidence, the agency concluded that it cannot exclude chance and/or bias
            as an explanation for observed associations in the database. Some Panel members
            supported this explanation. Other Panelists believed that in spite of the potential for
            residual bias in all epidemiological studies and notably in case-control studies, the
            meta-analysis results (detailed below) are a useful summary of the findings as a
            whole from the six studies of NHL. Meta-analysis is a common approach of
            distilling the evidence when only a small number of studies, each with limited
            statistical power, is available.

         2) Some Panel members observed that if the association of glyphosate exposure and
            NHL did not exist, there should not have been any dose-response relationship
            detected in any studies by any means. In fact, two studies (Eriksson et al., 2008 and
            McDuffie et al., 2001) reported an increased risk estimate with increased
            glyphosate exposure, which is discussed below.

         3) In addition, some Panel members observed that, due to a small sample size and/or a
            limited number of NHL cases identified in each of these studies, individual studies
            had limited statistical power to detect the association even if it existed. In this case,
            meta-analysis, combining all of those studies into one analysis to increase statistical
            power, could be the best method to test this scenario, which is also discussed below.

      Potential Biases

       As is described at length in the response to charge question 2a, one Panel member detailed
the potential risk for recall and other biases and believes that in general, the NHL case-control
studies in this review are likely tainted by recall bias, particularly, Eriksson et al. (2008), Hardell
et al. (2002) and McDuffie et al. (2001). These three studies are singled out because in their
analyses both cases and controls who had been exposed to other pesticides from their glyphosate-

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unexposed groups are dropped and this may account for the positive associations seen in these
studies. This convinced some Panelists that these case-control studies should not be relied upon
for evaluating the carcinogenicity of glyphosate, in spite of them receiving an acceptable quality
rating. These Panelists recommended that EPA have the data from these three studies reanalyzed
using an appropriate methodology before giving any credence to the results from these studies.
Other Panel members were concerned that appropriate data for evaluating whether recall bias
was an important factor in any study was not available, and therefore its importance cannot be
reliably assessed, and suggested the Panel should not put too much weight on it, and that the
Panel should not limit its reanalysis recommendation to a subset of studies. Furthermore, as
noted by Panelists and discussed by DeRoos et al. (2005), the results of the study by Blair and
Zahm (1993) suggest that there is no evidence of recall bias with respect to pesticide use by
farmers. On the contrary, even though no single study could provide sufficient evidence of an
absence of recall bias in case-control studies of pesticide exposures, one Panelist presented an
analysis of data from Blair and Zahm that indicated statistically significant evidence suggestive
of recall bias, in part because the exposure effects of interest were stronger and statistically
significant when respondents were probed by interviewers. This claim was contradicted by a
follow-up analysis by another Panelist who showed that the proportions of cases and controls
who improved their recall was identical. This Panelist also noted that the observed findings
would be expected if the extra information attributed to recall bias above could actually be a
reduction of measurement error. Further discussion of recall bias is provided in the response to
charge question 2a.

      Another Panelist noted the challenge of statistical bias is present in many of these studies
because there are a large number of parameters used to adjust for potential confounding in many
of the studies, thus inflating the uncertainty of the effect estimates of interest and resulting in
realized bias of estimates in either direction.

      To possibly prevent or limit some of these recall and/or selection biases in case-control
studies, another Panel member suggested that if the 'unexposed' category was defined for both
cases and controls as not exposed to any pesticide, a true baseline reference could be created for
the calculation of the NHL risk with exposure to glyphosate versus non-exposure. Thus, there
should be no bias in this approach, since the criterion was applied to both cases and controls.
This approach would avoid a higher risk of NHL among the unexposed due to other concurrent
exposures that could potentially cause NHL. However, another Panel member pointed out that
any recall bias present will be exacerbated by eliminating cases and controls from the unexposed
group, because, if recall bias is present, removing cases and controls from the unexposed group
will preferentially remove cases over controls. This topic was also noted above and discussed at
length in the response to charge question 2a.

      Other limitations in the five case-control studies noted by EPA (2016a) include: not
adjusting for co-exposure to other pesticides (McDuffie et al. 2001 and Orsi et al. 2009), not
adjusting for demographic information (Eriksson et al. 2008, Hardell et al. 2002), the potential
for selection bias due to exclusion of observations with missing covariate data (De Roos et al.
2003), and selecting controls from a hospital population (Orsi et al. 2009).




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     Dose-Response

       Among all epidemiological studies, three of six were able to break down exposure into
different levels. De Roos et al. (2005) assessed cumulative exposure days and intensity-weighted
cumulative exposure days by tertile cut points and this approach did not demonstrate any dose-
response relationship between glyphosate exposure and NHL. This study used exposure assessed
at enrollment only, and the reference group was the lowest exposed group, as determined from
participants’ self-reported questionnaire responses at baseline. However, two other studies by
Eriksson et al., 2008 and McDuffie et al., 2001 did detect a dose-response relationship. Eriksson
et al., 2008 reported that for total glyphosate exposure less than 10 days per year, the NHL OR
was 1.69 (95% CI: 0.70-4.07); and, for the total exposure more than 10 days per year, the OR
was increased to 2.36 (95% CI: 1.04-5.37), indicating a statistically significant positive
association. Similarly, McDuffie et al., 2001 reported the NHL OR was increased from 1 (95%
CI: 0.63-1.57) for the use of glyphosate 1 to 2 days per year to 2.12 (95% CI: 1.20-3.73) for the
use of glyphosate more than 2 days per year. The same study also found a marginally increased
risk of NHL of 1.22 (95% CI: 0.96-1.55) due to higher intensity of any pesticide exposure for
more than 10 hours per year versus less.

      Despite the evidence of a statistically significant dose-response relationship in both studies
(Eriksson et al., 2008 and McDuffie et al., 2001), one Panel member considered that these results
should be discounted in view of the potential for bias in these case-control studies and other
limitations that were previously discussed. However, other Panelists considered that in case-
control studies, a dose-response analysis would be the only way to look at changes (i.e., increase)
in individual exposure, even if few human studies have this information. Thus, those Panelists
believed that the statistically significant dose-responses were important findings, which not only
indicated but also further confirmed the exposure-response relationship and which could not and
should not be simply discarded or left undiscussed. Furthermore, some Panelists noted that the
exposure quantification and dose-response analyses in De Roos et al. (2005) were biased. In
particular, this study systematically undercounted cumulative exposure (because exposure almost
certainly continued in this population after baseline, but it was not incorporated into the
cumulative exposure metrics) and, unlike the studies to which it was compared, the referent
group for this analysis was exposed (at the lowest exposure level; vs. unexposed in the other
analyses). Thus, the Panel recommended that EPA (2016a) should at least mention and discuss
the importance of dose-response findings in addition to just listing those data in Table 3.4 (pages
61-62).

      Finally, as described above, the EPA’s claim of an apparent lack of temporal concordance
in the risk estimates with glyphosate usage patterns, as discussed on pages 66-67 and again on
page 129 of the Issue Paper, could be questioned based on the evidence available. See additional
discussion of this topic in the third paragraph of the section “Are the findings from the
epidemiological studies described accurately?”

     Meta-Analyses

       The EPA (2016a) Issue Paper accurately identified three meta-analyses conducted, so far,
for the association of glyphosate exposure and NHL, and, all three obtained similar and
statistically significant positive results. Schinasi and Leon (2014) reported a meta-effect estimate

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of 1.5 (95% CI: 1.1, 2.0) in addition to a positive association between glyphosate exposure and
B-cell lymphoma (RR=2.0, 95% CI: 1.1, 3.6), a major subtype (85-90%) of NHL. 1 IARC (2015)
modified this analysis by including more fully adjusted effect estimates from Hardell et al.
(2002) and Eriksson et al. (2008), and obtained a meta-effect estimate of 1.3 (95% CI: 1.03,
1.65). Using the standard logistic regression results (RR=2.1, 95% CI: 1.1-4.0) from the De Roos
et al. (2003) study, Chang and Delzell (2016) obtained a meta-effect estimate of 1.3 (95% CI:
1.0, 1.6) in their model 2 and 1.4 (95% CI: 1.0, 1.8) from their model 4. While the same six
epidemiological studies as the EPA (2016a) evaluated were included in the model 2, McDuffie et
al. (2001) was replaced by Hohenadel et al. (2011) in model 4 of the meta-analysis. Similarly,
McDuffie et al. (2001) in model 1 (meta-RR = 1.3, 95% CI = 1.0-1.6) was also replaced by
Hohenadel et al. (2011) in the model 3 (meta-RR = 1.3, 95% CI = 1.0-1.7), but Chang and
Delzell (2016) used the alternative hierarchical regression data from De Roos et al. (2003) in
their models 1 and 3.

      Although the selection of studies included and the criteria for the selection varied across
the reported meta-analyses, the data used all originated from the same six studies reviewed by
EPA (2016a). To clearly document this point and to precisely display individual studies and
specific effect estimates selected in the three meta-analyses, a member of the Panel developed
the overview table below (Table 1) to compare the meta-analysis findings with the data included
in the EPA 2016a Issue Paper (Figure 3.2, page 64). After taking a close look at Table 1, the
Panel realized that the EPA data shown in Figure 3.2 of the Issue Paper (EPA, 2016a) were the
same as the data from model 1, shown in Figure 1 of Chang and Delzell (2016) in which the
results from the alternative hierarchical regression in the De Roos 2003 study were used. Thus,
the meta-effect estimate of 1.27 (95% CI: 1.01, 1.59) shown in Table 1, from the model 1 could
be added to Figure 3.2 (page 64), and the Issue Paper (EPA, 2016a) should describe this clearly.

       Additionally, some members of the Panel noted that the meta-risk estimates and 95% CI in
all four models reported in Chang and Delzell (2016) were reported to one decimal place,
particularly all the lower 95% CI equal to 1.0, while some of the original studies used two
decimals. Therefore, one Panel member re-analyzed the data from the six original studies and
updated those meta-risk estimates and 95% CIs to show two decimal places in Table 1.
Evidently, three of the four lower 95% CIs shown are more than 1.0 (Table 1). Thus, these three
models from Chang and Delzell (2016), in addition to the two other meta-analyses (Schinasi,
2014 and IARC, 2015), showed a statistically significant positive association of glyphosate
exposure and increased NHL risk. However, the EPA Issue Paper (2016a) mistakenly concluded
(Page 64, Line 3): “All meta-analysis estimates reported were non-statistically significant except
the meta-risk ratio reported by IARC (2015), ….” In fact, all three meta-analyses show
statistically significant meta-RRs with the lower CI >1.00 (except model 3 in Chang and Delzell,
2016). Some panelists suggested that EPA make this correction and consider adding a new Table
similar to the Panel’s Table 1 to document meta-risk estimate data from all meta-analyses,
including the three published ones and possibly the EPA’s own meta-analysis as suggested
below. The new table will ideally show two decimals for all CIs and clearly present which



1
 See: https://www.cancer.org/cancer/non-hodgkin-lymphoma/about/types-of-non-hodgkin-lymphoma.html and/or
https://www.seattlecca.org/diseases/non-hodgkins-lymphoma/non-hodgkins-lymphoma-facts/types/b-cell-subtypes.

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studies were selected and what conditions each of those meta-analyses included (e.g. study
selection criteria and assumptions).

       The data presented in Figure 3.2, though only based on the ever/never exposure category,
showed individual RRs of 1.00–1.85, all with the lower bound of their 95% CIs < 1.00. The
Panel observed that in this case, meta-analysis is the best tool to summarize the findings because
it, conceptually, uses a statistical approach to combine the results from multiple studies in an
effort to increase power (over individual studies), improve estimates of the size of the effect
and/or to resolve uncertainty when reports disagree. From multiple sensitivity analyses, all meta-
analysis results point to a statistically significant association with the increased risks from 30-
50% (meta-RRs=1.3–1.5) for ever exposure to glyphosate. In addition, the meta-analyses
consistently show lack of heterogeneity, which speaks for a more robust and credible summary
estimate. Some Panelists also suggested that EPA’s post hoc approach of dividing the studies
into the three with higher risks (1.5–1.85) and the three with lower risks (1.00–1.20), in order to
argue that the results were contradictory, was not good statistical practice. Meta-analysis is the
tool to use to summarize the six study results, particularly in this case where the I2 statistic
indicated low heterogeneity between studies (page 58). The Panel also recommended adding the
advantages and reasons of performing meta-analysis in the Issue Paper.

      Additionally, some Panel members encouraged EPA to conduct its own meta-analysis and
add its meta-RR into the Figure 3.2 forest plot (page 64) for comparison with other published
meta-analyses; but other panelists stressed that, since the results from the underlying studies are
likely biased high, any meta-statistics would be unreliable. Other Panel members suggested that
EPA should conduct a new meta-analysis including all case-control studies (n=5, or n=6 if
Cocco, 2013 is included) to prevent heterogeneity of study design and considering the following
inclusion criteria: 1) using standard logistic (but not hierarchical) regression; 2) adjusting for
other pesticides if available; 3) using the highest exposure dose possible; and 4) using the longest
exposure duration possible. The results from this suggested meta-analysis will better address
whether or not the exposure to glyphosate in humans, at the highest level and sufficient duration,
would increase the NHL risk.




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          Table 1: Overview of three meta-analyses of glyphosate exposure and NHL, plus individual
             studies and effect estimates

                                                                                                   Chang & Delzell, 2016c
Studies               Schinasi, 2014      IARC, 2015                                                                                                                EPA, 2016d
                                                                  Model 1                Model 2                  Model 3                  Model 4
                      2.1 (1.1—
De Roos, 2003         4.0)a               2.1 (1.1—4.0)a          1.60 (0.90—2.80)       2.1 (1.1—4.0)a           1.60 (0.90—2.80)         2.1 (1.1 — 4.0)a         1.60 (0.90—2.80)
De Roos, 2005         1.1 (0.7—1.9)       1.1 (0.7—1.9)           1.10 (0.70—1.90)       1.10 (0.70—1.90)         1.10 (0.70—1.90)         1.10 (0.70—1.90)         1.10 (0.70—1.90)
                      2.0 (1.1—           1.51 (0.77—
Eriksson, 2008        3.7)b               2.94)                   1.51 (0.77—2.94)       1.51 (0.77—2.94)         1.51 (0.77—2.94)         1.51 (0.77—2.94)         1.51 (0.77—2.94)
                      3.0 (1.1—           1.85 (0.55—
Hardell, 2002         8.5)b               6.20)                   1.85 (0.55—6.20)       1.85 (0.55—6.20)         1.85 (0.55—6.20)         1.85 (0.55—6.20)         1.85 (0.55—6.20)
Orsi, 2009            1.0 (0.5—2.2)       1.0 (0.5—2.2)           1.00 (0.50—2.20)       1.00 (0.50—2.20)         1.00 (0.50—2.20)         1.00 (0.50—2.20)         1.00 (0.50—2.20)
McDuffie, 2001        1.2 (0.8— 1.7)      1.2 (0.8—1.7)           1.20 (0.83—1.74)       1.20 (0.83—1.74)                                                           1.20 (0.83—1.74)
Hohenadel, 2011                                                                                                   1.40 (0.62—3.15)         1.40 (0.62—3.15)
Meta-RR (95%                                                                                                                                                         Not yet
CI)                   1.5 (1.1—2.0)       1.3 (1.03—1.65)         1.27 (1.01—1.59)       1.30 (1.03—1.64)         1.32 (1.00—1.73)         1.37 (1.04—1.82)         estimated
          a
            Data presented as effect-estimate (95% CI), standard logistic regression results reported by De Roos, 2003.
          b
            Not adjusted for other pesticides.
          c
            Four meta-analyses conducted: Models 1 and 3 used hierarchical regression but Models 2 and 4 used standard logistic regression results from De Roos, 2003; and
          Models 1 and 2 included McDuffie 2001 but Models 3 and 4 replaced it with Hohenadel 2011.
          d
            Data presented in Figure 3.2 (page 64), used hierarchical regression in De Roos, 2003 but not indicating any meta-RR.


                Some Panel members noted, however, that reliance on the meta-analyses for NHL should
          be limited by the likelihood of residual confounding in the original studies. These members
          noted that NHL in particular has long been noted to be elevated in groups of farmers, including
          in studies pre-dating use of glyphosate. The unfortunate absence of any epidemiologic results
          from studies of glyphosate manufacturing workers or others who (i) are not farmers and (ii) were
          distinctly highly exposed to glyphosate renders any causal interpretation of weakly positive
          results from the available epidemiologic literature highly problematic. These Panel members also
          believe that the prospective cohort study of pesticide-applicators, although limited in several
          important respects, is nonetheless more reliable than the retrospective case-control studies.

                One Panel member noted that there is evidence (described in the response to charge
          question 2a) that all studies entering each meta-analysis in Table 1, except for the cohort study of
          De Roos et al. 2005, are affected by recall bias, which would tend to cause the ORs from these
          studies to be biased upward. Moreover, as explained in response to charge question 2a, the
          nonstandard analyses used in Eriksson et al. 2008, Hardell et al. 2003, and McDuffie et al. 2001
          would exacerbate the effect of any recall bias present. Each meta-analysis would be similarly
          biased, and therefore not reliable for evaluating the carcinogenicity of glyphosate.

                Other Panel members believed that since all the studies evaluated for NHL were of
          acceptable quality and three meta-analyses included by EPA show similar positive meta-RRs
          with uncertainties suggesting the risk estimates are above 1.0, the evidence from human data is
          suggestive of the carcinogenic potential of glyphosate. All potential biases described above are
          plausible, but not sufficient for them to disregard the meta-analyses findings. Thus, those Panel
          members conclude that there is suggestive evidence of a positive association between NHL and
          glyphosate exposure, which will be discussed below.




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     Interpretation and Discussion of Results

       Some members of the Panel felt that the discussion of the evidence supporting versus not
supporting the NHL findings in EPA (2016a) was highly imbalanced. Despite the fact that
evaluation of carcinogenicity in humans always relies on epidemiologic studies, with their own
strengths and weaknesses, the EPA’s overall discussion appeared to focus on weaknesses and
limitations of epidemiology in general as well as in each of the specific studies. It appeared to
some Panel members that the Agency did not provide any alternative perspective that the
evidence could be suggestive of an underlying effect of glyphosate on NHL. In particular, some
Panel members observed that EPA’s discussion of the evidence appeared to down-weight
statistical findings and up-weight non-statistical criteria. For instance, the discussion of the NHL
results uses a non-statistical criterion to classify post hoc the effect estimates into two groups
based on the size of their point estimate while simultaneously down-weighting the meta-analysis
results. Some Panel members felt that meta-analysis is the best tool available to summarize the
findings of studies considered to be acceptable by the Agency. Some members of the Panel
suggested that it is not good practice to do a post hoc division of studies based on effect
estimates and use this analysis to discount the evidence. They noted that if the studies are
sufficient to be evaluated, then it is most appropriate to use a meta-risk estimate as a summary of
the findings. Similarly, given the lack of heterogeneity between studies, and the meaningful
overlap in effect estimates across the six NHL studies, it would be inappropriate for EPA to
conclude that the studies produced contradictory findings, as was done on page 68.

      Some members of the Panel suggested that the Agency also did not appropriately interpret
the elevated risks in the context of exposure trends or appropriate understanding of what the
effect estimates mean. See the discussion of the Agency’s temporal concordance argument above
in the third paragraph of the section “Are the findings from the epidemiological studies described
accurately?”

     Comments on the Agency’s Conclusion

      Regarding the epidemiological studies, the EPA (2006) states (in Section 3.6, page 68):
“Based on the weight-of-evidence, the agency cannot exclude chance and/or bias as an
explanation for observed associations in the database. Due to study limitations and contradictory
results across studies of at least equal quality, a conclusion regarding the association between
glyphosate exposure and risk of NHL cannot be determined based on the available data. The
agency will continue to monitor the literature for studies and any updates to the AHS will be
considered when available.”

     Supporting the Conclusion

       Some Panel members supported the Agency’s conclusion above, although for somewhat
different reasons than provided by EPA, because they believe that all the significant findings
from three of five case-control studies and three meta-analyses were most likely a result of recall
bias and other potential biases and confounding. Furthermore, the only study not subject to recall
bias, the prospective cohort study (De Roos et al. 2005), did not show statistical evidence of a
positive association. Thus, they concurred “the association between glyphosate exposure and risk
of NHL cannot be determined based on the available data”.

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       Furthermore, some Panel members put heavy emphasis on the magnitude of the exposure
estimates. As these Panelists stressed, and as EPA itself estimated, these studies of glyphosate-
users are not really studies of glyphosate over-exposed workers. These panel members believe
this is a crucial point, and one more reason to doubt that the weakly positive NHL case-control
study results are indicative of any genuine biological response due to glyphosate (as opposed to
countless other factors associated with living or working on a farm). These Panelists noted that
farmers are not exposed to much more glyphosate than the general population. If the small doses
of glyphosate that farmers receive were really carcinogenic, then somehow glyphosate would
have to be on the order of 100,000 times more potent in humans than is suggested for mice and
rats.

     Disagreeing with the Conclusion

     Other Panel members disagreed with the Agency’s conclusion because they accept the
value and importance of the findings reported from multiple dose-response analyses and meta-
analyses based on the following points:

         1) While the majority of the individual studies are not statistically significant,
            combining the evidence using meta-analysis shows a scientifically important and
            statistically significant elevated NHL risk that is relevant for understanding
            carcinogenic potential. This is based on the lower bound of the meta-risk estimate
            95% CIs from all three meta-analyses being consistently greater than or equal to
            1.0.

         2) Despite the fact that a dose-response of an effect from a specific exposure in human
            studies can be difficult to detect, two case-control studies reported statistically
            significant dose-response relationships, which indicated an increased NHL risk
            estimate with increased exposure. These findings provide further suggestive
            evidence of the carcinogenic potential of glyphosate.

         3) The findings from the collection of NHL studies are not contradictory. In fact, the
            results are quite consistent and suggestive of a positive carcinogenic potential of
            glyphosate.

         4) Assessing potential bias is a challenge that makes the overall evidence base
            preliminary; overall the NHL result is suggestive of the carcinogenic potential of
            glyphosate.

     After reviewing all selected studies and the Agency’s Evaluation (EPA 2016a), the Panel
re-addressed the key question in this evaluation:

    Whether or not there is the potential of glyphosate-associated NHL risk in exposed
humans?

      Overall, some Panel members believed that there is limited but suggestive evidence of a
positive association between glyphosate exposure and risk of NHL from epidemiological studies.
Therefore, those Panelists concluded and recommended the Agency revise their conclusion to
use the following statement:

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      “Based on the weight-of-evidence from all available data that were abstracted from all
qualified human studies, the Agency cannot exclude the possibility of observed positive
associations between glyphosate exposure and risk of NHL suggesting human carcinogenic
potential of glyphosate even though study limitations and concerns about potential biases
remain.”

     Following the EPA (2005) Guidelines for Cancer Risk Assessment, the conclusion of
“Suggestive Evidence of Carcinogenic Potential” is considered by some Panel members to be the
most appropriate because of the descriptors listed to justify this conclusion. Three of the four
guideline examples of when this descriptor is appropriate include:

         x   If a small, and possibly not statistically significant, increase in tumor incidence
             observed in a single animal or human study does not reach the weight-of-evidence
             for the descriptor of “Likely to be Carcinogenic to Humans.

         x   The study generally would not be contradicted by other studies of equal quality in
             the same population group or experimental system.

         x   If there is evidence of a positive response in a study whose power, design, or
             conduct limits the ability to draw confident conclusions (but does not make the
             study fatally flawed), but where the carcinogenic potential is strengthened by other
             lines of evidence.

     Some Panel members recommended the following as ways to improve the Issue Paper’s
discussion of NHL risk:

         x   Reanalyze the data from all NHL studies using uniform selection and statistical
             analysis methods.

         x   Discuss the suggestive association of NHL risk and glyphosate exposure in humans,
             with the supporting evidence in mouse studies (the positive and monotonic trends of
             increased lymphomas reported in Wood 2009b, Sugimoto 1997, Knezevich and
             Hogan 1983 in female mice, as well as Kumar 2001 in male and female mice) and
             the recent findings on non-genotoxic mechanistic action (e.g. reported from Ford et
             al., 2017).

Charge Question 3

The agency has followed the 2005 EPA Guidelines for Carcinogen Risk Assessment to
evaluate laboratory animal carcinogenicity studies for glyphosate. As described in Sections
4.5 and 4.6, a total of 9 acceptable rat and 6 acceptable mouse carcinogenicity studies were
evaluated and considered in the weight-of-evidence analysis. Consistent with the 2005
Guidelines, this analysis took into consideration statistical evidence of a dose-response, the
occurrence of corroborating pre-neoplastic lesions or related non-neoplastic lesions to
support tumor findings, evidence of progression to malignancy, concurrent and historical
control information, and statistical and biological significance of increase tumor incidence,
as well as the reproducibility of tumor findings.

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a. Please comment on the agency’s review and evaluation process of relevant laboratory
animal carcinogenicity studies to inform the human carcinogenic potential of glyphosate.

Panel Response

       EPA analyzed data from a total of 15 bioassays in mice and rats, noting that many studies
showed no compound-related responses, while others showed responses that might or might not
reflect compound-related effects. Ultimately, EPA decided that none of the apparently
compound-related responses are in fact compound-related, but are instead either false positives
or positives only at exceedingly large dose-rates. In discounting these responses, EPA cited some
or all of the following factors: 1) lack of monotonically increasing dose-response; 2) absence of
pre-neoplastic lesions; 3) incidences in dosed-groups that were within the normal biological
variation for a particular tumor type; 4) incidences in the concurrent controls that were not
representative of the normal background incidences noted in the historical control animals; and
5) inconsistency in tumor-type-responses in replicate studies.

      Panel members disagreed among themselves with EPA’s review and evaluation of a total
of nine rat and six mice bioassays of glyphosate. In particular, some Panel members focused on
individual, statistically significant increases in tumor-responses within individual bioassays,
while others focused on the lack of consistency among these responses within the unusually large
dataset as a whole. Some Panelists noted that the appropriate approach to evaluate the evidence
provided by the collection of findings across multiple studies is to combine endpoint-specific
data or results (within gender and species) in pooled analyses, such as meta-analyses. Some
panelists suggested that adjustments for different study durations be incorporated in these pooled
analyses. It is important that endpoints, species, and genders not be combined in either pooled or
meta-analyses because 1) this violates the spirit of the guidelines and 2) the scientific interest is
whether there is any carcinogenic potential in any organ that is relevant to humans. All
acceptable studies for each outcome analyzed should be reported in the document.

      Given the large number of bioassays, the Panel suggested that the EPA Issue Paper might
benefit from a holistic presentation and discussion of each tumor-type that appeared to be
glyphosate-related in one or more bioassays. This would be consistent with current guidance to
use a weight-of-evidence approach to analyze and assimilate all relevant data. This approach
mandates use of professional judgment, and may well lead to different conclusions depending on
differing but equally well-justified decision rules.

      One Panel member considered the Agency’s approach for applying the 2005 Guidelines for
Carcinogen Risk Assessment to the assessment of the glyphosate rodent carcinogenicity data to
be flawed, and additional Panelists agreed with this perspective. This Panel member did not find
the statistical approaches employed to be consistent with evaluation methods used by other
authoritative bodies (e.g., the National Toxicology Program, because the analysis did not include
correction for survival) and concluded that at least some of the statistically-significant Cochran-
Armitage trend tests and unadjusted pairwise comparisons should be considered to be
compound-related (specifically ones that occurred with P-values of 0.01 or below).



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      Many Panel members concluded that the Agency’s discounting of statistically-significant
trends based on the idea that they were not monotonic was flawed. Regarding statistical evidence
of a dose-response, the EPA document discounted four positive tumor responses (tumors with a
significant Cochran-Armitage trend test), in part, because the tumor responses were considered
non-monotonic. The document discounted three additional positive tumor responses because the
dose response was considered shallow. However, the Panel noted that monotonic dose response
is not identified as a criterion for a positive rodent response in the EPA’s 2005 Guidelines for
Carcinogen Risk Assessment.

      One Panelist noted that it is not good practice to discount the highest dose in these studies,
the dose at or above the limit dose, as not relevant to humans. Toxicological studies are designed
to detect carcinogenic effects over a range of doses. Sufficiently high doses are needed in order
to ensure these studies will be sensitive to the effects of the study compound. The limit dose is
used as guidance for study design to determine the highest dose to be studied. This panelist
expressed the view that it is not acceptable to selectively discount doses studied in a hazard
assessment merely because they are at or above the limit dose. See further discussion of the use
of the limit dose in response to Charge Question 3f.

      The OECD Test Guidelines 451, 452, and 453 state, “Selection should make provision for
survival adjustments, if needed.” According to FDA’s Guidance for Industry Statistical Aspects
of the Design, Analysis, and Interpretation of Chronic Rodent Carcinogenicity Studies of
Pharmaceuticals, “the effects of differences in longevity on numbers of tumor-bearing animals
can be very substantial, and so, whether or not they (the effects) appear to be, they should
routinely be corrected when presenting experimental results.” OECD Guidance Document #116,
section 4 (page 17) refers to the Cochran-Armitage trend test and states, “Problems arise if there
are differences in mortality between the groups. The test is sensitive to increases in treatment
related lethality and this leads to an incorrect level of the Type I error (the risk of falsely
rejecting the null hypothesis).”

      The Glyphosate Issue Paper discusses the lack of reproducibility of significant tumor
findings across studies, but did not, in the opinion of many Panel members, provide sufficient
discussion of the technical and biological differences that make bioassays performed
internationally over a 36-year period unlikely to be true replicates. Also, the Glyphosate Issue
Paper does not clearly define the approach or criteria used to identify significant findings across
studies. Some Panel members noted a number of places where missing clear definitions/criteria
may be responsible for dismissal of significant increases in benign and malignant neoplasms as
not being compound-related. Specifically, these panelists noted:

     1. The decision to use historical controls did not seem to have been made a priori using
     pre-specified criteria. As a result, the Issue Paper findings appear to have not followed
     EPA’s own guidelines which state, “…statistically significant increases in tumors should
     not be discounted simply because incidence rates in the treated groups are within the range
     of historical controls or because incidence rates in the concurrent controls are somewhat
     lower than average.” The Agency used this argument to dismiss increased incidences in
     the treated groups in several studies. Guidelines also caution against simply relying on a
     range of the historical responses “… because the range ignores differences in survival of
     animals among studies and is related to the number of studies in the database.” The

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       suggestion to use historical data gathered within two to three years of the study under
       review is not followed in evaluating Wood et al. (2009b), since historical controls are from
       data generated almost a decade earlier from 1987 to 2000. [See EPA (2005) Guidelines for
       Carcinogen Risk Assessment section 2.2.2.1.3., Concurrent and historical controls.]

       2. Although the purpose of two or more lower doses is to provide information on the shape
       of the dose response curve. EPA guidance specifies use of the Cochran-Armitage test to
       examine whether the results in all dose groups together increase as dose increases. The
       Cochran-Armitage test is most powerful in identifying significant trend when the
       underlying trend is linear, but a significant test finding does not imply a linear dose
       structure, only an increasing response with increasing dose (i.e., an increasing dose-
       response relationship). In a number of animal studies on glyphosate, the response at doses
       above 1,000 mg/kg deviated significantly from the near linear trend observed when
       considering the control and only the remaining lower doses. Decreases in the significance
       of the tested trend when the highest dose-responses were included in the Cochran-Armitage
       test could reflect differences in toxicokinetics and/or toxicodynamics at doses above the
       1,000 mg/kg dose EPA considered the limit dose for glyphosate.

       3. Significant increasing trends as identified by the Cochran-Armitage test, without
       correspondingly significant pair-wise comparisons test results were also observed with the
       animal toxicology studies. The Issue Paper discussion often discounts the importance of
       statistically significant trend test findings when there are no correspondingly significant
       pair-wise comparisons. This decision rule does not appear to agree with that specified in
       EPA’s guidelines which specify that significance in either of the tests should be considered
       evidence of significant dose response (i.e., conclude significant response if either Test A
       OR Test B is significant). While the Sidak adjustment is used to protect against Type I
       (false positive) indications, this adjustment may also increase the probability of a false
       negative outcome.

      The Agency invoked a four-part “AND” rule: concluding a significant dose response if one
of the pairwise comparisons was significant AND the Cochran-Armitage tests is significant AND
the observed trend appears monotonic AND the observed control response rate does not greatly
deviate from historical controls levels when available. Otherwise, one concludes that the dose-
response is not significant, as was done in the Issue Paper. These issues lead to the following
findings being specified as not treatment related: (77% of the studies cited).

Rats

ƔLankas (1981): interstitial cell tumors in testes at 31 mg/kg/day group; pancreatic islet cell
adenoma in males; reticulum cell sarcoma in spleen in females.

Ɣ6WRXW 5XHFNHU  SDQFUHDWLFLVOHWFHOODGHQRPDV PDOHV OLYHUDGHQRPDV PDOHV 
thyroid cell adenomas (females)

Ɣ%UDPPHU  OLYHUDGHQRPDV PDOHV



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Ɣ:RRGHWDO a): significant trend for adenocarcinoma and adenoma/adenocarcinoma
combined (females).

Mice

Ɣ$WNLQVRQHWDO E +HPDQJLRVDUFRPDLQPDOHV6LJQLILFDQWWUHQGDQGVLJQificant
unadjusted pairwise comparison between the control and high dose groups.

Ɣ:RRGHWDO E Significant trend for bronchiolar-alveolar adenocarcinoma (males)
Significant trend for Malignant Lymphoma (males).

Ɣ6XJLPRWR  Significant trend in hemangioma incidences (females).

      Some Panel members noted that the tumor-response data were markedly inconsistent
within this unusually large set of bioassay results. For example, at least one Panel member noted
and expressed concern the statistically significant report of testicular interstitial tumors (that is,
Leydig cell tumors) in one group of Sprague-Dawley rats exposed to glyphosate at a dose-rate of
only 31 mg/kg/day was not found important. But another Panel member noted that consideration
of the dataset consisting of responses from 8 rat bioassays (Williams et al., 2016) shows there is
no relationship between dose and tumor incidence across rat tumor bioassays.

      This type of analysis is presented for multiple tumor-types in Williams et al. (2016), and/or
could be created by EPA. The Panel recommended that although not a guideline practice, such
tabulations, properly analyzed, might form a better basis for EPA’s weight-of-evidence
evaluation of glyphosate’s carcinogenic effects in laboratory rats and mice. Some Panel members
while supporting this approach in general expressed doubt that such an analysis would be
meaningful, given that the bioassays were performed internationally and over a 36-year time
span.

      In summary, many Panelists concluded that the Issue Paper’s protocol for assessing the
significance of laboratory animal carcinogenicity study results does not appear to have followed
Agency guidelines. In addition to misinterpreting the rule on assessing significance from
combined multiple comparison tests and the Cochran-Armitage trend test, the Issue Paper
incorporates into the protocol criteria such as

          x   exclusion of dose levels considered above the limit dose, without documenting
              findings that demonstrate that the limit dose was actually exceeded,

          x   requiring visual confirmation of a monotonic trend in scatter plots of data, which is
              known to be a poor way of assessing trend, and

          x   subjectively incorporating information about historical control levels without
              following other Agency guidance on how and when to incorporate this information.

Many Panelists felt that a more systematic review of the data, organized by endpoint, and that
includes in addition to study-specific analyses, a formal statistical analyses of data pooled from
all pertinent and quality studies, would result in a stronger assessment.

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b. For some of the available animal studies, statistically significant trends in tumor
incidence were observed with a lack of statistically significant pairwise comparisons when
adjusted for multiple comparisons 2. Please comment on the agency’s methodology and
interpretation of statistical analyses to evaluate a linear dose-response (trend test) and
increased tumor incidence as compared to controls (pairwise comparisons).

Panel Response

      As discussed in Question 3a, many Panelists did not agree with the Issue Paper’s
methodology and interpretation of statistical analyses to evaluate dose-response and increased
tumor incidence as compared to controls. The assessment considered each study separately and
required that it show evidence of all of the following (the four-part “AND” rule), at least one of
the Sidak pairwise comparisons was significant AND the Cochran-Armitage test is significant
AND the observed trend appears monotonic AND the observed control response rate does not
greatly deviate from historical control level when available.

      In this response, the Panel first directly addresses EPA’s methodology and interpretation
based on the 2005 Guidelines. The Panel suggests alternative approaches to statistical analyses
that are not specified in the Guidelines, but that could be considered in future guidelines.

Panel comments directly addressing EPA’s use of the 2005 Guidelines for Carcinogen Risk
Assessment

      According to EPA’s 2005 Guidelines for Carcinogen Risk Assessment, either a significant
trend (Cochran-Armitage) test finding or a statistically significant increase of a treatment group
response above its corresponding control group response is sufficient for establishing a finding
of a significant treatment-related effect. The document states: “Significance in either kind of test
is sufficient to reject the hypothesis that chance accounts for the result” (page 2-19). In requiring
that significance be achieved in BOTH tests, the Panel concluded that the Issue Paper’s protocol
did not follow the 2005 Guidelines.

      The 2005 Cancer Guidelines state that “Considerations of multiple comparisons should
also be taken into account. Haseman (1983) analyzed typical animal bioassays that tested both
sexes of two species and concluded that, because of multiple comparisons, a single tumor
increase for a species-sex-site combination that is statistically significant at the 1% level for
common tumors or 5% for rare tumors corresponds to a 7–8% significance level for the study as
a whole. Therefore, animal bioassays presenting only one significant result that falls short
of the 1% level for a common tumor should be treated with caution” (p 2-20).

     The remainder of this section addresses three distinct Panel perspectives on the use of the
2005 Cancer Guidelines with regard to the large number of studies being reviewed and how
multiple comparisons should be handled.

      Some on the Panel read the first line of the 2005 Guideline quote above as not mandating
the use of multiple comparison tests but leaving its use to the discretion of the analyst. Others on
2
 Individual studies include Stout and Ruecker (1990), Brammer (2001), Wood et al. (2009a), Atkinson (1993b),
Wood et al. (2009b), Sugimoto (1997). Results are summarized in EPA’s Issue Paper, Table 4.11 and Table 4.18.

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the Panel interpreted the line as specifically requiring analysts to account for multiple
comparisons (to consider both comparison-wise and experiment-wise errors) in assessing the
findings from one or more studies. After extensive discussion, the Panel agreed to recommend
that EPA further clarify this statement and make explicit its requirements in this matter.

       It was the opinion of some on the Panel that the last line of the 2005 Guidelines statement
is the driver for a decision rule implemented in the Issue Paper that “down-weights” multiple
comparison findings where the associated comparison P-value is greater than 0.01. Logically this
rule implies that studies where significant comparisons are observed in multiple tumor types, or
where more than one comparison in a single tumor is significant would not have findings “down-
weighted” (that is, treated with caution), but would be considered as evidence of a significant
dose response. In the Issue Paper, this rule resulted in most study findings being down weighted.

      Operationally, by only considering Sidak-adjusted comparisons with a P-value less than
0.01 as significant and worthy of discussion (i.e. as having “weight”) a number of findings
considered significant by some on the Panel were not discussed. This included:

     1) Pancreatic Islet Cell Adenomas and Combined Adenomas and Carcinomas in male
Sprague-Dawley rats (Stout & Ruecker: [MRID 41643801])

     2) Hemangiosarcomas in Male CD-1 Mice (Atkinson [MRID 49631702])

     3) Liver Adenomas in Male Wistar Rats (Brammer [MRID: 49704601]),

    4) Mammary gland adenomas/adenocarcinomas combined in female Wistar rats (Wood
[MRID: 49957404]),

     5) Malignant Lymphomas in Male and Female CD-1 Mice (Wood [MRID: 49957402], and

     6) Hemangioma in male and female Specific-Pathogen-Free (SPF) ICR (Crj: CD-1) mice
(Sugimoto [MRID: 50017108 and 50017109]).

     Thus, in the view of some Panel members, the findings above are sufficient evidence to
conclude glyphosate is a rodent carcinogen using the approaches recommended to interpret the
biological significance of tumor responses in EPA’s 2005 Guidelines for Carcinogen Risk
Assessment.

      Other Panel members, embracing the Issue Paper’s use of multiple comparison test
controls, concluded that the laboratory animal toxicology studies provide no evidence that
glyphosate is a rodent carcinogen. In support of their conclusions, they noted that the animal data
on glyphosate encompass 15 bioassays that each employ a control group and three or four treated
groups of males and females of rats or mice that combined make up 30 sex-species groups
studied. This glyphosate dataset is far more extensive than the NTP bioassay data upon which the
Haseman (1983) finding is based. Concern was expressed that the 1% rule may not be adequate
for correcting for multiple comparisons in this complex glyphosate data base.

    Dr. Haseman, in his presentation to the Panel, showed that the numbers of significant
comparison-wise P-values at both the 5% and the 1% level in the glyphosate bioassays are no

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greater than would be expected purely by chance under the null hypothesis of no treatment
effect, when conducting so many statistical tests (i.e., tests from so many different studies by sex
by comparisons within tumors).

      One Panel member noted that the FDA does not require analysts to use multiple
comparison procedures to adjust comparison-wise significance levels but instead sets a small P-
value of 0.005 as its cutoff level for establishing significance. There are statistical methods to
account for multiple comparisons, and these provide valid statistical tests for use in animal
bioassays that properly control the false positive rate (Benjamini and Hochberg 1995, Farrar and
Crump 1988, Westfall and Young 1989). Absent results from such tests, the analysis presented to
the Panel by Dr. Haseman (discussed above) is another approach for determining whether the
number of significant individual comparison tests observed are more or less than would be
expected by chance. If there are more than expected, one can conclude that there are statistically
significant dose responses in the database, otherwise, one can conclude that there is little
evidence.

      It was noted that one rat bioassay (Stout and Reucker, 1990) produced three significant
tumor observations, which was greater than the number expected by chance. In discussion with
the Panel, Dr. Haseman confirmed that the National Toxicology Program has a practice of
upgrading (up-weighting) initially non-significant findings (those with a P-value of 0.05 for
common tumor types) to “equivocal” when multiple tumors are observed.

     The Panel also discussed the importance of consistency of tumor responses across multiple
assays as another criterion for assessing the significance of individual outcomes. The Issue Paper
handles this issue in an ad hoc fashion, which some Panelists considered appropriate given EPA
did not apply formal statistical tests that corrected for multiple comparisons.

      To augment EPA’s evaluation of consistency among bioassays, one Panel member reported
on an analysis they conducted where all of the significant tumor responses in rodent bioassays
identified in the issue paper were compared across studies. Responses were compared within the
same sex, species and strain of rodent. The only significant tumor response among the ten
identified in the Issue Paper that had some support across studies was malignant lymphomas in
male CD-1 mice. Wood et al. (2009b ) reported a significant dose response trend (P-
value=0.0KLJKGRVH§PJNJGD\ DVGLG6XJLPRWR 3-value=KLJKGRVH§
4200 mg/kg/day). However, Wood et al. noted a significant excess response (5/51) at the highest
tested dose of 810 mg/kg/day, whereas Sugimoto reported no tumors (0/50) at a comparable dose
of 838 mg/kg/day. .QH]HYLFKDQG+RJDQ KLJKGRVH§PJNJGD\ IRXQGQRHYLGHQFH
of an effect at any dose tested (P-value = 0.75). Thus the response at the high dose in Wood et al.
(2009b) was not reproduced in Sugimoto (1997), and neither the response in Wood nor that in
Sugimoto was reproduced in the Knezevich and Hogan study.

       After reviewing all the significant tumor responses for consistency, the Panelist who
conducted this review concluded that none of the positive findings analyzed in the Issue Paper
were reproduced in other studies.

     Due to the multiple comparisons evaluations described above, coupled with the lack of
consistency among studies, some Panel members concluded that the significant responses that

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were observed in the animal studies appeared to best be interpreted as the results of random
assignment of animals to dose groups rather than due to any carcinogenic effect of glyphosate. In
the view of these Panelists, the interpretation that led to this conclusion is consistent with the
2005 EPA Cancer Guidelines. These Panel members also did not agree that applying a
“conservative test” is necessarily an appropriate scientific goal when evaluating the potential
carcinogenicity of glyphosate. When one uses conservatism of a test as a criterion, there is no
clear stopping point, as a more conservative test can always be found. Instead these Panel
members recommended the standard scientific approach be followed as nearly as possible (apply
a decision rule that has a false positive rate equal to the standard rate of 5%, and otherwise is as
powerful as possible).

      Representing the third point of view, some Panelists felt that a multiple comparisons
adjustment was not appropriate for addressing the scientific question of whether glyphosate has
carcinogenic potential from the animal toxicology studies. These Panelists believe that the most
important and relevant scientific question is not whether there is compelling scientific evidence
of cancer when all cancer endpoints (across all species, and genders) are examined together but
whether there is compelling evidence of carcinogenicity in any one of the endpoints in any
single species or gender. For these Panelist, the analysis should be performed for each cancer
endpoint by species by gender combination separately, and data from all relevant studies should
be pooled and examined in one omnibus analysis that accounts for study differences. The
analysis transmitted as written comments to the Panel by Dr. Christopher Portier, provided a
series of examples of such pooled analyses. These are discussed in more detail at the end of the
next section.

Additional Panel comments

       The Panel also commented more generally on broader statistical issues relevant to the
methods and goals described in the 2005 EPA Guidelines. It was pointed out that the scientific
interest is to assess whether there is a monotonic dose-response trend in the underlying
(unobservable) population. Even if the true dose response trend is increasing monotonic, some
Panel members suggested that there is no reason to expect a scatter plot of the raw response data
to display an increasing monotonic pattern. The Issue Paper confuses the expected underlying
rate trend with the observed empirical rate trend. There is a non-negligible probability of
observing a non-monotone response when the true underlying response is monotone, primarily
due to sampling variability. This was illustrated by one Panel member who presented two
realistic situations in which the true dose response was monotone but the observed dose response
is non-monotone more often than not. The Panel observed that the non-monotonicity of an
observed dose response typically provides very little evidence that the true dose response is non-
monotone. Consequently, to some Panel members, the non-monotonicity of the observed dose
rate data cannot be used as a valid criterion for down-weighting the results of formal statistical
tests that do indicate significant trend.

      Unlike pairwise tests, trend tests incorporate all of the dose response data in a single test,
and therefore can have greater power for detecting effects than pairwise comparisons. When a
trend test and pair-wise comparisons are used together, it could be logically argued the result of
the trend test should also be included in the count of multiple comparisons, and the trend test P-
value should also be adjusted along with the pair-wise test P-values for multiple comparisons.

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Thus, conducting both trend and pairwise tests complicates the interpretation of the results.
Rather than use multiple tests, some members of the Panel recommend that the Agency consider
using a single powerful test for a carcinogenic response, namely a trend test. Although the
Cochran-Armitage trend test uses a linear dose-response in its definition, it has power to detect
all forms of monotone dose-response. Consequently, when this test is significant, it does not
imply that the dose-response is necessarily linear.

     A standard Cochran-Armitage trend test could lack power if the observed dose response is
non-monotone, as might occur when the highest dose exceeds the maximum tolerated dose
(MTD) and causes animals to die prematurely. However, this situation can be allayed by using
an age-adjusted trend test, e.g., the poly-3 version of the Cochran-Armitage test.

      Finally, logistic, probit, or other linear and non-linear regression methods are more
powerful than Cochran-Armitage, but depend on a variety of parametric assumptions. Regression
methods offer a simple interpretation as a dose-response. Finally, the Panel encouraged the EPA
to explore random effects meta-analysis models and generalized linear models to incorporate
multivariate effects of gender, species, and strain to help address multiplicity and increase the
power of their findings.

      The Panel also had comments on the broad issue of statistical evaluation of pairwise
comparisons. Overall, some members of the Panel believe that the EPA over-weighted pairwise
comparisons in the Issue Paper. Pairwise comparisons have much lower power than tests for
trends. Many published studies in nutrition or epidemiology, for examples, also compare the
highest and lowest quartiles, looking for differences in extremes. There are methods to improve
on power but they suffer from (1) ignoring much of the data and (2) lack of interpretation.

       Finally, the Panel made some comments regarding the issue of multiplicity of statistical
tests. The Sidak correction for multiple comparisons is available in SAS routines. It assumes
independence. Another widely used correction is due to Bonferroni. For very small P-values, the
Bonferroni and Sidak provide very similar corrected P-values. Sidak is slightly less stringent, i.e.
the Bonferroni adjustment will find fewer statistically significant results. The Sidak adjustment is
not appropriate when multiple comparisons are not independent, such as when several different
groups at different exposures are compared to the same control group. There is also the Dunnett
test where the pairwise comparisons of interest are comparisons with a control.

      The Benjamini-Hochberg (1995) correction is current state-of-the-art for addressing
multiple comparisons and is most generous. This procedure is used in the pharmaceutical
industry where the incentive is to identify beneficial properties of new formulations by rejecting
the null hypothesis as often as possible and still maintain a constant family-wise error rate.

      One Panel member provided a specific numerical example to describe how the statistical
analyses are performed. A given set of tables such as the September 9, 2016 memorandum:
“Updated Statistics Performed on Animal Carcinogenic Study Data for Glyphosate” gives raw
and Sidek-adjusted P-values (EPA, 2016b; EPA-HQ-OPP-2016-0385-0095). This is the first pair
of tables in the document.




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      The data taken from Lankas (1981) describes an experiment in which 50 rats each were
exposed to one of three different levels of glyphosate added to their diet, including 50 rats given
an unexposed diet. All 200 were examined by a pathologist for tumors. Much of the Lankas
report was concerned with how much each animal ate as a means of describing the total lifetime
exposure. These data and the following statistical analysis were also part of the presentation
made by Dr. Dunbar (EPA) on Tuesday, 13 December 2016.

Table 2: Lankas, 1981 (MRID 00093879) - rat Testicular interstitial tumors – males and
   Corresponding Data Analysis

 Exposure        0                3.05             10.3             31.49           Total
 No tumor        50               47               49               44              190
 Tumor           0 (0%)           3 (6%)           1 (2%)           6 (12%)         10(5%)
 Total           50               50               50               50              200

Corresponding data analysis:
 Comparison        Test                          Raw P-value              Sidak P-value
 Four groups       Cochrane-Armitage             0.009                    Same
 0 to 3.05         Fisher Exact (one tail)       0.121                    0.321
 0 to 10.3         Fisher Exact (one tail)       0.500                    0.875
 0 to 31.49        Fisher Exact (one tail)       0.013                    0.039

       The Cochran-Armitage test compares all four exposure levels and tests for a trend in tumor
rates. There is only one Cochrane-Armitage test so there is no adjustment for multiple
comparisons. The Fisher exact tests construct three 2x2 tables of frequencies comparing each
level of exposure to the unexposed, controls.

      In this example, the non-parametric Cochran-Armitage test detects a trend, but only the
most extreme of the pair-wise comparisons is statistically significant. The Sidak adjusted P-value
corrects for the three pair-wise comparisons.

      The three Fisher tests are not independent. Each compares the exposed rats to the same
control so the Sidak correction is not valid. The Cochran-Armitage test is also correlated to the
three Fisher tests so perhaps there should be an adjustment here for four tests, not three.

       The original reference, Lankas (1981), points out the elevated tumor rates given in the table
illustrated here and states this several times in their introduction. The pathology report begins on
stamped page 2841. There were also female rats in this experiment. All animals were examined
for tumors in other body organs under a microscope by a pathologist. Several other indications of
tumors were identified but explained. The report lists 32 hematology parameters; 8 organ
weights; 38 microscopic examinations for 78 total measurements. Then there were two sexes, 3
doses compared to controls, and an overall trend test for a total of (2 sexes by 3 comparisons by
78 measures + 2 sexes x 78 measures x 1 trend test for a total of) 624 potential tests with
associated P-values. If we were to restrict our attention to only the 78 trend tests in the Lankas
(1981) table, one per measure for one species by sex, and performed each test at the typical type
I error rate of 0.05, the chance of making at least one false positive conclusion would be 1-(1-

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0.05)77 = 0.98 – a near certainty. Even if we used instead a much stricter individual comparison
type I error significance –value of say 0.009, the chance of making at least one false positive
conclusion would be 0.5 (a 1 in 2 chance of saying a comparison is statistically different when in
fact they were not).

      Not all Panel members agreed that multiple comparisons adjustments should be done to
determine the carcinogenic potential of glyphosate or that if done these multiple comparisons
should combine all cancer endpoints. Regardless, the number of comparisons is relevant when
correcting for multiplicity.

       Some Panel members suggested that while not discussed in EPA’s (2005) Cancer
Guidelines as to how it considers the multiple studies for each endpoint, the most appropriate
way to address the scientific question at hand -- is there evidence of carcinogenic potential in any
endpoint in any species or gender? -- is by conducting a pooled analysis for each species,
endpoint, and gender combination. A meta-analysis, such as a random effects meta-analysis, is
one possible approach to a pooled analysis. An example for three endpoints in mice, for most of
the same studies considered by EPA, was provided in the public comments contributed by Dr.
Christopher Portier [EPA-HQ-OPP-2016-0385-0449] and his table is reproduced in this report to
demonstrate that the pooled analyses he conducted suggest that there is a carcinogenic potential
for some cancer endpoints in at least one animal species. This analysis suggests that EPA’s
descriptor of “suggestive evidence of carcinogenic potential” is the appropriate descriptor, given
that these pooled analyses show compelling statistical evidence of at least one single positive
result in at least one species and gender. These Panelists recommend that EPA adopt a pooled
analysis approach for combining multiple studies. Adopting a pooled analysis approach should
include the development of full guidelines for how to conduct and evaluate these analyses.

Table 3: Meta-analysis as one possible approach to a pooled analysis - Example Provided in
   public comments contributed by Dr. Christopher Portier [EPA-HQ-OPP-2016-0385-0449]




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c. Unusually low incidences in concurrent controls in comparison with historical controls
were noted in Lankas (1981), Stout and Ruecker (1990), and Wood et al. (2009b) and
considered as part of the weight-of-evidence for tumor findings. Please comment on the
agency’s use and interpretation of historical control data as a line of evidence to inform the
statistical and biological significance of tumor findings for glyphosate.

Panel Response

Panel comments addressing EPA’s use of historical controls vis. a vis. EPA’s 2005 Guidelines
for Utilizing Historical Control Information

     EPA’s Guidelines for use of historical control data state:

    “The standard for determining statistical significance of tumor incidence comes from a
comparison of tumors in dosed animals with those in concurrent control animals.”

      The Panel suggests that this guideline implies that an analysis based on current controls
only should normally take precedence over analyses that incorporate historical control data. The
Guidelines also state:

    “Historical control data can add to the analysis, particularly by enabling identification of
uncommon tumor types or high spontaneous incidence of a tumor in a given animal strain.”

      However, the Panel noted that in none of the three studies in which the Issue Paper reports
using historical control incidence rates to down-weigh other analysis results were any of these
conditions operative. The EPA Cancer Guidelines caution against this use of historical control
data:

     “Generally speaking, statistically significant increases in tumors should not be discounted
simply … because incidence rates in the concurrent controls are somewhat lower than average.”

      The Panel recommends that EPA clearly explain why historical control rates were used in
some analyses and not in others. To subjectively choose to use historical control incidence data
only in situations where concurrent control incidence levels are low is to potentially introduce
biases.

      EPA (2016a) considered historical controls in connection with three tumor responses in
three studies: testicular interstitial cell tumors in male Sprague-Dawley rats (Lankas, 1981),
pancreatic islet cell tumors in male Sprague-Dawley rats (Stout and Ruecker, 1990) and
malignant lymphomas in male CD-1 mice (Wood et al., 2009b).

      Regarding the induction of pancreatic islet cell adenomas in male Sprague-Dawley rats
[Stout and Ruecker, 1990, MRID 41643801] the Issue Paper concludes that the significant tumor
response trend was not treatment-related, in part, because the response in concurrent controls
was near the lower bound of the historical range. In fact, the control (2.3%) is within the reported
historical range (1.8% – 8.3%), while all three treatment groups had a tumor incidence greater
than the upper range for the historical control (10% - 18%). Consideration of historical controls


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in this case, instead of being used to down-weigh the result, should be used to add to the weight-
of-evidence that this is a significant tumor response.

      In the response of testicular interstitial cell tumors in male Sprague-Dawley rats [Lankas,
1981, MRID 00093879], the response in concurrent controls was low compared to the range in
historical controls (0% versus a historical control range of 3.4% - 6.7%, average 4.5%). The
Issue Paper states “Furthermore, the observed incidence of interstitial cell tumors in the
glyphosate-treated groups were within the normal biological variation for this tumor type in this
strain of rat.” The Panel noted that the incidence in the high dose group was 12%, nearly twice
the upper bound for historical controls and hence in this case, the historical control data should
again add to the weight-of-evidence that this is a significant tumor response.

      In the response of malignant lymphomas in male CD-1 mice in Wood (2009b), it is not
clear that the difference in the observed concurrent control group incidence (0%) should be
considered unusually low, compared to the cited lower bound among historical controls (1.5%).

      EPA’s (2005) Cancer Guidelines mandate careful review of the historical control data to
ensure that it is comparable to concurrent data:

      “When historical control data are used, the discussion should address several issues that
affect comparability of historical and concurrent control data, such as genetic drift in the
laboratory strains, differences in pathology examination at different times and in different
laboratories (e.g., in criteria for evaluating lesions; variations in the techniques for the
preparation or reading of tissue samples among laboratories), and comparability of animals from
different suppliers. The most relevant historical data come from the same laboratory and the
same supplier and are gathered within two or three years one way or the other of the study under
review; other data should be used only with extreme caution.”

      The importance of using only historical controls from studies conducted closely in time to
when the study being evaluated was conducted was highlighted by a discussion one of the Panel
members recently had with a breeder with one of the national labs that supplies a large number
of rats and mice for these kinds of studies. The breeder pointed out that despite every effort to
keep the characteristics of the animals provided as consistent as possible through careful
breeding, the genetics of the population drift over time and hence spontaneous cancer rates drift
as well. Their conclusion is that the animal breeding populations "drift" much more and faster
than human populations do, given the number of generations that can occur over a year of
breeding. Therefore, historical control data that is more than three to five years old may not be
representative of the animals currently being supplied.

     The Guidelines also state that:

     “Caution should be exercised in simply looking at the ranges of historical responses,
because the range ignores differences in survival of animals among studies and is related to the
number of studies in the database.”

      There is no evidence in the Issue Paper that such a careful review was carried out in any of
the three studies that utilized historical control information. In the case of Lankas (1981), the
Issue Paper reports only the mean and a range for historical control responses that were provided
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in the Lankas study report. There is no information on when or where the data/studies were
performed from which these historical control values were calculated, hence the relevance of the
historical controls is unknown.

      In the case of Stout and Ruecker (1990), the Issue Paper provides historical control rates
from the same laboratory for seven years (1983 – 1989), apparently from one study for each
year. However, there is no indication of the year in which the Stout and Ruecker (1990) study
was completed, which raises the possibility that the recommended range of two or three years for
historical controls was not met. Also, the historical data reported suggest that control animals
that were scheduled for early euthanasia were included, which could have accounted for the
lower historical range observed in this study.

      In the case of Wood et al. (2009b), the historical control data did not come from the
laboratory that performed the study, but from three different laboratories: 59 studies performed
during 1987-2000 from two laboratories and 20 studies performed during 1990-2002 from a third
laboratory. There is no discussion of whether the procedures used in these laboratories are
compatible with those used in Wood et al., which raises the possibility of non-comparability due
to different diagnostic criteria, different methods for preparing and reading tissue samples,
different times on test, etc. The year of completion of the Wood et al. study is not mentioned, but
it appeared to the Panel that the recommendation that only controls from studies completed
within the range of two or three years of the completion of Wood et al. could not have been met.

Summary of Evaluation of Agreement of EPA Analysis with EPA Cancer Guidelines

      Overall, based on the previous discussion, many Panelists concluded that the use of
historical control information in the Issue Paper does not adhere to EPA Cancer Guidelines.
There is no evidence that the Issue Paper authors performed a careful review of any of the
historical control data employed as directed by the EPA Guidelines such as discussing the
likelihood of genetic drift, differences among animals from different suppliers, differences in
laboratory techniques employed in different studies, etc. The timing of studies from which
historical control data came is not always clearly stated, although it is clear that the 2 or 3-year
limit recommended in the EPA Guidelines was not met in some instances. In some cases, the
interpretation of results from applying historical controls is questionable. In none of the
applications of historical controls was any attempt made to control for survival in the historical
controls or even to determine if the survival of the historical controls was compatible with that of
the concurrent animals.

Recommendation on EPA Guidelines for use of Historical Controls

      The EPA Guidelines need to provide more definitive and clearer guidance on when it is
appropriate to use historical control information. As currently written the Guidelines seem to
offer conflicting information, stating “Historical control data can add to the analysis” along with
“the standard for determining statistical significance of tumor incidence comes from a
comparison of tumors in dosed animals with those in concurrent control animals” and
“statistically significant increases in tumors should not be discounted … because incidence rates
in the concurrent controls are somewhat lower than average.” A Panel member questioned what
the Guidelines mean when they recommend using some historical control data only with extreme

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caution” or that “caution be exercised in simply looking at ranges…” In addition, it does not
quantify what constitutes “unusually low” concurrent control incidence compared to historical
control incidence, or whether some statistical test should be used to support this label.

       A recent publication discussing the use of historical controls for assessing treatment effects
in clinical trials (Viele et al. 2014) offers six methods of incorporating historical control data into
testing for treatment effects ranging from ignoring historical data to incorporation of the data
using a hierarchical model. Some Panelists recommended that EPA review these and consider
adding one or more of these formal methods to its evaluation in the Issue Paper.

Other comments

       The EPA document states, drawing from Haseman (1995), that “caution is taken when
interpreting results that have marginal statistical significance or in which incidence rates in
concurrent controls are unusually low in comparison with historical controls since there may be
an artificial inflation of the differences between concurrent controls and treated groups.” If this
is the case, the significance of comparisons to concurrent controls is still valid. Unusually low
control group responses might indicate that this batch of animals are unusually robust, suggesting
that they may be unusually resistant to treatment effects. The way the document is written
suggests that only the controls are unusually low in comparison to the treatment groups, but if
true randomization is used the “unusualness” must apply to the whole batch of animals used.

       One Panelist observed that the use of historical controls in the analysis of data can be
expressed using Bayesian methods. The Bayesian analysis adds a number of “virtual” animals to
the control group and a specified percent of these have tumors. In the analysis of the current data,
this is how to express weight to the historical controls.

       A member of the Panel also noted that a 2-Acetylaminoflourene (2-AAF) study (Farmer,
1979) used many hundreds of control mice and about 1/3 of 1% of these developed liver cancer.
It was suggested that, this information could be used by expressing it as a distribution with
corresponding uncertainty or variability in any future study of 2-AAF. Other Panel members felt
that too much time has elapsed since this study was conducted for the incidences in controls to
be useful in future studies.

Final comment

       The Panel agreed with the statement in the EPA Guidelines that “The standard for
determining statistical significance of tumor incidence comes from a comparison of tumors in
dosed animals with those in concurrent control animals.” Given this, the Panel believed that the
default position should always be to not use historical control information, and, in those cases
when it can be used, there should be a clearly articulated reason. When these conditions are
satisfied, the requirement in the 2005 Guidelines for careful review of the historical data to
ensure that it is comparable to concurrent data should be strictly followed.

d. Please comment on the agency’s conclusion that there is an absence of corroborating
preneoplastic lesions or related non-neoplastic lesions. Please also comment on the agency’s
conclusion that there is a lack of progression to malignancy to support tumor findings.

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Panel Response

      The Panel noted that the Issue Paper does not adequately describe its process for
identifying and assessing information on pre- and non-neoplastic lesions. From the
documentation provided, it was unclear whether a pre-determined process for identifying
significant changes in pre- and non-neoplastic findings was employed and, if so, what criteria
were used to select data for statistical analyses. For example, it was not clear what kinds of
lesions were important for which cancer endpoints in which sexes or species. Also unclear is
how the identification of pre-neoplastic lesions supports or is supported by an assumption of a
mechanism of tumor induction.

      One Panel member noted that in some instances, due diligence in review of the available
information was performed and its process included in the Issue Paper. In these cases, further
studies were done that included histopathological examination of laboratory animals during and
at the end of long-term experiments. Pre-neoplastic lesions should have been noted in tissues
collected at midterm euthanasia as well as in tissues collected at the end of the experiment.
Observation of pre-neoplastic lesions is expected when some in a group of test animals have
neoplastic lesions at the end. The dearth of such pre-neoplastic lesions during and at the end of
the experiments presented decreases the likelihood of time-related toxicant-induced effects.

      Most Panel members were in agreement that, overall, there is a paucity of evidence for pre-
neoplastic findings defined as hyperplasia. When pre-neoplastic lesions were present, in most
cases there was no progression to or congruence with adenomas or carcinomas.

      Some members of the Panel noted situations where the information reported in the Issue
Paper was different than what was reported in the source documents:

    1. There are differences in the numbers in tables in the Issue Paper and those in the source
documents both with respect to the incidence and number of animals at sacrifice;

     2. High dose effects (i.e., >4,000 ppm or 1,000 mg/kg) are discounted despite a lack of
pharmacokinetic and/or pharmacodynamic information for doses at this level.

      3. There is an increase in the incidence of commonly occurring tumors in aged animals that
is not mentioned in the Issue Paper;

    4. There are some pre-neoplastic effects attributed to glyphosate treatment in the source
documents that are not cited in the EPA Issue Paper;

     Panel members found that pre-neoplastic effects attributed to glyphosate treatment in
source documents that are not cited in the Issue Paper include the following:

     Rat Studies:

      Ɣ/DQNDV, 1981: Lymphocytic hyperplasia increased in the thymus of males (M) and
females (F), in the mediastinal lymph node (M), the mesenteric lymph node (F), and the spleen
(M), in addition C-cell hyperplasia (F) was observed in the thyroid. Spleen reticulum cell
sarcoma was reported in females.

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     Ɣ$WNLQVRQ et al. 1993a: The most notable histological finding was seen in the salivary
glands, where cellular alteration was seen in the submaxillary and/or parotid of males and
females.

      Ɣ%UDPPHU,QNLGQH\VOLJKWLQFUHDVHGLQFLGHQFHRISDSLOODry necrosis was observed
in M>F, with varying degrees of mineralization of the papilla and/or transitional cell hyperplasia.
In pancreas, exocrine hyperplasia increased in high-dose males (within historical control values).

       Ɣ6XUHVK,QVSOHHQO\PSKoid hyperplasia increased in the low dose group.
Specifically, lymphoid hyperplasia of the mediastinal lymph nodes increased in the low dose
group and increased in the mandibular lymph nodes of low and high dose groups. In liver, clear
cell foci/areas increased in low and mid dose groups and were described as "Maybe pre-
neoplastic changes as evidenced by the high incidence of hepatic tumors in these animals,” in the
primary study document.

     Ɣ Wood et al, 2009a: In kidney, hyperplasia of the pelvic/papillary epithelium was
observed in the high dose group. In males, pancreas islet cell hyperplasia (minimal) increased in
the mid dose group [2/12, 4/13, 7/13, 0/6] and thyroid C-cell hyperplasia increased in the high
dose group.

     Mouse Studies:

      Ɣ.QH]HYLFK and Hogan, 1983: In liver of males, focal hyperplasia and testes interstitial
cell hyperplasia were observed in the low dose group. In uterus, cystic endometrial hyperplasia
was observed.

     Ɣ$WNLQVRQHt al., 1993b: The incidence of lung masses was slightly higher in the high dose
group (18/50) compared to control (10/50).

      Most Panel members were in agreement that, overall, there is a paucity of evidence for
dose-related increases in pre-neoplastic findings co-occurring with increases in adenomas or
carcinomas in the same tissue. However, significant lymphoid hyperplasia was observed at low
and mid doses in males (71.4 and 234.2 mg/kg/day) in a study where malignant lymphomas were
significantly induced at 810 mg/kg/day (Wood, 2009a).

      It was noted that two studies identified an inverse relationship between dose and the
incidence of pre-neoplastic lesions. In the Atkinson et al. (1993a) study of Sprague-Dawley rats,
a significant decrease in kidney hyperplasia was observed in female rats (total incidence score:
18/50, 17/49, 13/50, 9/49, and 1/50 for doses of 0, 10, 100, 300, and 1000 mg/kg-bw/day). In the
Knezevich and Hogan (1983) study of CD-1 mice, “There was actually a decrease in renal tubule
epithelial changes (basophilia and hyperplasia in males, and although there was a dose-related
increase in these changes in females, no tubular neoplasms were observed in females).” Some
Panel members concluded that these observations are consistent with the interpretation that
glyphosate is non-genotoxic and does not cause de novo pre-neoplastic lesions, but rather
glyphosate is a weak, non-genotoxic carcinogen that causes outgrowth of pre-existing
spontaneous lesions. This interpretation is supported by multiple positive tumor bioassays
[significant in individual or combined analyses (see Charge Question 3b), as well as three
positive tumor responses observed in a single bioassay], the lack of evidence of genotoxicity,
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treatment-related increases in frequently occurring spontaneous tumors (Knezevich and Hogan
1983, Wood 2009b), treatment-related decreases in pre-neoplastic lesions concurrent with
increases in tumor frequency within the same organ (Lankas 1981, Knezevich and Hogan, 1983),
and significant increases in malignant tumors of treated male rats relative to controls across
tumor sites (Atkinson 1993a).

      Regarding the Issue Paper’s conclusion that there is a lack of progression to malignancy to
support tumor findings, one Panel member noted that three different malignancies were
significantly induced by glyphosate (P < 0.01 for malignant hemangiosarcoma, lung
adenocarcinoma, and malignant lymphoma). In addition, the study of glyphosate-treated
Sprague-Dawley rats by Atkinson et al. (1993a) stated “the overall number of animals with
tumors was similar between groups (44/50 in control vs 41/50 in high dose males: 49/50 in
control and high dose females), but the number of males in the high dose group with malignant
tumors (15/50 or 30%) was almost double that observed in controls (8/50 or 16%).” The Wood
study (2009b) of CD-1 mice reported an overall increase in multiple malignant tumors in treated
males relative to controls. For this Panel member, these observations regarding malignancy add
to the weight-of-evidence that glyphosate is a rodent carcinogen.

      The Panel recommends that the Issue Paper revise and strengthen its discussion on the
process used for identifying and assessing information regarding pre- and non-neoplastic lesions.
In the process, the Issue Paper should address the exclusions discussed above.

e. In the case of glyphosate, there are multiple carcinogenicity studies available for the
evaluation of carcinogenic potential. The agency looked across all of the studies and found
that tumor findings were not consistent or reproduced in other studies conducted in the
same species and strain at similar or higher doses. Please comment on the interpretation of
conflicting evidence and reproducibility for these studies.

Panel Response

       The Panel was divided with regard to the interpretation of apparently inconsistent evidence
from the rodent bioassays of glyphosate. Some Panel members pointed out that true carcinogenic
responses should be reproducible, and that the apparently positive results in some of the rodent
bioassays of glyphosate were likely to be false positives. In particular, these Panelists believe
that the lack of corroborating information from bioassays using the same or higher doses and in
the same rodent species, strain, and sex is important evidence against a genuine carcinogenic
effect of glyphosate.

      Other Panel members, however, believed that differences in study designs could explain
some of the tumor response discrepancies, and that, overall, the rodent bioassay data were
consistent with glyphosate acting as a weak tumor promoter. As mentioned in response to
question 3b, a pooled analysis that appropriately addresses differences in study design is
recommended by some Panel members to determine whether or not the evidence from multiple
rodent studies is indeed conflicting.

       There has been no direct test of the weak promoter hypothesis (such as in a standard
initiation-promotion bioassay), and some Panel members felt that such a conclusion was

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speculative. Nonetheless, some of the high-dose responses in some of the fifteen or more
bioassays of glyphosate were noteworthy, at least to some Panelists. EPA mentioned that dose-
rates of greater than 1,000 mg/kg-day are considered to be above the “limit dose,” but, in the
case of glyphosate, its remarkable non-toxicity means that it can be reliably applied in bioassays
at up to several grams/kg-day. Thus, in these Panelists’ opinions, positive results at doses at and
above the “limit dose” should not necessarily be discounted. Other Panelists also believe that the
limit dose is used as a study design guideline and should not be used to discount findings after a
study has been conducted. See further discussion of the appropriateness of the limit dose
criterion in response to charge question 3f.

       Some Panelists noted that the Issue Paper correctly noted the lack of reproducibility of
statistically significant carcinogenic effects in the glyphosate rodent bioassays. However, this
was noted only in a single sentence at the end of the discussions of the evidence from rat and
mouse data (Section 4.8). These Panelists suggest that it would be helpful to substantiate this
point by reviewing the information that led to this conclusion. To this end, these Panelists
provide, in the following paragraphs, their summaries of the data from the rodent glyphosate
studies available to the Panel on each of the cancer endpoints analyzed in the Issue Paper.

      In Table 4.1 of the Issue Paper, the response of testicular interstitial cell tumors (also
known as Leydig cell tumors) in male Sprague-Dawley rats (Lankas, 1981) had a significant
dose response trend (P = 0.0062 by the exact form of Cochran-Armitage trend test (Gart et al.
1986, p. 81-86)). The highest dose in Lankas et al. was only 31 mg/kg/day, and for this reason
was given the lowest rating (Klimisch 3) by Greim et al. (2015). Other studies of Sprague-
Dawley rats using doses 30-fold higher or greater, from 940 mg/kg/day to in excess of 1000
mg/kg/day (Stout and Ruecker 1990; Atkinson 1983a; Enemoto 1997), did not show statistical
evidence of an effect on testicular interstitial cell tumors. Indeed, in all of the 15 rodent
bioassays, increases in Leydig cell tumors were seen only once.

       In Table 4.2 of the Issue Paper, the response of pancreatic islet cell adenoma in male
Sprague-'DZOH\UDWV 6WRXWDQG5XHFNHUKLJKGRVH§PJNJGD\ ZDVDQDO\]HG.
Although the trend test was not significant (P = 0.18) this analysis was included because of a
significant increase at the lowest dose in a pair-wise test before adjusting for multiple
comparisons (P = 0.018). The trend test for the combined response of adenoma or carcinoma
gave a P = 0.21, not significant. However, in this same study there was a significant negative
trend in female mice for both adenoma (P = 0.04, negative trend) and adenoma or carcinoma
combined (P = 0.04, negative trend). Thus, overall, there appears to be greater evidence for a
protective effect on pancreatic islet cell tumors in this study than a carcinogenic effect. However,
these results most likely stem from natural variation in tumor responses, rather than any effect of
WUHDWPHQW$WNLQVRQ DKLJKGRVH§PJNJGD\ IRXQd a significant negative trend for
this tumor among male Sprague-Dawley rats (P = 0.007, negative trend) using doses spanning
those in Stout and Ruecker (1990). (QHPRWR UHSRUWHGLQ*UHLPKLJKGRVH§
mg/kg/day) exposed male and female Sprague-Dawley rats to doses that spanned those used by
Stout and Ruecker (1990) and found no statistical evidence of a dose effect. Also, two studies of
male and female Wistar rats found no statistical evidence of a dose effect on pancreatic islet cell
adenomDRUDGHQRPDDQGFDUFLQRPD %UDPPHUKLJKGRVH§PJNJGD\:RRGHWDO
DKLJKGRVH§PJNJGD\ .


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       In Table 4.4 of the Issue Paper, hepatocellular adenoma in male Sprague-Dawley rats
 6WRXWDQG5XHFNHUKLJKGRVH§PJNJGD\ Zas shown to have a significant dose
response trend (P = 0.02), and, as a result, the combined response of hepatocellular adenoma and
carcinoma was nearly significant (P = 0.078). In this same study there was an almost significant
negative trend in hepatocellular adenoma among females (P = 0.078, negative trend). Atkinson
et al. (1983a, high dose = 1000 mg/kg/day) and Enemoto (1997, as reported in Greim 2015, high
GRVH§PJNJGD\ DOVRH[SRVHG6SUDJXH-Dawley rats to doses that spanned those used by
Stout and Ruecker (1990) and found no statistical evidence of a positive dose effect on adenoma
or the combination of adenoma or carcinoma. In the Issue Paper, Table 4.9, hepatocellular
DGHQRPDLQPDOH:LVWDUUDWV %UDPPHUKLJKGRVH§PJNJGD\ KDd a significant
dose response trend (P = 0.0082). However, Suresh (1996, high dose = 740 mg/kg/day) and
:RRGHWDO DKLJKGRVH§PJNJGD\ H[SRVHG:LVWDUUDWVDQGIRXQGQRVWDWLVWLFDO
evidence of a positive dose effect, although there was an almost significant negative trend in
hepatocellular adenoma for females in Suresh (1996) (P = 0.08, negative trend).

       In Table 4.7 of the Issue Paper, thyroid C-cell adenoma in female Sprague-Dawley rats
 6WRXWDQG5XHFNHUKLJKGRVH§PJNJGD\ had a significant dose response trend (P
= 0.040) and the trend in the combined response of adenoma or carcinoma was also significant
(P = 0.042). The corresponding trends in male Sprague-Dawley rats were almost significant
(adenoma response P = 0.079 and combined response P = 0.087). Atkinson et al. (1983a, high
GRVH§PJNJGD\ DOVRH[SRVHG6SUDJXH-Dawley male and female rats to comparable high
doses with no statistical evidence of a dose effect on these tumors. There was a statistically
significant trend (P = 0.0026) in thyroid C-cell carcinoma among female Sprague-Dawley rats in
Lankas et al. (1981, high dose = 34 mg/kg/day), however the high dose in this study was well
below the low dose in Stout and Ruecker (1990). 6XUHVK KLJKGRVH§Pg/kg/day),
%UDPPHU KLJKGRVH§PJNJGD\ DQG:RRGHWDO 2009aKLJKGRVH§
mg/kg/day) exposed Wistar rats and found no statistical evidence of a positive dose effect on C-
cell tumors. However, in Wood et al. among female Wistar rats there was a statistically
significant negative trend in thyroid C-cell adenoma (recorded as parafollicular adenoma (Greim
et al. 2015)) (P = 0.0030, negative trend), and a statistically significant negative trend in the
combined response of C-cell adenoma or C-cell carcinoma (recorded as parafollicular
carcinoma) (P = 0.0021, negative trend). Similarly, among male Wistar rats in Wood et al.
(2009a) there were almost significant negative trends for thyroid C-cell carcinoma (P = 0.062,
negative trend) and the combined response of thyroid C-cell adenoma or carcinoma (P = 0.064,
negative trend).

      In Table 4.10 of the Issue Paper, mammary adenocarcinoma in female Sprague-Dawley
UDWV :RRGHWDODKLJKGRVH§PJNJGD\ KDGDVLJQLILFDQWGRVHUHVSRQVHWUHQG (P =
0.042) and the trend in the combined response of adenoma or adenocarcinoma was also
significant (P = 0.0067). Brammer (2001, high dose = 1500 mg/kg/day) and Suresh (1996, high
dose = 740 mg/kg/day) also exposed female Sprague-Dawley rats and found no statistical
evidence of a positive effect on mammary tumors. However, there was a significant negative
trend in mammary gland adenocarcinoma among female Sprague-Dawley rats in Suresh (1996
high dose = 741 mg/kg/day) (P = 0.018, negative trend).

     In Table 4.12 of the Issue Paper, adenoma or carcinoma in tubule cell tumors in male CD-1
PLFH .QH]HYLFKDQG+RJDQKLJKGRVH§PJNJGD\ KDGDQRQ-significant dose-

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response trend (P = 0.065). None of these tumors were seen in females. Atkinson et al. (1993a,
KLJKGRVH§PJNJGD\ IRXQGWZRWXEXOHFHOODGHQRPDVLQ&'-1 male mice which
occurred in control and low dose groups. Wood et al. EKLJKGRVH§PJNJGD\ DOVR
exposed CD-1 mice, but did not record any incidences of tubule cell tumors.

      In Table 4.14 of the Issue Paper, haemangiosarcoma in male CD-1 mice (Atkinson, et al.,
1993b, high dose = 1000 mg/kg/day) showed a significant dose-response trend (P = 0.002),
resulting from a total of four haemangiosarcomas, all appearing in the high dose group. Three
haemangiosarcomas were detected in female mice but their distribution in the dose groups did
not suggest a dose-response trend. .QH]HYLFKDQG+RJDQ KLJKGRVH§PJNJGD\ 
did not report finding any haemangiosarcomas among male or female CD-1 mice. Wood et al.
 EKLJKGRVH§PJNJGD\ UHSRUWHGILQGLQJKDHPDQJLRVDUFRPDVLQPDOH&'-1 mice
(2 in controls, 1 at the low dose, 2 at the middle dose and 1 at the high dose) and four
haemangiosarcomas in female mice (1 in each dose group).

      In Table 4.15 of the Issue Paper, the incidences of lung tumors are recorded for male CD-1
PLFH :RRGHWDOEKLJKGRVH§PJNJGD\ . A significant trend is reported for
adenocarcinoma (P = 0.028), but not for adenoma or the combination of adenoma and
adenocarcinoma. There is an almost significant negative trend for adenoma (P =0.078, negative
trend). .QH]HYLFKDQG+RJDQ KLJKGRVH§PJNJGD\ IRXQGDKLJKO\VLJQLILFDQW
negative trend for adenoma in female CD-1 mice (P = 0.00058, negative trend) and a significant
negative trend for the combination of adenoma and adenocarcinoma (P = 0.015, negative trend).
They also found a near significant negative trend for adenocarcinoma in male mice (P = 0.094,
negative trend). Neither Atkinson et al. (1993b, high dose = 1000 mg/kg/day) nor Sugimoto
 KLJKGRVH§PJNJGD\ IRXQGVWDWLVWLFDOHYLGHQFHIRUDQHIIHFWRQOXQJWXPRUVLQ
either male or female CD-1 mice.

      In Table 4.16, of the Issue Paper, malignant lymphomas in male CD-1 mice (Wood et al.,
EKLJKGRVH§PJNJGD\ KDGDVLJQLILFDQWGRVHUHVSRQVHWUHQG P = 0.0066).
6XJLPRWR KLJKGRVH§PJNJGD\ DOVRIRXQGDVLJQLILFDQWWUHQG P = 0.016) for
malignant lymphoma in male CD-1 mice. However, the two responses do not appear congruent:
Wood et al. found a significant excess (5/51) at a dose of 810 mg/kg/day, whereas Sugimoto
found no tumors (0/50) at a comparable dose (838 mg/kg/day). Knezevich and Hogan (1983,
KLJKGRVH§mg/kg/day) found an almost significant trend in malignant lymphoma (P =
0.063) among female CD-1 mice, but there was no evidence of a positive trend in males (equal
responses of 2 animals in both the highest dose group (4841 mg/kg/day) and in controls).

      In Table 4.17 of the Issue Paper, haemangiomas in female CD-1 mice (Sugimoto 1997,
KLJKGRVH§PJNJGD\ VKRZHGDVLJQLILFDQWGRVH-response trend (P = 0.0022). (This study
was not available to the Panel.) Neither Knezevich and Hogan (1983, high dose §
PJNJGD\ QRU:RRGHWDO EKLJKGRVH§PJNJGD\ IRXQGDQ\VWDWLVWLFDOHYLGHQFH
for an effect of treatment on the incidence of haemangiomas in either CD-1 male or female mice.

       The Panel observed that an explanation needs to be provided in the Issue Paper of the
criteria used to select tumors for detailed evaluation. Was a well-defined tumor selection
procedure used (such as a minimum number of total tumors), or was it based on the original
authors’ evaluations?

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      Following this assessment, some Panelists concluded that the Issue Paper correctly finds
the tumor-response data to be too inconsistent to be credibly considered to be compound-related.
In many cases there were significant or near significant negative trends in the same tumor
categories as those in which significant positive trends were identified. As noted elsewhere, with
so many tumor categories recorded in these studies, a few significantly positive trends (and
significantly negative trends) would be expected in each study even if the treatment has no effect
on tumor rates. This multiple comparison problem is particularly acute in the case of glyphosate,
because of the exceptionally large number of rodent studies available. This conclusion is
consistent with the assessment presented by Dr. Haseman before the Panel, which showed the
number of significant trends (at both significance levels of 0.05 and 0.01) in the animal study
data are no greater than what would be expected simply due to the random assignment of animals
to dose groups without any carcinogenic effect of glyphosate exposure.

      Other Panelists pointed out that the Issue Paper ascribes equal weight to the 15 acceptable
rodent carcinogenicity studies and concludes that “tumors seen in individual [rat or mouse]
studies were not reproduced in other studies conducted in the same animal species and strain at
similar or higher doses.” These Panelists noted that in order to judge whether this conclusion is
valid (and should be given more weight than the positive tumor findings), one must consider
whether the studies were of similar quality, employed rodents with equivalent tumor sensitivities,
and whether equivalent tumor incidence data was analyzed in a consistent manner. The Panel
collected data from the primary study documents that suggests the studies varied with respect to
these criteria. Some observations about how these studies varied in meaningful ways that could
affect direct comparability, such as the direct comparisons made above, are provided in the
following paragraphs.

       The studies varied in terms of design and quality, in ways expected to impact their
sensitivity. For example, the study by Lankas (1981) [MRID 00093879] treated rats for 26
months, which may explain why it detected a tumor response not detected in the other studies
that treated rats for 24 months. The Stout and Ruecker (1990) rat study generated statistically
significant responses for three different tumor types. This study may have had greater sensitivity
than others because it employed 60 rats/treatment group (the largest number of rodents in any
glyphosate study). In this regard, it should be noted that the glyphosate Issue Paper statement
“…tumors at multiple sites…” is an observation that adds strength to the significance of tumor
findings in carcinogenicity studies.

     Across the mouse studies, mice were exposed through the diet for between 16 to 24
months. The mouse study by Reyna and Gordon (1973) sacrificed males after 16 months,
females after 18 months and included histopathological analyses on only 10 mice per dose.
Clearly, this study should not be weighted as heavily as studies where histopathology results
were obtained from all 50 animals/sex/dose.

     Some of the studies had low survival at terminal euthanizing (<20 animals/group), which is
expected to reduce the sensitivity of the bioassay.

     The study by Pavkov and Wyand (1987) [MRIDs: 40214007, 41209905, and 41209907]
used a distinct test article and vehicle (Sulfonate, glyphosate trimesium salt and a 1% propylene
glycol vehicle). The mouse bioassay by Pavkov and Turnier (1987) [MRIDs: 40214006 and

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41209907] also employed Sulfonate as the test article and propylene glycol as the vehicle. It is
inappropriate to consider a study as a reproduction of another study if a different test article was
used.

     In the Pavkov and Turnier study, males in the 0 ppm treatment group were euthanized after
89 weeks of treatment, whereas mice in the other treatment groups were euthanized after 95
weeks of treatment.

      It was not clear to the Panel how tumor responses were systematically examined and
reported by research pathologists across studies. For the majority of the studies presented in the
Issue Paper, the combined incidence of euthanized in extremis/found dead plus terminally-
euthanized animals were used in the analyses. In some cases, the Issue Paper assessment
excluded animals that died before 55 weeks, but in other cases the use exclusion/inclusion status
of these animals is unknown. For example, the Pavkov and Wyand and Pavkov and Turnier
studies combined data on interim euthanized (6, 12, and 18 months) with moribund/dead and
euthanized post experimental termination for statistical analysis. For Stout and Ruecker, the data
are broken out as scheduled euthanizing (12 and 24 months?), unscheduled deaths, and “all
deaths reported.” The Panel found it was unclear from reading the Issue Paper whether analysts
were able to parse out and analyze equivalent datasets using the same statistical approach for all
15 rodent carcinogenicity datasets. The Panel recommends the Issue Paper adds a section with a
detailed description of which data were extracted and precisely how data were selected for
subsequent analysis.

       The Panel found no discussion in the Issue Paper of the extent to which histopathological
examinations were performed in an equivalent manner across studies. The rat bioassay by Suresh
(1996) [MRID 49987401] did not include histopathological analyses on all the low and mid-dose
rats at terminal euthanizing and reported that “autolysis precludes evaluation” of many samples.

     The Panel noted that it is also important to consider genetic variability across rodent strains
used and how this variability impacts bioassay reproducibility.

       Rodent strains maintained as separate breeding colonies for extended periods of time do
not necessarily have the same spontaneous tumor profiles (King-Herbert and Thayer, 2006). This
is the basis for the OECD recommendation that only studies performed within five years in the
same laboratory should be considered as historical controls. To evaluate the variability among
the rodents used, the incidence of a single tumor type in control rodents was compared across
glyphosate studies.

         x   Male Sprague-Dawley rats, pituitary tumor rates reported as 40%, 56.6%, 58%,
             70% and 52%.

         x   Female Sprague-Dawley rats, pituitary tumors rates reported as 88%, 76.7%,
             81.6%, 94%, and 72%.

         x   Male Wistar rats, pituitary tumor rates reported as 30%, 34%, and 6%.

         x   Female Wistar rats, pituitary tumors rates reported as 80%, 47%, and 16%.

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         x   Male CD-1 mice, pituitary tumors rates reported as 64%, 0%, 0%, and 0%.

         x   Female CD-1 mice, pituitary tumors rates reported as 64%, 2%, 0%, and 0%.

      These data suggest that even within a particular rodent species there are relatively large
differences in background tumor incidence rates which might be expected to impact the detection
of statistically-significant findings.

      Reported toxicological findings also varied across the different tumor bioassays, providing
additional evidence of biological and/or methodological variability in the studies conducted in
the US, the UK, Japan, and India between 1973 and 2009.

      Most importantly, before one can conclude that the findings in individual studies are not
replicated, one must compare the results across studies in a rigorous manner. Similar patterns of
tumor responses were observed across studies for some tumor types.

         x   Lung: six studies in which all glyphosate treated groups have an equal or greater
             tumor incidence than the concurrent control group (for at least one tumor type in
             one sex), with the highest observed tumor incidence approximately twice the
             control level.

         x   Liver: five studies in which all glyphosate treated groups have an equal or greater
             tumor incidence than the respective control group (for at least one type of tumor in
             one sex) and the highest observed tumor incidence is approximately twice the
             control level.

         x   Lymphatic and thyroid tumors: three studies in which all glyphosate treated groups
             have an equal or greater tumor incidence than the respective control group (for at
             least one type of tumor in one sex) and the highest observed tumor incidence is
             approximately twice the control level.

     One Panel member was of the opinion that this constitutes reproducible evidence of a
biologically-significant carcinogenic effect in rodent liver, lung, thyroid, and lymphoid cells.

f. As described in Section 1.4, high-end estimates of exposure based on the currently
registered uses for glyphosate in the United States have been calculated as 0.47 mg/kg/day
and 7 mg/kg/day for potential residential and occupational exposures, respectively. As a
result, the agency concluded that tumors observed at high-doses (approaching or exceeding
1,000 mg/kg/day) following glyphosate administration are not relevant for human health
risk assessment. Please comment on the conclusions regarding the relevance of high-dose
tumors to the human health risk assessment for glyphosate.

Panel Response

     The EPA (2016a) evaluation defined 1,000 mg/kg/day as the “limit dose” and high-dose
tumors (e.g., tumors in animals exposed to greater than 1,000 mg/kg/day) were given less
weight. All but five of the 15 rodent studies investigated involved doses that exceeded 1,000

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mg/kg/day. However, the EPA (2005) Cancer Guidelines suggest that an excessively high dose
would be “5% of the test substance in the feed for dietary studies.” None of the 15 studies
utilized a dose as high as 5%. The highest tested dose in any of the 15 studies appears to be
30,000 ppm (3%) in the Knezevich and Hogan (1983) CD-1 mouse study. Therefore, at least
based on EPA (2005) Cancer Guidelines, some members of the Panel concluded it is
questionable whether results from exposures greater than 1,000 mg/kg/day, but less than doses
corresponding to 5% in diet, should be given less weight. Disregarding responses at any dose
above a pre-selected “limit dose,” even though the dose did not exceed the maximum tolerated
dose (MTD), is not in keeping with the way rodent bioassays are normally interpreted, which is
to answer the question “was the test material carcinogenic in this study (assuming that the study
did not use doses that exceeded the MTD).” Thus selecting 1,000 mg/kg/day a priori as the limit
dose appears to be an ad hoc decision that is not well-justified, and is not justified on the basis of
the EPA (2005) Cancer Guidelines.

      One Panel member noted the possibility whereby a carcinogenic response at 1,000
mg/kg/day could, depending on the dose-response shape at lower doses, translate into an
estimated human risk as high as 1% from a lifetime exposure to 7 mg/kg/day, the stated
maximum potential exposure level for occupational exposure (assuming a 10% risk at 1,000
mg/kg/day in a mouse bioassay, a linear dose-response to lower doses, and using a surface area
conversion from mice to humans, which entails multiplying by roughly a factor of 13). Further, a
carcinogenic effect at a dose >1,000 mg/kg/day could suggest a carcinogenic effect is also
occurring at lower doses, which cannot be detected due to lack of power.

      The Panel concluded that the Issue Paper needs to clarify its position on results from
exposures that exceed 1,000 mg/kg/day. In at least one place the document says that the tumor
responses, including those from doses exceeding 1,000 mg/kg/day, are not related to treatment.
For example, “in 5 of the 9 rat studies conducted with glyphosate, no tumors were identified for
detailed evaluation. Of the remaining 4 rat studies, a statistically significant trend was observed
for tumor incidences in the testes, pancreas, liver, thyroid, or mammary gland; however, the
agency determined that these tumor findings are not considered to be related to treatment….”
The statistically significant trends discussed in this paragraph are based on data at all the doses,
including those exceeding 1,000 mg/kg/day. Thus, this paragraph indicates that the Issue Paper
does not consider the tumor responses at any dose, including those exceeding 1,000 mg/kg/day,
to be related to treatment. On the other hand, there are numerous statements in the report that
suggest that tumors occurring at doses exceeding 1,000 mg/kg/day are related to dose:

     “…tumor incidence in animal carcinogenicity studies was typically only increased at the
KLJKHVWGRVHVWHVWHG PJNJGD\ ´

      “… however, the data are not sufficient to determine whether linear kinetics is occurring at
high doses where tumors were observed in animal carcinogenicity studies.”

     “Tumor incidences were not increased in animal carcinogenicity at doses <500 mg/kg/day,
…”




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     “In the remaining studies, tumor incidences were not increased at doses <500 mg/kg/day,
except for the testicular tumors observed in a single study. Increased tumor incidences at or
H[FHHGLQJWKHOLPLWGRVH PJNJGD\ DUHQRWFRQVLGHUHG´

     “even though tumors were observed in animal carcinogenicity studies, the possibility of
being exposed to these excessive dietary doses …”

     The Panel found that these statements suggest that the Issue Paper considers some tumors
occurring at >1,000 mg/kg/day to be related to dose.

       Many on the Panel expressed concern that not considering tumor responses at doses
exceeding 1,000/mg/kg/day is not consistent with either EPA (2005) Cancer Guidelines or
standard ways in which bioassay results are typically interpreted. However, the Panel also noted
that tumors induced at only very high doses are less of a safety concern than those induced at
doses within the range of human exposure; though one Panel member noted that it is very likely
that workers in manufacturing/formulation and wholesale handling and also persons involved in
accidents and spills may experience these high exposures.

       There were some differences of opinion among Panel members regarding the relevance and
use of high-dose tumors for human health risk assessment of glyphosate. Some Panel members
felt that at high doses homeostatic mechanisms can be overwhelmed (e.g., the saturation of
elimination processes) and, hence, allowances need to be made in the interpretation of high dose
data. Other Panelists felt that data from high doses should be included with a caveat that high
doses could lead to toxicity, but not carcinogenicity. Still other Panelists felt that if there were
tumors in the presence of other toxicity at high doses, that would be cause for concern regarding
the interpretation of the results and potentially justification for excluding the data.

       One Panel member noted that effects consistent with carcinogenic potential occurred at
doses lower than 1,000 mg/kg/day. Specifically, significant induction of lymphocytic hyperplasia
was observed at 11 mg/kg/day (Lankas, 1981). Significant lymphoid hyperplasia was observed at
low and mid doses in males (71.4 and 234.2 mg/kg/day) in a study where malignant lymphomas
were significantly induced at 810 mg/kg/day (Wood, 2009a). Male Sprague-Dawley rats in the
Lankas study (1981) demonstrated a significant trend and a significant pairwise comparison
between control and the high dose for testicular interstitial tumors, when the high dose was 31.49
mg/kg/day. A significant pairwise comparison relative to controls was observed for pancreatic
islet cell tumors in male Sprague-Dawley rats at the low dose, 89 mg/kg-bw/day (Stout and
Ruecker, 1990). In the view of one Panel member, these carcinogenic effects in rodents should
be considered when setting acceptable levels of glyphosate exposure.

     As a general matter, EPA usually does not consider tumors observed at high doses in
rodent bioassays to be necessarily irrelevant for purposes of human cancer risk assessment.
However, if these observations are in fact false positives, then discounting them would indeed be
appropriate. Making a post hoc assessment to discount high doses after the studies were designed
and carried out using existing guidelines poses a concern.

     The Panel noted that one bioassay did report a positive result (for Leydig cell tumors in a
group of Sprague-Dawley rats) at a glyphosate-dose of only 31 mg/kg/day. However, some Panel

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members noted that Leydig cell tumors (i) are quite common in Sprague-Dawley rats, (ii) are
very difficult to distinguish from simple hyperplasia, and (iii) were not found to be associated
with glyphosate in any of the other 14 bioassays, including those that used the same species,
strain, and sex -- even at doses at and above 1,000 mg/kg-day.

      One Panel member also noted that glyphosate acid (the form used in the bioassays) has a
pH of 2 at saturation, so that very high-dose responses might be due to simple acidity, rather than
to a compound-specific effect. Since glyphosate as used in commerce is not an acid but instead a
more neutral salt or zwitterion, such effects might well be irrelevant for purposes of human
cancer risk assessment.

g. Please comment on the strengths and uncertainties associated with the agency’s overall
weight-of-evidence and conclusions based on the available animal carcinogenicity studies,
as described in Section 4.8.

Panel Response

      Some Panelists felt that the Issue Paper did a good job discussing strengths and
uncertainties of the animal carcinogenicity studies whereas others disagreed with the
interpretation of the rodent carcinogenicity data as presented in EPA’s Issue Paper. Responses to
the previous sub-questions of Charge Question 3 give detailed discussion of the Panel’s view of
the considerations that went into the weight-of-evidence analysis.

      The Panel members who disagreed with the Agency’s interpretation of the rodent
carcinogenicity data felt that the EPA (2016a) weight-of-evidence evaluation gave excessive
weight to several factors: monotonic dose responses, historical tumor rates, lack of statistical
significance in pair-wise comparisons when there is a significant trend, and disregarding or
giving low weight to results at exposures > 1000 mg/kg/day.

      Most Panelists were in general agreement that EPA’s weight-of-evidence did not properly
address the unusually large number of bioassays available for glyphosate. Some Panelists
concluded that EPA ignored the serious multiple comparison problem caused by focusing
attention on the most extreme tumor responses out of a large number of responses. Some
Panelists determined that the best way to address this concern was to conduct properly pooled
analyses, in order to determine the most conclusive answer to the question of whether there was
evidence of a carcinogenic effect in any cancer endpoint, in any species or gender. See the
extensive discussion of the Panel’s thoughts on how to address the unusually large number of
bioassays in response to Charge Question 3b.

       Still other panelists, while agreeing that pooling can have the beneficial effect of allowing
results in the same cancer endpoint from different sets of data to reinforce one another, pooling
does not address the multiple comparison problem per se. In a large data set such as exists for
glyphosate there will be a large number of responses that can be pooled, and consequently the
multiple comparison problem will remain. This problem can be addressed by applying statistical
tests specifically designed for tumor bioassay data that provide a single valid P-value for a
tumorigenic effect at any site, which can also be designed to allow results in the same cancer
endpoint from different sets of data to reinforce one another.

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      Each of the considerations for the weight-of-evidence analysis called out above are
summarized briefly in the remainder of this response. See previous Charge Question responses
for additional details.

     Monotonicity

      The Panel noted that the fact that an observed dose-response is not monotone typically
provides essentially no evidence that the underlying true dose response is non-monotone.
Furthermore, checking for monotonicity is not mentioned in EPA (2005) Cancer Guidelines. In
the simulated examples reported earlier the probability of a non-monotone was 0.57 and 0.70
even though the true dose responses were monotone increasing or non-decreasing.

     Historical Control Rates

       In cases in which the Issue Paper incorporated historical control rates in setting weights, it
was used to down-weight a significant tumor response as not dose-related. If this is true, then all
the tumor responses observed in all groups are incidental. Thus, it would be reasonable, if the
conclusion is that the tumor response is not dose-related, to compare the responses in all the
animals in a study to historical controls, not just those assigned randomly to the study control
group. The EPA (2005) Cancer Guidelines properly recommend caution in the use of historical
control data: “Generally speaking, statistically significant increases in tumors should not be
discounted simply because incidence rates in the treated groups are within the range of historical
controls or because incidence rates in the concurrent controls are somewhat lower than average.
Random assignment of animals to groups and proper statistical procedures provide assurance that
statistically significant results are unlikely to be due to chance alone.” Moreover, a careful
review of historical control data to ensure comparability directed by the Guidelines was not
described. Thus, some Panelists found that reliance on historical control data in the EPA (2016a)
weight-of-evidence evaluation was overdone, and not done in accordance with EPA (2005)
Guidelines.

     Pairwise Tests

      In several cases EPA (2016a) used the non-significance of pairwise tests to down-weight a
significant trend test. This is contrary to EPA (2005) Cancer Guidelines which state:
“Significance in either kind of test is sufficient to reject the hypothesis that chance accounts for
the result.” As noted above, the EPA (2016a) analysis would be on a sounder and more easily
interpreted footing if it eschewed a battery of pairwise tests, and instead conducted a single
powerful test for carcinogenicity, namely a trend test.

     Disregard of exposures > 1000 mg/kg/day

      The EPA (2016a) practice of disregarding or giving low weight to results at exposures >
1000 mg/kg/day, seems to be at odds with the EPA (2005) Cancer Guidelines, which suggest
that an excessively high dose would be “5% of the test substance in the feed for dietary studies.”
But 5% in feed is considerably greater than 1000 mg/kg/day in both rats and mice, and none of
the doses utilized in the studies reviewed exceeded 5% in feed. Several Panel members saw no
overriding reason for disregarding results from exposures > 1000 mg/kg/day, so long as the dose
does not exceed the maximum tolerated dose. These Panelists also thought that responses at such
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doses may have relevance for human risk, as the presence of a response at a high dose suggests
that there possibly could be risks at lower doses that were too low to be detected because of
reduced power at lower doses. One Panelist commented that the definition of limit dose was for
the design of animal bioassay studies, and should not be applied to the interpretation of the
results of studies designed under the Guidelines.

     Weight-of-evidence assessment in the presence of a large number of bioassays

      All of the shortcomings discussed in the previous paragraphs are in the direction of making
a conclusion of no carcinogenic effect. However, in the opinion of some Panel members, it
seems likely that these shortcomings are more than compensated for by focusing on the statistical
significance of the tumor types showing most extreme dose-responses among a very large
number of tumor types for which data are available. With such a large number of tumor types
available for statistical evaluation in an animal study (e.g., 100+), several tumor types would be
expected to be significant at the P = 0.05 level, even if the treatment has no effect on tumor
occurrence. Other Panelists recommended two other perspectives for determining weight-of-
evidence in the presence of a large number of bioassays: one perspective is based on
interpretation of the current wording of the Guidelines, and the other recommends the Agency
implement pooled analyses. See the discussion in response to charge question 3b for further
details describing three different approaches to handling multiple bioassays and the justification
for these various approaches.

     Concluding comments

      The EPA Issue Paper concluded that the observed tumor responses correspond to common
spontaneous tumor types, which are unrelated to glyphosate treatment. Some Panel members
agreed. Other Panel members interpreted the totality of the tumor data as supporting the
hypothesis that glyphosate causes the promotion or progression of common spontaneous lesions
and considered the observed degree of bioassay irreproducibility is expected given differences in
rodent genetics, study design and study quality. Some Panel members agreed that there is
sufficient evidence to conclude glyphosate is a weak rodent carcinogen.

4. As part of its analysis, the agency has considered almost 200 assays investigating the
genotoxic potential of glyphosate. Of these, 107 were performed with the active ingredient
glyphosate. These included in vitro and in vivo studies from the open literature, as well as
studies submitted to the agency that were conducted according to Office of Chemical Safety
and Pollution Prevention (OCSPP)/ Organization for Economic Cooperation and
Development (OECD) guidelines. Non-mammalian studies were excluded from this analysis
unless the assays were generally recognized to inform the human carcinogenic potential of
glyphosate (e.g., bacterial reverse mutation assays). Studies evaluated genotoxic endpoints,
such as gene mutations in bacteria and mammalian cells, chromosomal aberrations,
micronuclei formation, and other assays measuring DNA damage.

a. Please comment on the agency’s review and evaluation process of relevant genotoxicity
studies to inform the human carcinogenic potential of glyphosate, including the decision to
exclude non-mammalian studies (e.g., reptiles, plants, worms, fish), except those generally
recognized to inform human carcinogenic potential.

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Panel Response

      Panel members agreed that the review and evaluation process of genotoxicity studies is
sufficient given the limits of the accepted assays, which are described in the report (first
paragraph of section 5.1) as being sufficient to detect: “1) changes in single base pairs, partial,
single or multiple genes, or chromosomes, 2) breaks in chromosomes that result in transmissible
deletion, duplication or rearrangement of chromosome segments, and 3) mitotic recombination.”

       One Panel member recommended that this section of the document be expanded to indicate
that none of the assays employed provides an unbiased (global) measure of small insertions,
deletions and rearrangements, which can result in gene copy number variation (CNV). CNVs are
best resolved using sequence-based approaches and are important for several reasons. CNVs are
now known to occur at greater rates than other types of mutations and can arise both meiotically
and somatically. CNVs arise via mechanisms that differ from base-substitution mutations,
including inhibition of replication, which some studies have reported for glyphosate (Marc et al.,
2002 and 2004). Structural mutations may contribute to human variation at least as much or more
than base-substitution mutations. Further, strong associations have been observed between CNVs
and many cancers, cancer risk factors, and mechanisms for promotion. Finally, there seems to be
some evidence that structural mutations contribute to response to glyphosate exposure (Gaines et
al., 2010; Widholm et al., 2001).

      One Panel member encouraged the agency to consider two key human biomonitoring
studies in their evaluation of genotoxicity, specifically studies by Bolognesi et al. (2009) and
Koureas et al. (2014). Bolognesi et al. (2009) evaluated genotoxicity as binucleated micronuclei
and observed some increases in the blood cells of Columbian farmers after aerial spraying of
glyphosate. Koureas et al. (2014) measured oxidative DNA damage as 8-hydroxy-2' -
deoxyguanosine (8-OH-dG) and reported that glyphosate applicators more often had high levels
of 8-OH-dG than non-applicators (43.8% vs 27.9%, RR=1.47, 95% CI=0.78, 2.77).

      Because some Panel members concluded that the rodent bioassay data indicates that at high
dose, dietary exposure to glyphosate causes promotion/progression of pre-existing spontaneous
lesions, studies in mammalian and non-mammalian species are of interest in terms of
understanding potential underlying mechanisms of promotion/progression. Disruption of the
proteome is one potential non-genotoxic mechanism of carcinogenesis. A recent study by Ford et
al. (2017), concluded that in vivo glyphosate exposure may lead to generation of reactive
metabolites such as glyoxylate which may in turn inhibit fatty acid oxidation enzymes, heighten
levels of triglycerides and cholesteryl esters, and may potentially lead to metabolic disorders
stemming from impaired fatty acid oxidation or fatty acid metabolism, including obesity, hepatic
steatosis, atherosclerosis, and dyslipidemia.

      Panel members agreed that, in the determination of whether or not glyphosate is likely to
be genotoxic in humans, the EPA document focuses appropriately on studies conducted in
cultured mammalian cells and exposed animal models.

b. Consistent with the OECD guidance (2015), in vivo findings in genetic toxicology testing
are generally considered as having a greater relevance to humans than in vitro findings.

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Consistent with the 2005 Cancer Guidelines, all available data were considered in the
weight-of-evidence evaluation of the genotoxic potential for glyphosate. The relevant
studies are summarized in Tables 5.1-5.7. Please comment on the agency’s approach for
evaluating the genotoxicity data.

Panel Response

      The Panel found that the agency has assembled and evaluated relevant genotoxicity data in
an appropriate manner, with the previously mentioned caveat regarding the lack of robust
detection of CNVs.

c. As described in Section 1.4, oral exposure is considered the primary route of concern for
glyphosate and high-end estimates of exposure range from 0.47-7 mg/kg/day. Please
comment on the human health relevance of the genotoxicity findings with respect to the
doses where effects were observed and the route of administration.

Panel Response

      Panel members agreed that genotoxicity studies were conducted at sufficiently high doses
(and range of doses). There is a sufficient number of negative studies, where glyphosate was
administered through the oral route, to support the agency’s conclusion that glyphosate is not
genotoxic. A few positive findings in studies employing high dose exposures through the
intraperitoneal (IP) route of administration may represent secondary effects of toxicity.

      Several Panel members commented that if glyphosate causes progression of spontaneously
arising lesions (cells carrying cancer driver mutations or other types of DNA damage), then
humans are at risk of glyphosate-induced carcinogenicity and the longer human lifespan (as
compared to rodents) is expected to contribute to the risk.

d. Please comment on the strengths and uncertainties associated with the agency’s overall
weight-of-evidence and conclusions based on the available genotoxicity studies, as
described in Section 5.7.

Panel Response

      Panel members found that the Agency’s overall weight-of-evidence and conclusion that
there is no convincing evidence that glyphosate induces mutations in vivo via the oral route are
sound. Areas of remaining uncertainty are related to the potential for glyphosate-induced
inflammation and genotoxic effects secondary to toxicity caused by high dose exposures (i.e.,
glyphosate-induced inflammation, oxidative stress, 8-OH-dG, and sister chromatid exchanges or
SCE) and whether the glyphosate-containing formulations have genotoxic potential.

5. The modified Bradford Hill criteria were used to evaluate multiple lines of evidence
using such concepts as strength, consistency, dose response, temporal concordance, and
biological plausibility. In accordance with the 2005 Cancer Guidelines, the agency used a
weight-of-evidence analysis to characterize the human carcinogenic potential of glyphosate
and determine which cancer descriptor is supported by the data. The agency has described

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the strengths and uncertainties associated with the choice of various cancer descriptors
with a focus on “suggestive evidence of carcinogenic potential” and “not likely to be
carcinogenic to humans”. Please comment on the completeness, transparency, and
scientific quality of the agency’s characterization of the carcinogenic potential.

Panel Response

       The Panel was asked to comment on the completeness, transparency and scientific quality
of the argument presented in the EPA’s Issue Paper leading to the conclusion (page 141) that
“The strongest support is for ‘not likely to be carcinogenic to humans’ at doses relevant to
human health risk assessment.” The Issue Paper’s goal is to describe the Agency’s
“comprehensive analysis of available data from submitted guideline studies and the open
literature.” (page 140)

      The Panel noted that the conclusion on glyphosate carcinogenicity offered in the Issue
Paper has two parts. The first part is a hazard statement; the second part is a risk characterization
statement. Since the Issue Paper is not a full risk assessment of technical glyphosate as outlined
in the 2005 Guidelines for Carcinogen Risk Assessment, the Issue Paper conclusion is best
assessed as a hazard statement.

     This Issue Paper is conceptually driven by the 2005 Guidelines for Carcinogen Risk
Assessment which in turn incorporates the “modified Bradford Hill Criteria to evaluate strength,
consistency, dose response, temporal concordance and biological plausibility of multiple lines of
evidence in a weight-of-evidence analysis” (page 14). The Issue Paper also draws on the 2010
EPA OPP draft “Framework for Incorporating Human Epidemiologic & Incident Data in Health
Risk Assessment” which also utilizes a modified Bradford Hill Criteria as applied specifically to
epidemiologic data.

Completeness of Agency’s carcinogenic potential characterization

     For the epidemiology studies, the Agency followed its peer-reviewed guidelines on
evaluation and use of epidemiology studies in risk assessment and reviewed:

     • Study design, including study sample size and power to detect effects under
consideration,

     • The quality of the exposure assessment in epidemiology studies,

     • The potential for differential and non-differential misclassification of effects or
outcomes,

     • The measurement and utilization (or not) of potential confounders,

     • Potential biases and their impacts on observed associations, and

     • The associated statistical analysis.



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       For the animal studies, the Issue Paper review followed standard practice and considered in
their review, in order to ultimately select and interpret the findings from well-conducted, long-
term animal studies:

     • Study design, sample size, and adherence to quality guidelines,

     • Statistical analysis and use of trend and multiple comparison testing protocols,

     • Concurrence with historical control rates,

       • Evidence of carcinogenicity through magnitude of tumor response, occurrence at multiple
sites, in multiple strains or species, their progression, latency, and dose response, and,

     • Absence of tumors.

     For genotoxicity studies, the Issue Paper review also followed standard practice and
considered:

     • Test type and objective,

     • Substance tested (e.g. technical glyphosate),

      • Quality of the implementation of the study (adherence to standard study design, sample
size, dose, use of positive and negative controls),

      • Conditions under which the study was performed (solubility, pH, osmolarity,
cytotoxicity, but also degree of blinding in evaluation of outcomes), and,

     • Consistency among findings and support for particular MOA.

      By any criteria, this list suggests a complete review. However, as the Panel notes in earlier
sections of this report, there are aspects of EPA’s approach and conclusions that it recommends
altering. Missing are:

      • Study data and results on workers engaged in manufacturing, formulating and handling
and wholesale selling of glyphosate – although mentioned a number of times in the Panel’s
discussions, it is generally assumed that there are no worker epidemiology studies because none
are reported in the Issue Paper.

      • Other human incident data, such as reports on acute accidental exposures – the 2010 EPA
OPP draft “Framework for Incorporating Human Epidemiologic & Incident Data in Health Risk
Assessment” discusses the utility of other incident data. While incident data have little direct
relevance to cancer outcomes, time trends suggesting increasing episodes of acute exposures can
also be suggestive of increases in overall exposure over time, which can in turn affect inferences
about the quality and biases in the human epidemiologic studies.

Transparency (interpreted by the Panel as honesty and openness) of Agency’s carcinogenic
potential characterization

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      The Panel did not have major issues in following the Agency’s assessment. Section 6.6 of
the Issue Paper is clear in laying out the Agency’s argument for its final classification.
Supplemental documents provided on the meeting docket allowed Panel members the
information necessary to duplicate most analyses and verify most report claims if so desired.
While this document indicates areas where Panel members disagree with the Agency’s
assessment (see next section), the Panel was able to identify documents and data from which
Issue Paper claims originated. The Panel expressed concern that a barrier to full transparency
exists in that some of the documents and associated data that are used by EPA in this assessment
require special procedures for access and a few studies were not available to the Panel or the
public. The Agency explained that FIFRA regulations are responsible for some of these
limitations. Regardless, the Panel wondered whether the public could fully review and reproduce
the conclusions reached by EPA.

Scientific quality of the Agency’s carcinogenic potential characterization

      Quality science is reproducible, free from distortion, credible, built on what is known
(sound science), follows logical inferences, and is honest about what is achievable and the limits
of available designs and data. While the Issue Paper does try to detail the design and data
limitations of each study selected, some on the Panel believed that it does not provide sufficient
details to support its conclusions (for example, see discussion of Charge Question 3e) and this
negatively impacts the scientific quality of the report. In addition, many Panel members felt that
some of the discussions of study design and data limitations provided in the Issue Paper
introduced and used criteria that were not part of EPA Guidelines for these assessments, and this
further reduces the credibility of the assessment.

     The issue of distortion impacts the nature and quality of the inferences drawn in the Issue
Paper. These inferences also depend upon a consistent application of the Bradford Hill Criteria,
aspects of which are discussed in the next sections.

Dose-response and temporal concordance

       With regard to the epidemiology data, the Issue Paper concludes: “Based on the weight-of-
evidence, the agency cannot exclude chance and/or bias as an explanation for observed
associations in the database. Due to study limitations and contradictory results across studies of
at least equal quality, a conclusion regarding the association between glyphosate exposure and
risk of NHL cannot be determined based on the available data” [page 68]. The 2005 Guidelines
state (page A-2): “When cancer effects are not found in an exposed human population, this
information by itself is not generally sufficient to conclude that the agent poses no carcinogenic
hazard to this or other populations of potentially exposed humans, including susceptible
subpopulations or life stages.”

     The Panel debated the Issue Paper’s assignment of weights and arguments that lead to its
conclusion of “no observed association”. The issues considered by the Panel and on which there
was disagreement are as follows.

     1. Some Panel members noted that weight placed on the findings from the prospective
Agricultural Health (cohort) Study (AHS, 2005) is too high given that this study has had only

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limited follow-up to date, is subject to selection bias due to its approach to recruitment (i.e.
preferentially excluding cases that occur before the enrollment in the cohort) and uses biased
exposure quantification in the analysis. An updated report is expected to clarify some of these
issues, and is expected within the year.

      2. The Panel could not agree on the appropriate weights to be applied to the Eriksson et al.
(2008) and McDuffie et al. (2001) studies. Some Panel Members felt that that these studies
provide positive evidence of a dose response to glyphosate exposure and hence should be
afforded greater weight. Other Panel Members noted that the potential impacts of recall and
selection biases on study findings are not properly accounted for in the Issue Paper’s assessment
and as a result these studies are afforded too much weight.

      3. Some Panel members noted that the Issue Paper’s discussion of the change-in-use
patterns and their impact on risk estimates expected from the epidemiology (pages 129-130) does
not reflect a good understanding of the estimates being reported. The Issue Paper’s analysis
appears to be aligning assumptions about absolute production changes over time with
epidemiological inferences for relative impacts of exposure in ways that many on the Panel felt
cannot be supported. It makes assumptions about the change of patterns of exposure based on
trends in sales (production trends), that do not necessarily reflect the more relevant (but
unknown) pounds per worker per year (relevant exposure metric). Trends in production can only
be speculated to affect usage at the worker level. In documents presented to the Panel, the Center
for Food Safety provided a compilation from USDA data (EPA-HQ-OPP-2016-0385-0438)
showing evidence, based on pounds per acre per year, that glyphosate use in the 1980’s may
have resulted in potentially higher per worker exposure than in the 1990’s, including after the
large increase in glyphosate production. This argument is in direct contradiction to the arguments
made in the Issue Paper. The Issue Paper’s arguments about exposure trends also ignore latency.
Since all the arguments in the paragraph beginning at the bottom of p. 129 (and also made in
Section 3.6) rely on speculation and unverified assumptions, the Panel recommends they be
removed from the Issue Paper.

      4. Some Panel members interpreted the meta-analysis results for NHL to be indicative of a
suggestive effect of glyphosate. Other Panel members felt that the limitations of the retrospective
case-control studies, particularly with respect to recall bias, selection bias, and confounding by
other aspects of living or working on a farm, combined to render the meta-statistics unreliable.

      For the rodent carcinogenicity assay data, the Issue Paper concludes (page 96), “based on
the weight-of-evidence, the agency has determined that any tumor findings observed in the rat
and mouse carcinogenicity studies for glyphosate are not considered treatment-related. Tumor
findings observed at the highest doses tested were also not reproduced in studies in the same
animal strain at similar or higher doses.” The 2005 Guidelines state (page A-4): “When cancer
effects are not found in well-conducted animal cancer studies in two or more appropriate species
and other information does not support the carcinogenic potential of the agent, these data provide
a basis for concluding that the agent is not likely to possess human carcinogenic potential, in the
absence of human data to the contrary.” The 2005 Guidelines also state (page A-3): “The default
option is that positive effects in animal cancer studies indicate that the agent under study can
have carcinogenic potential in humans.”


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      The Panel debated at length the Issue Paper’s interpretation of positive tumor responses in
rodent bioassays. Not all Panel members agreed with the Issue Paper’s conclusion that findings
in rodent bioassays are not treatment-related. The discussion centered on which analysis results
constitute a significant finding and which support a false positive finding. Not everyone agreed
with how the Issue Paper assigned weights/influence to non-monotonic dose-responses, to
significant pairwise comparisons, and to comparisons with historical control data. Some
Panelists felt that the Issue Paper did not take into consideration the number of statistical tests
performed when assessing tumor incidence across rodent bioassays. Also discussed was the
inference possible from using pooled analyses to draw gender- and species-specific conclusions
from the multiple studies on each endpoint, and the impact of using exact P-values versus
approximate or asymptotic P-values in the standard test used to evaluate evidence for dose
response. Finally, there was discussion on the appropriateness and desirability of down-
weighting results at doses that exceeded 1000 mg/kg-BW/day.

       Following these discussions, some Panel members interpreted the positive animal bioassay
findings as likely false positives, resulting from the very large number of statistical tests
conducted, and concluded that there is no credible evidence of a dose response, thus agreeing
with the conclusions of the Issue Paper. Other Panel members interpreted the significant trend
test results as well as other rodent bioassay findings as sufficient evidence to conclude that
glyphosate is a rodent carcinogen. Under the 2005 Guidelines these findings are adequate to
support a conclusion that glyphosate can have carcinogenic potential in humans (more details are
provided in the section on Evaluation and Proposed Conclusion discussion below).

      For the genotoxicity studies, the Issue Paper concludes (page 128): “The overall weight-of-
evidence indicates that there is no convincing evidence that glyphosate induces mutations in vivo
via the oral route” and “While there is limited evidence (of) genotoxic(ity) for effects in some in
vitro experiments, in vivo effects were given more weight than in vitro effects particularly when
the same genetic endpoint was measured, which is consistent with current OECD guidance. The
only positive findings reported in vivo were seen at relatively high doses that are not relevant for
human health risk assessment.”

     The Panel generally agreed with the Issue Paper’s conclusion regarding the lack of
genotoxicity effects of glyphosate.

Strength, consistency and specificity

      With regard to the epidemiology studies, the Panel concurred with the Issue Paper
conclusions regarding solid tumors, leukemia, MM and HL. Panel members differed in their
agreement with the Issue Paper’s conclusions regarding the strength, consistency and specificity
of the epidemiological findings for a relationship between glyphosate exposure and NHL.

      Some Panel members remarked on the consistency in the direction and value of the
estimated odds ratios across multiple high-quality studies, illustrated by the very low
heterogeneity statistic in the meta-analyses. They argued that the best quantification of the NHL
evidence is provided by the meta-analyses with risk estimates of around 1.3 to 1.5 and with a
lower bound around 1.0 but typically slightly above one when estimates are reported to 2
significant digits. Some Panel members found that the Issue Paper conclusion that the

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epidemiology studies report conflicting results for NHL is based on a post hoc sorting of studies
(see p. 130) that is not based on statistical evidence. The apparent inconsistency of the dose-
response estimates is thus a result of this invalid and unsupported comparison, and this analysis
finding should not be given any weight in the assessment. Some Panel members believed that the
Issue Paper should rely on the meta-analysis results as the best estimate of the NHL effect, while
other Panel members noted that meta-analyses cannot compensate for or remove residual
confounding in the original studies. In other words, they stressed that if the individual studies
present biased estimates, then the meta-result will also be biased.

      The Panel discussion on the strength of findings in the animal carcinogenicity studies
centered on the value of findings for doses that exceeded 1000 mg/kg-BW/day (the limit dose).
The limit dose is used in the Cancer Guidelines as a design criterion (EPA 2005). Several
Panelists noted that once an experiment is designed, interpretation of its findings should take into
account all the data that were obtained under that design. The Panel consensus was that the Issue
Paper needs to refine and strengthen its argument regarding this issue; it needs to clarify the use
of the Cancer Guidelines, discuss in detail studies that might argue for or against the use of limit
dose findings in tests, and ensure the 2005 Cancer Guidelines are adhered to in their revised
approach. For many on the Panel, this criterion is viewed as having high potential to distort
findings, and as such needs more careful discussion in the Issue Paper.

       The Panel discussed at length the consistency, or lack thereof, of animal findings. In
particular, some Panelists noted that although some individual rodent bioassays reported
statistically significant results with regard to one or more tumor-types, these specific results were
not replicated in other studies using the same rodent species and strain, even when replicate
bioassays were run at higher doses. In evaluating the toxicology evidence from the rodent
bioassays, pooling of animal data for dose-response modeling provides the equivalent of the
meta-analysis performed for the epidemiology data. Dose response modeling results from pooled
analysis, along with proper consideration of multiple comparisons, would provide a better base
from which to discuss qualitatively the consistency of study findings for specific endpoints,
species and in many cases, sexes.

      One Panel member presented an argument that there is sufficient replication and magnitude
of bioassay results to demonstrate treatment-related increases in rat hepatocellular adenoma,
mouse lung adenoma/adenocarcinoma, and mouse lymphoma. The Panelist pointed to
glyphosate-induced lymphoma in mice, where two of four studies (employing 50 mice/group)
reported increases in lymphocytic hyperplasia in treated mice and three reported increases in
lymphoma (including malignant lymphoma). Other Panel members agreed with this argument,
particularly when examined with findings from a pooled analysis offered by a public commenter,
Dr. Christopher Portier (EPA-HQ-OPP-2016-0385-0449).

Biological plausibility and coherence

     Some Panel members recommended that the plausibility argument in the Issue Paper
should be updated to address the hypothesis that glyphosate has potential to be a weak cancer
promoter. Some on the Panel remarked that the hypothesis that glyphosate could be a weak
promoter is not addressed in the Issue Paper. They feel that glyphosate as a weak promoter is a


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potential explanation for the human and rodent study NHL and lymphoma results. These
concerns also suggest the need for more discussion on immunotoxicity by glyphosate.

      One Panelist commented that the epidemiology studies provide plausible evidence of a link
between NHL occurrence and glyphosate exposure, a link that does not depend upon or require
that the mechanisms driving this association are fully understood. This situation was compared to
the evidence for air pollution health effects that are primarily based on findings from
epidemiology studies, noting that it is only in recent years that mechanistic explanations have
begun to emerge from toxicology and other experimental study findings to support these
associations. In air pollution setting, relative risk estimates for an increment in pollution
exposure are on the order of 1.03 for short-term acute effects estimated by time series studies, to
1.25 for longer-term chronic effects estimated in cohort studies. A similar evolution of
understanding is plausible for glyphosate exposure.

Uncertainty

      The Panel found that this section appropriately notes that the available database is
remarkably large and should be adequate for evaluating carcinogenic potential but that many
uncertainties remain. Some uncertainties brought forward from earlier sections in the Issue
Paper, such as excluding formulations with glyphosate and weak pharmacokinetics could be
expanded upon in this section. Uncertainties in epidemiological and animal study evidence are
well discussed in earlier sections.

       Some Panel members focused on the non-significance (i.e., P-values greater than 0.05) of
odds ratios for the NHL analyses in the individual epidemiology studies, and that estimates of the
lower bound of the 95 percent confidence interval of the odds ratio was at or below one across all
studies. Various meta-risk estimates ranged between 1.3 and 1.5 and all had confidence interval
lower bounds at or above 1.0. Given the potential for biases in estimates resulting from problems
with exposure estimation, recall, and participant selection, as were pointed out in the Issue Paper,
this relatively small but elevated risk with confidence interval lower bounds close to 1.0 did not
argue for a strong and consistent finding of effect. In particular, in the opinion of some Panel
members, the Issue Paper does not adequately assess the impact of potential biases on the odds
ratio estimates, recall and selection bias in particular.

Evaluation and Proposed Conclusion

      The Issue Paper concludes in Section 6.6.2 that the weight-of-evidence supports the
descriptor for glyphosate of “not likely to be carcinogenic to humans” at the doses relevant to
human health. The argument for concluding this classification rests on the assessment conclusion
that there is “convincing evidence that carcinogenic effects are not likely below a defined dose
range” where the data are “robust for deciding that there is no basis for human hazard concern.”

      The Panel discussion mainly focused on how the Issue Paper did or did not argue for a
hazard determination of “not likely to be carcinogenic to humans.” Most of the Panel’s
discussion centered on assessment of the potential for glyphosate to be a carcinogen, and less on
the conditions under which glyphosate exposure would represent a significant human health risk.
In the Issue Paper, the statement “at doses relevant to human health” establishes a condition

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under which glyphosate is “not likely to be carcinogenic to humans.” The Panel discussions on
the strength of association between glyphosate exposure and cancer incidence in the
epidemiological studies, and the discussions on dose response in animal studies focused on
assessing carcinogenic potential (at any dose) and less on establishing a threshold for risk to
human health. This focus on the hazard identification is appropriate for an evaluation of the
carcinogenic potential, as framed by EPA’s 2005 Guidelines that describes hazard assessment as
the first step of a risk assessment. For hazard evaluation, the question to be addressed is “Can the
identified agent present a carcinogenic hazard to humans and, if so, under what circumstances?”
(pp. 1-3)

      The Panel was split between those members agreeing with the Issue Paper conclusions and
those members who felt that the characterization of “not likely to be carcinogenic to humans” in
the Issue Paper should be replaced by the hazard descriptor of “suggestive evidence of
carcinogenic potential”.

     Perspectives supporting the “not likely to be carcinogenic to humans” descriptor

       Some Panel Members concluded that while many of the issues identified in the Panel
discussions can and should be addressed in the final EPA report on glyphosate, these changes
would unlikely, in the opinion of these Panel members, change the final Issue Paper conclusions.
They referenced a) a presentation before the panel by Dr. Haseman showing that the number of
statistically significant responses in the glyphosate rodent bioassays is no greater than would be
expected by chance, and b) a corroborating analysis presented by one Panel member. These
arguments support their conclusion that the bioassay results are consistent with what would be
expected by chance and not reflective of compound-induced effects. They see a wealth of studies
with insufficiently consistent findings; several entirely negative bioassays, several weakly
positive bioassay findings but not in the same tumor type, and, not in a majority of studies. These
Panel members also concluded that the weakly positive results on NHL from the human case-
control studies cannot be definitively linked to glyphosate-exposure, and biases from residual
confounding due to other, non-glyphosate aspects of farming, recall bias, or selection bias are
more likely explanations of these findings. The reproducible negative genotoxicity findings do
not suggest a mutagenic MOA for glyphosate, and the Issue Paper presents no evidence that
glyphosate is immunotoxic. Taken altogether, these findings are not sufficient to raise the hazard
above “not likely to be carcinogenic to humans.”

      Some panel members did not agree with the premise that the rodent bioassay data indicate
significant carcinogenic effects at doses that do not greatly exceed EPA’s high-end estimate of
occupational glyphosate exposure of 7 mg/kg-bw/day. In the opinion of these panel members,
the rodent study results are more likely simply examples of the many incidental findings that are
to be expected in a large database like the glyphosate animal database. Specifically:

     1. In addition to the increases in the occurrence of lymphocytic hyperplasia cited in Lankas
(1981) and referenced above there was a significant deficit of lymphatic hyperplasia among
dosed animals at one site. More importantly, among Lankas (1981) and four other studies in
Sprague-Dawley rats employing doses of between 30 and 40 times the highest dose used in
Lankas (1981), none showed any evidence of an effect of glyphosate exposure upon lymphoid
tumors.

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     2. In the lymphoid hyperplasia in Wood 2009b referenced above, lymphoid hyperplasia
was detected in 4/36 male control mice, 1/1 low dose, 1/1 mid dose, and in 3/32 high dose male
mice. Thus the claims of lymphoid hyperplasia at low and mid doses are both based on only one
exposed animal each.

      3. As noted in point 1, there are four bioassays in the same strain of rat employing doses of
between 30 and 40 times the highest dose used in Lankas (1981). None of these bioassays show
any evidence of an effect of glyphosate exposure upon testicular tumors (All of the responses in
these bioassays are shown in Table 2).

      4. The trend test was not significant in the response of pancreatic islet cell adenoma among
male Sprague-Dawley rats in Stout and Ruecker 1990. However, significant negative trends
occurred in female rats for both adenoma and adenoma and carcinoma combined. Two other
studies in Sprague-Dawley rats and three in Wister rats all tested at a higher dose than Stout and
Reucker, but found no evidence of a positive effect of glyphosate exposure upon these tumors.
However, Atkinson 1983 found a highly significant negative trend in adenoma among male
Sprague-Dawley rats.

     Perspectives supporting the “suggestive evidence of carcinogenic potential” descriptor

      Other Panel members did not agree with the conclusions of the Issue Paper. To these Panel
members, the weight-of-evidence conclusion based on EPA’s 2005 Guidelines naturally leads to
suggestive evidence of potential carcinogenic effects. In their view, epidemiologic and rodent
studies contain findings that together (coherence and consistency) suggest a potential for
glyphosate to affect cancer incidence. Many of the arguments put forth in the Issue Paper
discussion are not persuasive. These Panelists concluded that the epidemiologic and rodent study
findings should not be discounted to the extent done in the Issue Paper. One Panel member
argued that, using standard approaches in the analysis of the glyphosate rodent bioassay data,
significant carcinogenic effects are observed at doses that do not greatly exceed EPA’s high-end
estimate of occupational exposure of 7 mg/kg-bw/day. Specifically noted are:

     1. Lymphocytic hyperplasia at 11 mg/kg-bw/day in Sprague-Dawley rats in Lankas, 1981.

       2. Lymphoid hyperplasia at low and mid doses in males at 71.4 and 234.2 mg/kg-bw/day in
a study where malignant lymphomas were significantly induced at 810 mg/kg-bw/day in Wood
et al. 2009b.

      3. Testicular interstitial tumors in male Sprague-Dawley rats demonstrated a significant
trend and a significant pairwise comparison between control and the high dose of 31.49 mg/kg-
bw/day in Lankas, 1981.

      4. Pancreatic islet cell adenoma in male Sprague-Dawley rats demonstrating a significant
pairwise comparison relative to controls at the low dose, 89 mg/kg-bw/day in Stout and Ruecker,
1990.

      According to the 2005 EPA Guidelines for Carcinogen Risk Assessment, the cancer
descriptor “not likely to be carcinogenic to humans” applies if “there is convincing evidence that
carcinogenic effects are not likely below a defined dose range.” Many Panel members believe

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that the EPA did not provide convincing evidence of a lack of carcinogenic effects. These
Panelists agreed that the four findings listed above are adequate to reject the Issue Paper’s
conclusion of “not likely to be carcinogenic to humans” and support a conclusion of “suggestive
evidence of carcinogenic potential” under these Guidelines.

     Other perspectives

      Some Panel members disagreed with the conclusion that the descriptor should be
“suggestive evidence of carcinogenic potential” and some of these Panelists also did not feel
comfortable with the descriptor “not likely to be carcinogenic to humans” either, preferring a
descriptor such as “no credible evidence of carcinogenicity” or “equivocal.”




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APPENDIX 1 – WRITTEN SUBMISSIONS TO DOCKET NO. EPA-HQ-OPP-2016-0385

                                     Commenter*
Anonymous public comments
Comment submitted by Dag Falck, Organic Program Manager, Nature's Path Foods Inc.
Comment submitted by A. DeLuca
Comment submitted by A. Lewis
Comment submitted by A. Schneiderman
Comment submitted by A. Sorrells-Washington
Comment submitted by Aaron Hobbs, President, RISE, Responsible Industry for a Sound
Environment
Comment submitted by Amechi Chukwudebe, PhD, BASF
Comment submitted by Amelia Jackson-Gheissari PhD, International Regulatory Affairs
Manager and Donna Farmer, PhD, Senior Toxicologist, Monsanto Company
Comment submitted by Amy (no surname provided)
Comment submitted by Andrew Behar, Chief Executive Officer, As You Sow, et al.
Comment submitted by Anthony Samsel, Research Scientist, Consultant, Samsel
Environmental and Public Health Services (SEAPHS)
Comment submitted by B. Talen
Comment submitted by B. Tarone
Comment submitted by Bill Freese, Science Policy Analyst, Center for Food Safety (CFS)
Comment submitted by C. A. Harris, PhD, FRSC et al.
Comment submitted by C. J. Portier, PhD
Comment submitted by C. Laieski
Comment submitted by Center for Regulatory Effectiveness (CRE)
Comment submitted by Christine T. (no surname provided)
Comment submitted by Christopher P. Wild, PhD, Director, International Agency for
Research on Cancer (IARC)
Comment submitted by D. Brusick et al.
Comment submitted by D. Davis
Comment submitted by D. Norris
Comment submitted by D. Pompeo
Comment submitted by D. Schubert
Comment submitted by D. Sutherland
Comment submitted by Dale Moore, Executive Director, Public Policy, American Farm
Bureau Federation (AFBF)
Comment submitted by Daniele Court Marques, Pesticides Unit, European Food Safety
Authority (EFSA)
Comment submitted by Danielle (no surname provided)
Comment submitted by David Spak, Stewardship Manager, Bayer Vegetation Management
Comment submitted by Deborah Larson Hommer, President, Virginians for Medical
Freedom (VMF)
Comment submitted by Dennis D. Weisenburger, MD, Professor, Chair, Department of
Pathology, City of Hope

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                                      Commenter*
Comment submitted by Dev Gowda, J.D., Toxics Advocate, U.S. Public Interest Research
Group (PIRG)
Comment submitted by Donna Farmer, PhD. Senior Toxicologist, Monsanto Company
Comment submitted by Dow AgroSciences
Comment submitted by E. Crouch
Comment submitted by E. Springwind
Comment submitted by E. Stockman
Comment submitted by E. Wilson
Comment submitted by Emily Marquez, Ph.D., Staff Scientist, Pesticide Action Network
North America (PANNA)
Comment submitted by G. Stromberg
Comment submitted by Gordon Stoner, President, National Association of Wheat Growers
(NAWG)
Comment submitted by Gretchen DuBeau, Esq., Executive and Legal Director, Alliance for
Natural Health USA
Comment submitted by H. Rowland
Comment submitted by I. Panton
Comment submitted by Intertek Scientific & Regulatory Consultancy
Comment submitted by J. Hoy
Comment submitted by J. Littrell
Comment submitted by J. Manning
Comment submitted by J. Moore
Comment submitted by J. Young
Comment submitted by James S. Bus PhD, DABT, ATS, Exponent, Inc. on behalf of
CropLife America
Comment submitted by Janet E. Collins, Ph.D., R.D., Senior Vice President, Science and
Regulatory Affairs, CropLife America (CLA)
Comment submitted by Jennifer Sass, PhD, Senior Scientist, Natural Resources Defense
Council (NRDC)
Comment submitted by John Weinand, President, North Dakota Grain Growers Association
(NDGGA)
Comment submitted by Joseph K. Haseman, J. K. Haseman Consulting
Comment submitted by K. Lundsford
Comment submitted by K. Taylor
Comment submitted by Kevin Bradley, President, Weed Science Society of America
(WSSA)
Comment submitted by L. Garvey
Comment submitted by L. Staman
Comment submitted by Lars Niemann, Toxicology of Active Substances and their
Metabolites Unit, Department Safety of Pesticides, German Federal Institute for Risk
Assessment (BfR), Berlin
Comment submitted by Luther Markwart, Executive Vice President, American Sugarbeet
Growers Association and Co-Chairman, Sugar Industry Biotechnology Council
Comment submitted by M. Bosland


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                                     Commenter*
Comment submitted by M. McLean
Comment submitted by M. Moore
Comment submitted by M. Pybus
Comment submitted by M. Wilkus
Comment submitted by Montague Dixon, Senior Regulatory Manager, Syngenta Crop
Protection, LLC
Comment submitted by Ms. Delgado
Comment submitted by N. Paffrath
Comment submitted by Nathan Donley, Ph.D., Senior Scientist, Environmental Health
Program, Center for Biological Diversity
Comment submitted by Nichelle Harriott, Science and Regulatory Director, Beyond
Pesticides
Comment submitted by Nufarm Americas Inc
Comment submitted by P. A. Fenner-Crisp
Comment submitted by P. Whitman
Comment submitted by Pamela Koch, EdD, RD, Executive Director Laurie M. Tisch Center
for Food, Education & Policy, Teachers College, Columbia University
Comment submitted by Peter F. Infante, Consultant, Peter F. Infante Consulting, L.L.C.
Comment submitted by Philip W. Miller, Ph.D., Vice President, Global Regulatory and
Government Affairs, Monsanto Company
Comment submitted by R. Andrews
Comment submitted by R. Briggs
Comment submitted by R. E. Tarone
Comment submitted by R. Mason
Comment submitted by R. Parsons
Comment submitted by R. Tarone
Comment submitted by Rebecca St James (no surname provided)
Comment submitted by Reece Langley, Vice President, Washington Operations, National
Cotton Council (NCC)
Comment submitted by Richard D. Gupton, Senior Vice President, Public Policy & Counsel,
Agricultural Retailers Association (ARA)
Comment submitted by Richard Wilkins, President, American Soybean Association (ASA)
Comment submitted by Robert P. DeMott, Principal Toxicologist, Ramboll Environ on
behalf of The Scotts Company LLC
Comment submitted by S. Seneff
Comment submitted by S. Barr
Comment submitted by S. Gardon
Comment submitted by S. Stair
Comment submitted by S. Vose
Comment submitted by S. Young
Comment submitted by Scott Slaughter, The Center for Regulatory Effectiveness (CRE)
Comment submitted by Steve Levine, Ph.D., CropLife America (CLA)
Comment submitted by T. Tokuda

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                                    Commenter*
 Comment submitted by Tony Tweedale, R.I.S.K. (Rebutting Industry Science with
 Knowledge) Consultancy
 Comment submitted by W. Beck
 Comment submitted by W. Fawell
 Comment submitted by Wenonah Hauter, Executive Director, Food & Water Watch
 Comment submitted by Zen Honeycutt, Executive Director, Moms Across America
 Mass Comment Campaign submitted by Alexis Baden-Mayer, Organic Consumers
 Association
 Mass Comment Campaign submitted by Jennifer Listello, Existing Chemistry Global
 Coordinator, Monsanto
 Mass Comment Campaign submitted by Tiffany Finck-Haynes, Friends of the Earth
 Mass Comment Campaign submitted by Alliance for Natural Health USA
 Mass Comment Campaign submitted by Food and Water Watch
 Mass Comment Campaign submitted by Tiffany Finck-Haynes, Friends of the Earth



*Note: some commenters provided multiple submissions to the docket.




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